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CASE NAME:             Americore Holdings, LLC, et al.
CASE NUMBER:           19-61608-grs (Jointly Administered)



                                  Notes to the Monthly Operating Report
General:
On December 31, 2019 (the "Petition Date"), Americore Holdings, LLC ("Americore") filed a voluntary petition with the United
States Bankruptcy Court under Chapter 11 of the Bankruptcy Code [Case No.: 19-60608-grs], along with ten (10) affiliated
entities (Affiliated Entities") presented in Exhibit A. The bankruptcy filings of Americore and the Affiliated Entities are jointly
administered under Case No. 19-60608-grs (the "Jointly Administered Debtors"). The Jointly Administered Debtors are
authorized to file Monthly Operating Reports on a consolidated basis and have presented disbursements by Debtor entity in
Exhibit A attached.

Debtor-in-Possession Financial Statements - The accompanying schedules, including Exhibit A, herein are unaudited,
preliminary, and may not comply with generally accepted accounting principles in the United States of America ("U.S.
GAAP") in all material respects. In addition, the financial statements and the supplemental information contained herein
represent the financial information on a consolidated basis of the Jointly Administered Debtors presented in Exhibit A.


The Monthly Operating Report is limited in scope, covers a limited time period, and has been prepared solely for the purpose
of complying with the monthly reporting requirements of the Bankruptcy Court and the United States Trustee. The
information presented herein has not been subjected to all procedures that would typically be applied to financial information
presented in accordance with U.S. GAAP. Upon the application of such procedures, the financial information could be
subject to changes, and these changes could be material. The information furnished in this Monthly Operating Report
includes normal recurring adjustments, but does not include all of the adjustments that would typically be made for interim
financial statements in accordance with U.S. GAAP.


Reservation of Rights: Given the complexity of the Debtors’ business, inadvertent errors, omissions or over inclusions may
have occurred. Accordingly, the Debtors hereby reserve all of their rights to dispute the validity, status, enforceability, or
executory nature of any claim amount, representation or other statement in this Monthly Operating Report and reserve the
right to amend or supplement this Monthly Operating Report, if necessary, but shall be under no obligation to do so.
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                                                      CHAPTER 11
                                               MONTHLY OPERATING REPORT
                                            MONTHLY REPORTING QUESTIONNAIRE



CASE NAME:                   Americore Holdings, LLC, et al.,

CASE NUMBER:                 19-61608-grs

MONTH OF:                    August 2020




1.      Payroll    State the amount of all executive wages paid and payroll taxes withheld and paid.

        Name and Title                                                           Wages Paid                           Taxes(1)
        of Executive                                                         Gross          Net                    Due         Paid

        Saggar, Sonny S - CSO for COVID-19 Task Force & ED
        Director                                                          $ 12,457.74      $   7,148.85

        Kraeger, Russell R - Chief Medical Officer                         13,004.40           8,317.96

        Munaco, Wendy J - CNO                                                9,161.58          6,149.73

        Saggio, Tom - Director of Quality / Risk Management                  8,914.96          5,349.09

        Total Executive Payroll                                           $ 43,538.68      $ 26,965.63


2.      Insurance              Is workers' compensation and other insurance in effect?                  Yes
        Are payments current? Yes
                 If any policy has lapsed, been replaced or renewed, state so in the schedule below. Attach a
        copy of the new policy's binder or cover page.

                                                     Name                                                                    Date
                                                       of                       Coverage              Expiration           Coverage
                   Type                              Carrier                     Amount                 Date               Paid Thru

        Casualty                                                SEE ATTACHED SCHEDULE OF INSURANCE

        Workers' comp.

        General liab.

        Automobile

        Other (specify)




Notes:
(1) Federal and state withholding payroll taxes were transmitted to the appropriate taxing authorities.
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Americore Holdings, et al. , Debtors.
United States Bankruptcy Court - Case No. 19-61608 (Jointly Administered)
Schedule of Insurance - As of August 31, 2020

                                                                                                                     Coverage
                                                                                               Policy Number /                          Coverage       Coverage
              Insured                             Type                   Name of Carrier                             Amount(1)
                                                                                                Loan Number                            Period Start   Period End
Americore Health LLC - all            Property Insurance             American Guarantee &      ZMD6190572-00     $100,000,000 policy    07/03/20       10/01/20
locations                                                            Liability Insurance                                limit
                                                                     Company


Americore Health, LLC - all           Commercial General            National Fire & Marine        HN025024          $1,000,000 /        08/15/20       08/15/21
locations, including reduction for    Liability/Medical Malpractice Insurance Co (MedPro)                             $50,000 /
Ellwood changes and St A                                                                                               $5,000 /
bariatrics removal                                                                                                  $1,000,000 /
                                                                                                                    $3,000,000 /
                                                                                                                     $3,000,000
Americore Health, LLC - all           Umbrella Over Primary Ins      National Fire & Marine       HN025024          $10,000,000         08/15/20       08/15/21
locations                                                            Insurance Co (MedPro)

Americore Holdings, LLC - St.         Pollution and Remediation      Indian Harbor Insurance     PEC0054679         $1,000,000 /        07/16/19       07/16/21
Alexius                               Legal Liability                Company.                                       $3,000,000 /
                                                                                                                      $25,000
Ellwood Medical Center              Workers Compensation and New York Marine and               CWC20266220303       $1,000,000 /        07/06/20       07/06/21
Operations LLC and                  Employers' Liability -   General Insurance Co.                                  $1,000,000 /
Ellwood City Home Health            Ellwood City                                                                     $1,000,000
Operations LLC
(Americore Health - All States, AK,
PA)


Izard County Medical Center LLC Workers Compensation and                         "             CWC20266220303             "             07/06/20       07/06/21
(Americore Health - All States, AK, Employers' Liability - Calico
PA)




St. Alexius Hospital                  Workers Compensation and Travelers (Assigned Risk)          4N84440A          $1,000,000 /        03/08/20       03/08/21
                                      Employers' Liability                                                          $1,000,000 /
                                                                                                                     $1,000,000

St. Alexius Hospital                          "                            "                          "             Loss Funding        03/08/20       03/08/21

Americore Holdings - all facilities   Business Auto                  Philadelphia Indemnity                          $1,000,000         03/11/20       03/11/21

          "                           Installments through insurer         "                          "          Down: $7,755 less
                                                                                                                  $5,199 old credit
                                                                                                                   11 @ $2,115

Notes:
(1) See Certificate of Insurance for details on coverage descriptions and amounts provided in previous Monthly Operating Reports.




GlassRatner Advisory & Capital Group LLC                                                                                                                          Page 1 of 1
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                                              CERTIFICATE OF LIABILITY INSURANCE                                                                                       9/10/2020
  THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
  CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES
  BELOW. THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S), AUTHORIZED
  REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.
  IMPORTANT: If the certificate holder is an ADDITIONAL INSURED, the policy(ies) must have ADDITIONAL INSURED provisions or be endorsed.
  If SUBROGATION IS WAIVED, subject to the terms and conditions of the policy, certain policies may require an endorsement. A statement on
  this certificate does not confer rights to the certificate holder in lieu of such endorsement(s).
                                                                                            CONTACT
PRODUCER
                                                                                            NAME:      Robert Abt
Arthur J. Gallagher Risk Management Services, Inc.                                          PHONE                                                   FAX
470 Atlantic Avenue                                                                         (A/C, No, Ext): (267) 470-1434                          (A/C, No):   (617) 330-4607
                                                                                            E-MAIL
Boston MA 02210                                                                             ADDRESS: Rob_Abt@AJG.com
                                                                                                               INSURER(S) AFFORDING COVERAGE                                   NAIC #

                                                                     License#: BR-724491 INSURER A : National Fire & Marine Insurance Co                                       20079
INSURED                                                                       AMERHEA-17
                                                                                            INSURER B :
Americore Health, LLC
3933 S Broadway Fl 2                                                                        INSURER C :

Saint Louis, MO 63118-4601                                                                  INSURER D :

                                                                                            INSURER E :

                                                                                            INSURER F :
COVERAGES                                    CERTIFICATE NUMBER: 494308945                                                       REVISION NUMBER:
  THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD
  INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS
  CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS SUBJECT TO ALL THE TERMS,
  EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
INSR                                               ADDL SUBR                                         POLICY EFF   POLICY EXP
 LTR                 TYPE OF INSURANCE             INSD WVD             POLICY NUMBER               (MM/DD/YYYY) (MM/DD/YYYY)                            LIMITS
 A     X    COMMERCIAL GENERAL LIABILITY                       HN025024                              8/15/2020      8/15/2021     EACH OCCURRENCE                $ 1,000,000
                                                                                                                                  DAMAGE TO RENTED
                  CLAIMS-MADE    X   OCCUR                                                                                        PREMISES (Ea occurrence)       $ 50,000
                                                                                                                                  MED EXP (Any one person)       $ 5,000
                                                                                                                                  PERSONAL & ADV INJURY          $ 1,000,000

       GEN'L AGGREGATE LIMIT APPLIES PER:                                                                                         GENERAL AGGREGATE              $ 3,000,000
                      PRO-
           POLICY     JECT          LOC                                                                                           PRODUCTS - COMP/OP AGG         $ 3,000,000

            OTHER:                                                                                                                                               $
       AUTOMOBILE LIABILITY                                                                                                       COMBINED SINGLE LIMIT          $
                                                                                                                                  (Ea accident)
            ANY AUTO                                                                                                              BODILY INJURY (Per person)     $
            OWNED                SCHEDULED                                                                                        BODILY INJURY (Per accident) $
            AUTOS ONLY           AUTOS
            HIRED                NON-OWNED                                                                                        PROPERTY DAMAGE                $
            AUTOS ONLY           AUTOS ONLY                                                                                       (Per accident)
                                                                                                                                                                 $
            UMBRELLA LIAB            OCCUR                                                                                        EACH OCCURRENCE                $
            EXCESS LIAB              CLAIMS-MADE                                                                                  AGGREGATE                      $

              DED          RETENTION $                                                                                                                           $
       WORKERS COMPENSATION                                                                                                            PER             OTH-
       AND EMPLOYERS' LIABILITY                                                                                                        STATUTE         ER
                                             Y/N
       ANYPROPRIETOR/PARTNER/EXECUTIVE                                                                                            E.L. EACH ACCIDENT             $
       OFFICER/MEMBER EXCLUDED?                    N/A
       (Mandatory in NH)                                                                                                          E.L. DISEASE - EA EMPLOYEE $
       If yes, describe under
       DESCRIPTION OF OPERATIONS below                                                                                            E.L. DISEASE - POLICY LIMIT    $
 A     Medical Facilities                                      HN025024                              8/15/2020      8/15/2021     $1,000,000                         Per Event Limit
       Professional Liability                                                                                                     $3,000,000                         Aggregate Limit



DESCRIPTION OF OPERATIONS / LOCATIONS / VEHICLES (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)
Evidence of General Liability and Professional Liability Coverage written on an Occurrence basis for following entities:

Americore Health, LLC
Americore Health Enterprises, LLC
Americore Health Management, LLC
Americore Holdings, LLC
Izard County Medical Center, LLC
St. Alexius Hospital Corporation #1
See Attached...
CERTIFICATE HOLDER                                                                          CANCELLATION

                                                                                              SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE
                                                                                              THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
                                                                                              ACCORDANCE WITH THE POLICY PROVISIONS.

                   Evidence of Insurance                                                    AUTHORIZED REPRESENTATIVE




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                                                                             CUSTOMER  ID: AMERHEA-17
                                                                                                LOC #:


                                             ADDITIONAL REMARKS SCHEDULE                                                      Page     1   of   1

AGENCY                                                                               NAMED INSURED
 Arthur J. Gallagher Risk Management Services, Inc.                                  Americore Health, LLC
                                                                                     3933 S Broadway Fl 2
POLICY NUMBER                                                                        Saint Louis, MO 63118-4601

CARRIER                                                               NAIC CODE

                                                                                     EFFECTIVE DATE:

ADDITIONAL REMARKS
THIS ADDITIONAL REMARKS FORM IS A SCHEDULE TO ACORD FORM,
FORM NUMBER:      25    FORM TITLE: CERTIFICATE OF LIABILITY INSURANCE
St. Alexius Properties, LLC
Success Healthcare 2, LLC

Evidence of General Liability Coverage written on an Occurrence basis for following entities:

Ellwood City Home Health Holdings, LLC
Ellwood City Home Health Operations, LLC
Ellwood Medical Center Operations, LLC
Ellwood Medical Center Real Estate, LLC
Ellwood Medical Center, LLC

The United States Trustee is listed as a party to be notified of any change, cancellation, or expiration of each policy.




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                                             MONTHLY REPORTING QUESTIONNAIRE



CASE NAME:                    Americore Holdings, LLC, et al.,

CASE NUMBER:                  19-61608-grs

MONTH OF:                     August 2020




3.       Bank Accounts                                                        Account Type
                                                   Operating            Tax            Other                 Total
     Bank Name
                                                                 SEE ATTACHED SCHEDULE OF BANK ACCOUNTS
     Account #

     Beginning book balance                                                                          $      24,833,446.63

     Plus: Deposits                                                                                          3,402,191.72

     Less: Disbursements                                                                                    (4,814,665.80)

     Transfers                                                                                                        -

     Other:                                                                                                           -


     Ending book balance                                                                             $      23,420,972.55


4.          Post-petition Payments           List any post-petition payments to professionals and payments on
     prepetition debts in the schedule below (attach separate sheet if necessary).

         Payments To                                                Amount          Date             Check #

     Professionals (attorneys,
      accountants, etc.):

     None




     Prepetition creditors:

     None
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Americore Holdings, et al. , Debtors.
United States Bankruptcy Court
Case No. 19-61608 (Jointly Administered)
Schedule of Bank Accounts - As of August 31, 2020


                                                                                               Disbursement                                                          Non-Government
                                      Description                                                                   Payroll Account     Government Account                                  Lab Account
                                                                                                 Account                                                                Account(1)
Account Name                                                                              Ellwood Medical Center Ellwood Medical Center Ellwood Medical Center Ellwood Medical Center Ellwood Medical Center
                                                                                              Operations, LLC        Operations, LLC        Operations, LLC        Operations, LLC        Operations, LLC
                                                                                                                                                                                       [No Account Activity]

Bank Name                                                                                       U.S. Bank              U.S. Bank              U.S. Bank                 U.S. Bank            U.S. Bank




Account Number - Last Four Digits                                                                 4983                   4991                   5006                      5014                 5022
Beginning book balance (as of 08/01/20)                                                   $          31,343.62 $                303.28 $                  7.56   $         1,757,423.36 $                 -
Plus: Deposits                                                                                       50,013.71                     -                         -                 1,079.77                   -
Less: Disbursements                                                                                 (62,927.10)             (26,113.52)                      -                      -                     -
Transfers                                                                                               164.50               27,095.00                       -               (27,259.50)                  -
Other:                                                                                                      -                      -                         -                      -                     -
Ending book balance (as of 08/31/20)                                                      $          18,594.73 $              1,284.76 $                  7.56   $         1,731,243.63 $                 -


Notes:
(1) On April 10, 2020, Ellwood City Medical Center received HHS stimulus funds
totaling $1,805,227.75. The Trustee is utilizing these funds for the limited purpose of
providing 24/7 security and responding to medical records requests as mandated by
the Commonwealth of Pennsylvania until it is sold.




GlassRatner Advisory & Capital Group LLC                                                                                                                                                                       Page 1 of 6
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United States Bankruptcy Court
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Schedule of Bank Accounts - As of August 31, 2020


                                      Description                                             Operating Account         Payroll Account        Operating Account         DIP Account              DIP Account

Account Name                                                                                Community Medical       Izard County Medical     Izard County Medical     Izard County Medical   Izard County Medical
                                                                                           Center of Izard County        Center, LLC              Center, LLC              Center, LLC            Center, LLC
                                                                                          [Closed as of 03/31/20]

Bank Name                                                                                 First National Bank of    First National Bank of   First National Bank of     East West Bank           East West Bank
                                                                                               Izard County              Izard County             Izard County



Account Number - Last Four Digits                                                                   0301                     5801                    5802                    6198                    6506
Beginning book balance (as of 08/01/20)                                                   $                  -      $           523,856.06 $          1,757,484.53 $          2,190,185.00   $                 -
Plus: Deposits                                                                                               -                  291,673.73              253,497.65                     -                       -
Less: Disbursements                                                                                          -                 (162,050.92)            (255,809.72)                    -                       -
Transfers                                                                                                    -                         -             (1,292,181.47)                    -              1,292,181.47
Other:                                                                                                       -                         -                       -                       -                       -
Ending book balance (as of 08/31/20)                                                      $                  -      $           653,478.87 $            462,990.99 $          2,190,185.00   $        1,292,181.47


Notes:
(1) On April 10, 2020, Ellwood City Medical Center received HHS stimulus funds
totaling $1,805,227.75. The Trustee is utilizing these funds for the limited purpose of
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United States Bankruptcy Court
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Schedule of Bank Accounts - As of August 31, 2020


                                                                                                                       Non-Government
                                      Description                                         Government Lockbox                                  Operating Account           Payroll Account       Petty Cash Account
                                                                                                                          Lockbox
Account Name                                                                                  St. Alexius Hospital     St. Alexius Hospital     St. Alexius Hospital     St. Alexius Hospital     St. Alexius Hospital
                                                                                                Corporation # 1          Corporation # 1          Corporation # 1          Corporation # 1          Corporation # 1


Bank Name                                                                                         U.S. Bank                U.S. Bank                U.S. Bank                U.S. Bank                U.S. Bank




Account Number - Last Four Digits                                                                    6845                     6852                     6860                     6878                     6886
Beginning book balance (as of 08/01/20)                                                   $             225,533.02 $              29,835.49 $             163,369.09 $             106,615.66 $              95,023.33
Plus: Deposits                                                                                        2,557,030.04               135,499.42                      -                        -                  31,576.68
Less: Disbursements                                                                                            -                        -                        -              (1,676,729.98)           (2,614,484.67)
Transfers                                                                                            (2,774,002.00)             (157,237.00)             (154,543.51)            1,727,525.36             2,714,788.41
Other:                                                                                                         -                        -                        -                        -
Ending book balance (as of 08/31/20)                                                      $               8,561.06 $               8,097.91 $               8,825.58 $             157,411.04 $             226,903.75


Notes:
(1) On April 10, 2020, Ellwood City Medical Center received HHS stimulus funds
totaling $1,805,227.75. The Trustee is utilizing these funds for the limited purpose of
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United States Bankruptcy Court
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Schedule of Bank Accounts - As of August 31, 2020

                                                                                                                       Elinor A Benhoff
                                                                                          Lutheran School of
                                      Description                                                                     Dunn Scholarship          Third Friday Fund       Investment Account                 Petty Cash
                                                                                               Nursing
                                                                                                                             Acct
Account Name                                                                                  St. Alexius Hospital    Lutheran School of        St. Alexius Hospital        St. Alexius Hospital       St. Alexius Hospital
                                                                                                Corporation # 1        Nursing Student            Corporation # 1             Corporation # 1            Corporation # 1
                                                                                                                     Education Foundation                                                               [No activity since
                                                                                                                                                                                                            04/04/16]
Bank Name                                                                                         U.S. Bank               U.S. Bank                 U.S. Bank                   U.S. Bank              City National Bank




Account Number - Last Four Digits                                                                    0141                   0910                       5329                        0157                       6595
Beginning book balance (as of 08/01/20)                                                   $              33,578.48 $          270,971.46    $                   11.92   $            100,229.76    $                     -
Plus: Deposits                                                                                              996.00                  2.29                          -                        6.68                          -
Less: Disbursements                                                                                     (13,589.29)                  -                            -                         -                            -
Transfers                                                                                                      -                     -                            -                         -                            -
Other:                                                                                                         -                     -                            -                         -                            -
Ending book balance (as of 08/31/20)                                                      $              20,985.19 $          270,973.75    $                   11.92   $            100,236.44    $                     -


Notes:
(1) On April 10, 2020, Ellwood City Medical Center received HHS stimulus funds
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Schedule of Bank Accounts - As of August 31, 2020


                                                                                                                             Lock Box                Lock Box
                                      Description                                             Operating Account                                                          Special Uses Account         Accounts Payable
                                                                                                                            Government            Non-Government
Account Name                                                                                  St. Alexius Hospital       St. Alexius Hospital     St. Alexius Hospital     St. Alexius Hospital       St. Alexius Hospital
                                                                                                Corporation # 1            Corporation # 1          Corporation # 1          Corporation # 1            Corporation # 1
                                                                                               [No activity since
                                                                                                   10/24/19]
Bank Name                                                                                     City National Bank         City National Bank       City National Bank        Bank of America            Bank of America




Account Number - Last Four Digits                                                                    6605                       6621                     6650                     5549                       7479
Beginning book balance (as of 08/01/20)                                                   $                 100.00   $                 100.00 $                 109.83 $             10,090.38    $              51,225.68
Plus: Deposits                                                                                                 -                    16,074.77                25,446.66                 5,077.75                  33,176.57
Less: Disbursements                                                                                            -                          -                        -                        -                    (2,940.65)
Transfers                                                                                                      -                   (16,074.77)              (25,456.49)                     -                   (50,000.00)
Other:                                                                                                         -                          -                        -                        -                          -
Ending book balance (as of 08/31/20)                                                      $                 100.00   $                 100.00 $                 100.00 $             15,168.13    $              31,461.60


Notes:
(1) On April 10, 2020, Ellwood City Medical Center received HHS stimulus funds
totaling $1,805,227.75. The Trustee is utilizing these funds for the limited purpose of
providing 24/7 security and responding to medical records requests as mandated by
the Commonwealth of Pennsylvania until it is sold.




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                                                                                          Depository Account
                                                                                                                       DIP - Government           DIP - Government        DIP - Depository for       Total - All Debtor
                                      Description                                             Credit Card
                                                                                                                           Stimulus                   Stimulus           SSM Health Payments            Accounts
                                                                                              Processing
Account Name                                                                              St. Alexius Hospital         St. Alexius Hospital       St. Alexius Hospital    St. Alexius Hospital
                                                                                            Corporation # 1              Corporation # 1            Corporation # 1         Corporation # 1


Bank Name                                                                                     Bank of America           East West Bank             East West Bank           East West Bank




Account Number - Last Four Digits                                                                  7592                       6184                      6226                     6359
Beginning book balance (as of 08/01/20)                                                   $               5,720.81 $           3,374,620.46   $         13,605,707.85 $            500,000.00    $         24,833,446.63
Plus: Deposits                                                                                            1,040.00                      -                         -                       -                 3,402,191.72
Less: Disbursements                                                                                         (19.95)                     -                         -                       -                (4,814,665.80)
Transfers                                                                                                      -                        -               (1,265,000.00)                    -                         0.00
Other:                                                                                                         -                        -                         -                       -                          -
Ending book balance (as of 08/31/20)                                                      $               6,740.86 $           3,374,620.46   $         12,340,707.85 $            500,000.00    $         23,420,972.55


Notes:
(1) On April 10, 2020, Ellwood City Medical Center received HHS stimulus funds
totaling $1,805,227.75. The Trustee is utilizing these funds for the limited purpose of
providing 24/7 security and responding to medical records requests as mandated by
the Commonwealth of Pennsylvania until it is sold.




GlassRatner Advisory & Capital Group LLC                                                                                                                                                                                    Page 6 of 6
                                                            Case 19-61608-grs   Doc 882 Filed 09/16/20 Entered 09/16/20 15:17:41                   Desc Main
                                                                                       Document    Page 15 of 121
CASE NAME:            Americore Holdings, LLC, et al.,                                               COMPARATIVE BALANCE SHEETS(1)                                                         FORM OPR-1
                                                                                                                                                                                           REV 2/90

CASE NUMBER:            19-61608-grs                                             MONTH ENDED:            August 31, 2020



                                                                      FILING
                                                                      DATE             MONTH                 MONTH                MONTH                 MONTH                MONTH                 MONTH


ASSETS

   CURRENT ASSETS

      Cash

      Other negotiable instruments (i.e. CD's T-Bills)

      Accounts receivable (See OPR-3)

      Less allowance for doubtful accounts

      Inventory, at lower of cost or market

      Prepaid expenses and deposits

      Investments

      Other:



           TOTAL CURRENT ASSETS

   PROPERTY, PLANT AND EQUIPMENT, AT COST

   Less accumulated depreciation

      NET PROPERTY, PLANT AND EQUIPMENT

   OTHER ASSETS

                                                                *

                                                                *


          TOTAL ASSETS


* Itemize if value of "Other Assets" exceeds 10% of "Total Assets".
Notes:
(1) The balance sheet and statement of income for St. Alexius Hospital Corporation #1 are included herein. The Trustee is in the process of preparing financial statements for Izard County Medical Center and
will include these documents in subsequent Monthly Operating Reports once available. Financial statements for the remaining Debtor entities are not available.
                                                            Case 19-61608-grs            Doc 882 Filed 09/16/20 Entered 09/16/20 15:17:41                             Desc Main
                                                                                                Document    Page 16 of 121
CASE NAME:             Americore Holdings, LLC, et al.,                                                           COMPARATIVE BALANCE SHEETS(1)                                                                    FORM OPR-2
                                                                                                                                                                                                                   REV 2/90

CASE NUMBER:              19-61608-grs                                                      MONTH ENDED:              August 31, 2020


                                                                         FILING
                                                                         DATE(2)                  MONTH                   MONTH                    MONTH                   MONTH                   MONTH                    MONTH


LIABILITIES

   POST PETITION LIABILITIES

       Current post petition liabilities

       Debtor-in-possession financing

          TOTAL POST PETITION LIABILITIES

   PRE PETITION LIABILITIES

       Priority debt

       Secured debt

       Unsecured debt

          TOTAL PRE PETITION LIABILITIES

                    TOTAL LIABILITIES

SHAREHOLDERS' EQUITY (DEFICIT)

   COMMON & PREFERRED STOCK

   PAID-IN CAPITAL

   RETAINED EARNINGS

       Through filing date

       Post filing date

          TOTAL SHAREHOLDERS' EQUITY

              TOTAL LIABILITIES AND
              SHAREHOLDERS' EQUITY

Notes:
(1) The balance sheet and statement of income for St. Alexius Hospital Corporation #1 are included herein. The Trustee is in the process of preparing financial statements for Izard County Medical Center and will include these
documents in subsequent Monthly Operating Reports once available. Financial statements for the remaining Debtor entities are not available.
                                          Case 19-61608-grs                             Doc 882 Filed 09/16/20 Entered 09/16/20 15:17:41                                                                             Desc Main
                                                                                               Document    Page 17 of 121


                                                                                                                    ST. ALEXIUS HOSPITAL
                                                                                                                       Trended Balance Sheet
                                                                                                               For the Year Ended December 31, 2020

                                                   12/31/2019         Jan-20             Feb-20            Mar-20              Apr-20            May-20              Jun-20            Jul-20             Aug-20             Sep-20            Oct-20               Nov-20             Dec-20
                                                                 1                  2                  3                  4                  5                  6                  7                  8                  9                10                11                    12




ASSETS
CURRENT ASSETS
   Cash                                               534,377             47,099            566,249          1,378,268          1,487,990          4,696,148         19,793,001         18,239,143         16,983,935
   Patient Receivables                             31,588,788         30,512,249         38,879,525         30,490,387         30,338,926         31,583,968         33,922,308         36,271,925         36,734,941
   Allowance Patient Receivables                  (28,427,959)       (27,146,938)       (36,203,335)       (28,111,497)       (27,693,579)       (28,857,700)       (31,115,948)       (33,503,314)       (33,442,382)
   Patient Receivables, net                         3,160,829          3,365,311          2,676,190          2,378,889          2,645,347          2,726,268          2,806,360          2,768,611          3,292,559                 -                 -                    -                  -
   Supplies-Inventory                               1,649,493          1,649,493          1,649,493          1,649,493          1,649,493          1,649,493          1,649,493          1,649,393          1,649,493
   Prepaid Expenses & Other                            65,735            746,007          1,040,835          1,830,228          1,872,265          2,419,864          2,899,940          3,317,111          3,635,600
Total Current Assets                                5,410,433          5,807,910          5,932,767          7,236,878          7,655,095         11,491,772         27,148,794         25,974,258         25,561,586                 -                 -                   -                   -
   Property, Plant, & Equipment                     7,977,306          7,994,098          8,016,332          8,028,815          8,054,028          8,098,246          8,254,954          8,697,716          9,174,616
   Accum Depreciation on Property, Plant, & Equip  (4,833,570)        (4,884,926)        (4,936,283)        (4,987,640)        (5,038,996)        (5,092,464)        (5,143,733)        (5,198,209)        (5,251,710)
   Property, Plant, & Equip, net                    3,143,737          3,109,172          3,080,049          3,041,175          3,015,032          3,005,782          3,111,222          3,499,507          3,922,906                 -                 -                    -                  -
   Other Assets                                     1,664,926          1,889,926          1,764,926          1,889,926          1,890,926          1,909,926          1,914,926          1,929,482          1,929,482
TOTAL ASSETS                                       10,219,096         10,807,008         10,777,743         12,167,979         12,561,053         16,407,480         32,174,942         31,403,246         31,413,974                 -                 -                    -                  -
CURRENT LIABILITIES
   Accounts Payable                                 8,368,939         8,378,120          9,071,395         10,512,287          9,908,589          9,131,592          9,199,732          9,638,357          9,101,045
   Accrued Emp Comp & Liabilities                   7,948,670         8,091,194          8,269,314          8,338,399          8,272,381          8,040,070          7,622,952          6,589,895          6,898,849
   Accrued Expenses & Other                        12,395,796        12,702,367         12,373,215         12,275,276         12,287,517         12,056,950         11,992,274         12,424,616         12,083,983
   Due to Related Parties                          (6,983,774)       (6,984,568)        (7,059,436)        (7,059,491)        (7,059,491)        (7,059,491)        (7,059,491)        (7,054,941)        (7,054,941)
   Cur Matur of Cap Lease Oblig                           -                 -                  -                  -                  -                  -                  -                  -                  -
   Notes Payable                                    1,702,102         1,702,102          1,702,102          1,702,102          1,702,102          6,808,072          6,808,072          6,808,072          6,808,072                  -                 -
Total Current Liabilities                          23,431,732        23,889,215         24,356,590         25,768,573         25,111,099         28,977,193         28,563,540         28,405,999         27,837,008                  -                 -                    -                  -
   Obligation Under Cap Leases                            -                 -                  -                  -                  -                  -                  -                  -                  -                    -                 -
   Other Long Term Liabilities                            -                 -                  -                  -                  -                  -                  -                  -                  -
TOTAL LIABILITIES                                  23,431,732        23,889,215         24,356,590         25,768,573         25,111,099         28,977,193         28,563,540         28,405,999         27,837,008                  -                 -                    -                  -
SHAREHOLDERS EQUITY
   Additional Paid in Capital
   Accumulated Earnings                           (13,212,636)       (13,082,208)       (13,578,847)       (13,600,594)       (12,550,046)       (12,569,713)        3,611,401          2,997,247          3,576,966
TOTAL LIABILITIES AND SHAREHOLDERS EQUITY 10,219,096                  10,807,008         10,777,743         12,167,979         12,561,053         16,407,480        32,174,942         31,403,246         31,413,974                  -                 -                    -                  -



                                       Balancing          0.00             0.00               0.00               0.00               0.00               (0.00)             0.00               0.00               0.00              0.00              0.00                   0.00              0.00




                                                                                                                                                                                                                                                                 E1. Trended Balance Sheet
                                           Case 19-61608-grs        Doc 882 Filed 09/16/20 Entered 09/16/20 15:17:41                        Desc Main
                                                                           Document    Page 18 of 121
CASE NAME:              Americore Holdings, LLC, et al.,                              SUMMARY OF ACCOUNTS RECEIVABLE                                                             FORM OPR-3
                                                                                                                                                                                 REV 2/90

CASE NUMBER:              19-61608-grs                                                MONTH ENDED:                   August 31, 2020


                                                                                                  0 - 30                         31 - 60                     61 - 90                     OVER
                                                                    TOTAL                         DAYS                           DAYS                        DAYS                       90 DAYS


                 (1):
DATE OF FILING                                     TBD                      TBD                            TBD                             TBD                         TBD                      TBD

 Allowance for doubtful accounts                            (               0.00 )       (                       )       (                       )   (                       )   (                     )


                                     (2)
MONTH:     As of February 29, 2020                              $ 74,057,950.23              $ 20,207,430.25                 $ 2,921,077.56              $ 33,414,101.47             $ 17,515,340.95

 Allowance for doubtful accounts                            (               0.00 )       (                       )       (                       )   (                       )   (                     )


MONTH:     As of March 31, 2020(2)                              $ 66,022,208.19              $ 11,435,601.40                 $ 2,585,472.54              $ 32,614,516.11             $ 19,386,618.14

 Allowance for doubtful accounts                            (               0.00 )       (                       )       (                       )   (                       )   (                     )
          As of April 30, 2020 (see attached schedule for
          a summary by Debtor for the current reporting
                 (2)
MONTH: period)                                                  $ 5,400,555.49               $   1,959,108.88                $   283,162.36              $   218,922.50              $ 2,939,361.75

 Allowance for doubtful accounts                            (               0.00 )       (                       )       (                       )   (                       )   (                     )
          As of May 31, 2020 (see attached schedule for
          a summary by Debtor for the current reporting
                 (2)
MONTH: period)                                                    11,520,889.73                  2,458,312.86                     587,525.20                  353,970.92                8,121,080.75

 Allowance for doubtful accounts                            (               0.00 )       (                       )       (                       )   (                       )   (                     )
          As of June 30, 2020 (see attached schedule for
          a summary by Debtor for the current reporting
                 (2)
MONTH: period)                                                    12,776,372.65                  2,457,038.33                     612,251.80                  615,079.11                9,092,003.41

 Allowance for doubtful accounts                            (               0.00 )       (                       )       (                       )   (                       )   (                     )
          As of July 31, 2020 (see attached schedule for
          a summary by Debtor for the current reporting
                 (2)
MONTH: period)                                                     8,969,779.84                  2,858,651.37                     921,729.25                  467,376.27                4,722,022.95

 Allowance for doubtful accounts                            (               0.00 )       (                       )       (                       )   (                       )   (                     )

           As of August 31, 2020 (see attached schedule
           for a summary by Debtor for the current
MONTH:     reporting period)(2)                                    9,403,679.56                  3,558,158.66                     754,491.85                  573,221.72                4,517,807.33

  Allowance for doubtful accounts                              (              0.00 )       (                   )     (                    )   (                   )   (
Notes:
(1) The Trustee is in the process of amending the bankruptcy schedules. Accounts Receivable as of the Petition Date will be updated on subsequent Monthly Operating Reports.
(2) Based on best available information at the date of this Monthly Operating Report and subject to change.
                                Case 19-61608-grs         Doc 882 Filed 09/16/20 Entered 09/16/20 15:17:41                        Desc Main
                                                                 Document    Page 19 of 121
Americore Holdings, et al. , Debtors.                                                                                                       AR Aging as of August 31, 2020

United States Bankruptcy CourtCase No. 19-61608 (Jointly Administered)
Accounts Receivable Aging Summary as of August 31, 2020(1)



                     Entity                            Balance               Current           1-30 Days           31-60 Days          61-90 Days        > 90 Days
Ellwood Medical Center Operations, LLC(2)         $ 2,254,796.39        $            -     $            -      $            -      $            -     $ 2,254,796.39
Izard County Medical Center, LLC(2, 3)              2,883,183.14                9,436.31         574,119.47          385,864.36          331,703.94     1,582,059.06
St. Alexius Hospital Corporation #1(4)              4,265,700.03            1,687,666.12       1,286,936.76          368,627.49          241,517.78       680,951.88
Total                                             $ 9,403,679.56        $ 1,697,102.43     $ 1,861,056.23      $     754,491.85    $     573,221.72   $ 4,517,807.33

                                                                                  18.05%             19.79%               8.02%               6.10%            48.04%

Notes:
(1) Based on best available information at the date of this Monthly Operating Report and subject to change.
(2) Accounts receivable is reflected net of contractual adjustments and allowance for doubtful accounts.
(3)The accounts receivable aging report provided by the Debtor for the current reporting period includes self-pay, commercial and government accounts.
Approximately 46% percent of the accounts are aged 120 days or greater and reflect gross receivables; a significant portion of the total will be contractual
adjustments and the remaining balance likely uncollectible.
(4) Accounts receivable is reflected net of contractual adjustments and allowance for doubtful accounts.




GlassRatner Advisory &
Capital Group LLC                                                                                                                                                       1 of 1
                                                       Case 19-61608-grs         Doc 882 Filed 09/16/20 Entered 09/16/20 15:17:41                      Desc Main
CASE NAME:           Americore Holdings, LLC, et al.                                    Document
                                                                                         SCHEDULE OFPage 20PETITION
                                                                                                      POST  of 121 LIABILITIES                                                                        FORM OPR-4

CASE NUMBER:         19-61608-grs (Jointly Administered)                                                                                                                                                   REV 2/90
                                                                                                MONTH ENDED:           August 31, 2020


                                                                           DATE                     DATE                  TOTAL               0 - 30             31 - 60             61 - 90              OVER
                                                                         INCURRED                   DUE                    DUE                DAYS               DAYS                DAYS                90 DAYS


           Federal Income Tax and FICA                                01/01/20 - 08/31/20     01/01/20 - 08/31/20     $    49,978.08     $             -     $             -     $             -     $    49,978.08

           State Withholding                                          01/01/20 - 08/31/20     01/01/20 - 08/31/20           5,834.81                   -                   -                   -           5,834.81

           Federal Unemployment Tax                                   01/01/20 - 08/31/20     01/01/20 - 08/31/20               1.02                   -                   -                   -               1.02

           State Unemployment Tax                                     01/01/20 - 08/31/20     01/01/20 - 08/31/20             367.16                   -                   -                   -            367.16

           Local Payroll Tax                                          01/01/20 - 08/31/20     01/01/20 - 08/31/20           3,160.80                   -                   -                   -           3,160.80

           Sales Tax                                                                                                            0.00

           Property Tax                                                                                                         0.00

                        TOTAL TAXES PAYABLE(1, 2, 3)                                                                       59,341.87                0.00                0.00                   -          59,341.87

POSTPETITION SECURED DEBT(4)

POSTPETITION UNSECURED DEBT(4)                                                                                                  0.00

ACCRUED INTEREST PAYABLE(4)                                                                                                     0.00

TRADE ACCOUNTS PAYABLE & OTHER:
   (list separately)

           See attached schedule for detail                         Various                  Various                      168,187.00         135,393.80              271.01              270.88           32,251.31

                                                                                                                                0.00

                                                                                                                                0.00

                                                                                                                                0.00

                                                                                                                                0.00

                                                                                                                                0.00


           TOTALS                                                                                                    $    227,528.87     $   135,393.80      $       271.01      $       270.88      $    91,593.18


Notes:
(1) Post-petition funds have been used to satisfy payroll obligations. Therefore, the payment of payrols taxes incurred prior to the appointment of the Chapter 11 Trustee will need to be sourced from government
stimulus funds.
(2) Aging is based on days outstanding from pay date.
(3) Includes post-petition payroll taxes as follows:
    a. Pre-Appointment of Chapter 11 Trustee - Federal, state and local payroll taxes for Ellwood - $57,867.97
    b. Post-Appointment of Chapter 11 Trustee - Federal, state and local payroll taxes for Ellwood - $1,473.90
(4) The Trustee is in the process of gathering information and will report any amounts due in succeeding Monthly Operating Reports.
                                        Case 19-61608-grs                Doc 882 Filed 09/16/20 Entered 09/16/20 15:17:41                                Desc Main
                                                                                Document    Page 21 of 121
Americore Holdings, et al. , Debtors.                                                                                                                                                         Post Petition AP Aging

United States Bankruptcy CourtCase No. 19-61608 (Jointly Administered)
Post-Petition Accounts Payable Aging Detail as of August 31, 2020



   Date          Invoice Number                            Vendor Name              Due Date   Aging       Balance          Current          1-30 Days         31-60 Days        61-90 Days         > 90 Days
Ellwood Medical Center Operations, LLC
08/25/20     0227183-01                Armstrong                                 09/16/20       N/A    $     1,668.55   $     1,668.55   $           -     $           -     $           -      $           -
08/25/20     0508272-01                Armstrong                                 09/16/20       N/A            899.00           899.00               -                 -                 -                  -
01/31/20     1125059                   Change Healthcare                         02/29/20       184            257.25              -                 -                 -                 -               257.25
02/29/20     1135564                   Change Healthcare                         03/29/20       155            257.25              -                 -                 -                 -               257.25
03/31/20     1146086                   Change Healthcare                         04/29/20       124            257.25              -                 -                 -                 -               257.25
04/30/20     1156358                   Change Healthcare                         05/30/20       93             257.25              -                 -                 -                 -               257.25
05/15/20     1368                      Change Healthcare                         05/31/20        92            313.46              -                 -                 -                 -               313.46
05/31/20     1166611                   Change Healthcare                         05/31/20       92             257.25              -                 -                 -                 -               257.25
06/15/20     2254                      Change Healthcare                         06/30/20        62             13.63              -                 -                 -               13.63                -
06/30/20     1176882                   Change Healthcare                         06/30/20       62             257.25              -                 -                 -              257.25                -
07/15/20     3764                      Change Healthcare                         07/15/20        47             13.76              -                 -               13.76               -                  -
07/31/20     1186954                   Change Healthcare                         07/31/20       31             257.25              -                 -              257.25               -                  -
08/27/20     12983443 007 000 2        Columbia Gas                              09/21/20       N/A          4,093.73         4,093.73               -                 -                 -                  -
08/22/20     255-883-850-0001-84       Verizon                                   09/16/20       N/A             88.66            88.66               -                 -                 -                  -
08/25/20     155-883-731-0001-23       Verizon                                   09/21/20       N/A             44.11            44.11               -                 -                 -                  -
01/13/20     974864                    Waystar                                   02/12/20       201             63.60              -                 -                 -                 -                63.60
02/20/20     186791                    Waystar                                   03/10/20       174         30,588.00              -                 -                 -                 -            30,588.00
Total - Ellwood Medical Center Operations, LLC                                                              39,587.25         6,794.05               -              271.01            270.88          32,251.31

Izard County Medical Center, LLC
08/04/20     82279                    AFFORDABLE MEDICAL                         09/03/20       N/A            558.00           558.00               -                 -                 -                  -
08/04/20     831415                   AFFORDABLE MEDICAL                         09/03/20       N/A             18.00            18.00               -                 -                 -                  -
08/17/20     42412683                 AMERICAN RED CROSS                         09/16/20       N/A            774.20           774.20               -                 -                 -                  -
08/06/20     3600                     ARKANSAS DEPARTMENT OF HUMAN SERVICES 08/16/20            15          29,792.00              -           29,792.00               -                 -                  -
08/01/20     100775                   ASPYRA, LLC                                08/31/20        0           3,183.20         3,183.20               -                 -                 -                  -
08/04/20     40312/3                  B&B SUPPLY STORES LLC                      09/03/20       N/A             21.89            21.89               -                 -                 -                  -
08/04/20     40319/3                  B&B SUPPLY STORES LLC                      09/03/20       N/A             64.77            64.77               -                 -                 -                  -
08/10/20     40358/3                  B&B SUPPLY STORES LLC                      09/09/20       N/A             17.27            17.27               -                 -                 -                  -
07/28/20     67673394                 BAXTER HEALTHCARE CORP                     08/27/20        4             165.66              -              165.66               -                 -                  -
07/28/20     20200718                 BAXTER REGIONAL LAB CULTURES               08/27/20        4           1,131.00              -            1,131.00               -                 -                  -
08/04/20     20200810                 BAXTER REGIONAL LAB CULTURES               09/03/20       N/A          4,276.00         4,276.00               -                 -                 -                  -
08/17/20     20200817                 BAXTER REGIONAL LAB CULTURES               09/16/20       N/A          2,969.00         2,969.00               -                 -                 -                  -
08/06/20     60330                    BIG BRANCH                                 09/05/20       N/A            141.70           141.70               -                 -                 -                  -
08/11/20     579                      BLACK HILLS ENERGY                         09/10/20       N/A            168.17           168.17               -                 -                 -                  -
08/11/20     580                      BLACK HILLS ENERGY                         09/10/20       N/A             15.88            15.88               -                 -                 -                  -
07/31/20     304719                   BRIGGS HEALTHCARE                          08/30/20        1             231.20              -              231.20               -                 -                  -
07/27/20     305045                   BRIGGS HEALTHCARE                          08/26/20        5              35.55              -               35.55               -                 -                  -
08/11/20     405809612                CINTAS LOC#572                             09/10/20       N/A            165.58           165.58               -                 -                 -                  -
08/27/20     12816                    CLEANER SOLUTIONS                          09/26/20       N/A            150.00           150.00               -                 -                 -                  -
08/07/20     6082                     DEAN DORTON ALLEN FORD, PLLC               09/06/20       N/A          1,650.00         1,650.00               -                 -                 -                  -
08/05/20     167222587                ENTERGY                                    08/27/20        4           3,889.18              -            3,889.18               -                 -                  -
07/31/20     175005747732             ENTERGY                                    08/30/20        1           4,629.72              -            4,629.72               -                 -                  -
08/05/20     290004630334             ENTERGY                                    09/04/20       N/A             93.93            93.93               -                 -                 -                  -
08/05/20     290004630340             ENTERGY                                    09/04/20       N/A            102.25           102.25               -                 -                 -                  -
08/05/20     290004630341             ENTERGY                                    09/04/20       N/A             34.80            34.80               -                 -                 -                  -
08/05/20     290004630342             ENTERGY                                    09/04/20       N/A            465.68           465.68               -                 -                 -                  -
08/05/20     290004630348             ENTERGY                                    09/04/20       N/A             34.51            34.51               -                 -                 -                  -
08/24/20     177248                   FORT SMITH MEDICAL & JANITORIAL SUPPLY INC 09/23/20       N/A            274.50           274.50               -                 -                 -                  -
08/24/20     20200824                 FRANKS, CATHY                              09/23/20       N/A            367.09           367.09               -                 -                 -                  -
GlassRatner Advisory &
Capital Group LLC                                                                                                                                                                                                 1 of 2
                                       Case 19-61608-grs              Doc 882 Filed 09/16/20 Entered 09/16/20 15:17:41                             Desc Main
                                                                             Document    Page 22 of 121
Americore Holdings, et al. , Debtors.                                                                                                                                               Post Petition AP Aging

United States Bankruptcy CourtCase No. 19-61608 (Jointly Administered)
Post-Petition Accounts Payable Aging Detail as of August 31, 2020



    Date          Invoice Number                    Vendor Name                Due Date   Aging       Balance           Current        1-30 Days       31-60 Days      61-90 Days        > 90 Days
08/11/20      27537898                  GREAT AMERICA FINANCIAL SERVICES     09/10/20      N/A            837.99            837.99             -               -               -                  -
08/12/20      5102250391                HORIBA MEDICAL                       09/11/20      N/A          4,831.00          4,831.00             -               -               -                  -
08/24/20      4090974                   INFORMATION NETWORK OF ARKANSAS      09/23/20      N/A            440.00            440.00             -               -               -                  -
08/27/20      8262020                   LANE, ROBERT MD                      08/31/20       0             485.00            485.00             -               -               -                  -
07/28/20      1918514524                MEDLINE INDUSTRIES, INC              08/27/20       4              24.41               -             24.41             -               -                  -
08/06/20      1919677917                MEDLINE INDUSTRIES, INC              09/05/20      N/A            161.90            161.90             -               -               -                  -
08/08/20      1920032874                MEDLINE INDUSTRIES, INC              09/07/20      N/A            457.73            457.73             -               -               -                  -
08/06/20      19196779119               MEDLINE INDUSTRIES, INC              09/05/20      N/A            182.71            182.71             -               -               -                  -
08/13/20      72020                     MIKE DEMASS, INC.                    09/12/20      N/A          1,619.94          1,619.94             -               -               -                  -
08/01/20      90619                     NFS LEASING                          08/31/20       0           2,029.48          2,029.48             -               -               -                  -
08/01/20      8059180925                Staples                              08/31/20       0             544.08            544.08             -               -               -                  -
08/24/20      141                       STRATEQ HEALTH, INC                  09/23/20      N/A         14,433.00         14,433.00             -               -               -                  -
08/11/20      12245                     TECH INC                             09/10/20      N/A            200.00            200.00             -               -               -                  -
08/24/20      20200818                  UNUM                                 09/23/20      N/A            594.14            594.14             -               -               -                  -
08/24/20      20200824                  UNUM                                 09/23/20      N/A            591.02            591.02             -               -               -                  -
Total - Izard County Medical Center, LLC                                                               82,853.13         42,954.41       39,898.72             -               -                  -

St Alexius Hospital Corporation #1
08/01/20      427107                 MERRY X-RAY - 2020                      08/31/20       0          (1,095.19)         (1,095.19)           -               -               -                  -
07/31/20      MHA-11049-2            MISSOURI HOSPITAL ASSOC - 2020          08/28/20       3          29,061.01                -        29,061.01             -               -                  -
08/30/20      365162                 NETSMART - 2020                         08/30/20       1          17,672.00                -        17,672.00             -               -                  -
08/28/20      417625                 PREFERRED MEDICAL - 2020                08/28/20       3             108.80                -           108.80             -               -                  -
Total - St. Alexius Corporation #1                                                                     45,746.62          (1,095.19)     46,841.81             -               -                  -

TOTAL                                                                                             $   168,187.00    $    48,653.27 $     86,740.53 $        271.01 $        270.88 $        32,251.31
                                                                                                                            28.93%          51.57%           0.16%           0.16%             19.18%




GlassRatner Advisory &
Capital Group LLC                                                                                                                                                                                     2 of 2
                                                           Case 19-61608-grs              Doc 882 Filed 09/16/20 Entered 09/16/20 15:17:41                          Desc Main
CASE NAME:            Americore Holdings, LLC, et al.                                            Document STATEMENT
                                                                                                             Page 23 ofOF INCOME (LOSS)(1)
                                                                                                                        121                                                                                          FORM OPR-5
                                                                                                                                                                                                                     REV 2/90
CASE NUMBER:          19-61608-grs (Jointly Administered)                                                             MONTH ENDED:               August 31, 2020

                                                                                                                                                                                                                            FILING
                                                                        MONTH                    MONTH                    MONTH                    MONTH                   MONTH                    MONTH                  TO DATE


NET REVENUE (INCOME)                                               $                  -                                                                                                                                $                  -

COST OF GOODS SOLD

    Materials                                                                         -                       -                                                                                                                           -

    Labor - Direct                                                                    -                                                                                                                                                   -

    Manufacturing Overhead                                                            -                                                                                                                                                   -

                 TOTAL COST OF GOODS SOLD                                             -                       -                        -                        -                       -                        -                        -

GROSS PROFIT                                                                          -                       -                        -                        -                       -                        -                        -

OPERATING EXPENSES

    Selling and Marketing                                                             -                                                                                                                                                   -

    General and Administrative                                                        -                                                                                                                                                   -

    Other Exp:                                                                        -                                                                                                                                                   -

                 TOTAL OPERATING EXPENSES                                             -                       -                        -                        -                       -                        -                        -

INCOME BEFORE INTEREST, DEPRECIATION
  TAXES OR EXTRAORDINARY EXPENSES                                                     -                       -                        -                        -                       -                        -                        -

INTEREST EXPENSE                                                                      -                                                                                                                                                   -

DEPRECIATION                                                                          -                                                                                                                                                   -

GAIN (LOSS) ON DISPOSAL OF ASSETS                                                     -

INCOME TAX EXPENSE (BENEFIT)                                                          -                                                                                                                                                   -

EXTRAORDINARY INCOME (EXPENSE) *                                                      -                                                                                                                                                   -

                     NET INCOME (LOSS)                             $                  -     $                 -     $                  -     $                  -     $                 -     $                  -     $                  -

*   Requires Footnote

Notes:
(1) The balance sheet and statement of income for St. Alexius Hospital Corporation #1 are included herein. The Trustee is in the process of preparing financial statements for Izard County Medical Center and will include these documents
in subsequent Monthly Operating Reports once available. Financial statements for the remaining Debtor entities are not available.
                                                      Case 19-61608-grs                           Doc 882 Filed 09/16/20 Entered 09/16/20 15:17:41                                                                              Desc Main
                                                                                                         Document    Page 24 of 121
                                                                                                                                          ST. ALEXIUS HOSPITAL
                                                                                                                                        Income Statement - Trended
                                                                                                                                   For the Month Ended August 31, 2020

                                                                         1                 2                 3                 4                    5                 6                 7                 8                 9                 10                 11                 12            YTD
                                                           Jan-20            Feb-20            Mar-20            Apr-20               May-20            Jun-20            Jul-20            Aug-20            Sep-20            Oct-20             Nov-20             Dec-20                      2020

Gross Patient Revenue
  Inpatient - Routine                                        2,159,341         1,876,765         2,027,143         1,744,168            1,706,572          1,729,114        2,387,716         1,865,207                                                                                            15,496,026
  Inpatient - Ancillary                                      2,367,188         2,111,106         2,020,713         1,764,148            1,809,447          2,307,178        2,837,143         3,146,826                                                                                            18,363,748
  Outpatient                                                 5,051,388         4,718,346         3,827,807         2,522,170            2,389,502          3,703,522        4,019,528         3,565,053                                                                                            29,797,315
   Total gross patient revenue                               9,577,917         8,706,217         7,875,663         6,030,486            5,905,521          7,739,814        9,244,387         8,577,085                 -                 -                  -                  -                  63,657,090
Deductions From Revenue
  Contractual Adjustments - Care/Caid                        3,740,250         4,075,707         3,464,649         2,490,991             2,907,959         3,984,975        5,084,466         4,225,090                                                                                            29,974,086
  Contractual Adjustments - Other                            1,871,536         1,795,187           903,026           560,353             1,535,097         1,183,556        1,321,458           180,454                                                                                             9,350,666
  Provision for uncollectible accounts                       1,793,474         1,348,741         1,525,798         1,338,129               (51,133)        1,117,624        1,065,953         1,923,622                                                                                            10,062,209
  FRA / DSH                                                 (1,034,530)       (1,033,544)       (1,032,133)       (1,376,589)           (1,036,582)       (1,036,777)      (1,131,660)       (1,131,355)                                                                                           (8,813,171)
  Courtesy Discounts & Other                                       -                                                                                                                                                                                                                                      -
    Total deductions from revenue                            6,370,730         6,186,090         4,861,341         3,012,884            3,355,341          5,249,378        6,340,216         5,197,810                 -                 -                  -                  -                  40,573,790
Net patient service revenue                                  3,207,187         2,520,127         3,014,322         3,017,601            2,550,180          2,490,437        2,904,171         3,379,275                 -                 -                  -                  -                  23,083,299
  Other revenue                                                373,101           326,592           339,221           312,579              320,367         16,821,540          317,657           317,366                                                                                            19,128,423
Total Operating Revenue                                      3,580,288         2,846,718         3,353,542         3,330,181            2,870,547         19,311,976        3,221,829         3,696,641                 -                 -                  -                  -                  42,211,722
                                                                 37.4%             32.7%             42.6%             55.2%                48.6%             249.5%            34.9%             43.1%                0.0%              0.0%               0.0%               0.0%                      66%
Operating Expenses
  Salaries & wages                                           2,072,418         1,892,378         1,971,796         1,740,613            1,524,453          1,729,511        1,862,542         1,757,219                                                                                            14,550,931
  Employee benefits                                            290,703           264,877           362,522           327,403              320,978            324,332          425,838           437,639                                                                                             2,754,292
  Supplies                                                     135,873           281,407           139,257           165,452              248,004            303,583          526,438           104,488                                                                                             1,904,504
  Pharmaceuticals                                               29,142            49,429            59,549            41,191               42,150             43,646           59,940            61,724                                                                                               386,772
  Professional fees                                            268,506           235,116           257,780           190,160              203,005            216,493          173,364           178,165                                                                                             1,722,588
  Purchased services                                            73,111           140,243            56,923           104,172              119,008             58,784          110,184           102,797                                                                                               765,222
  Repairs and maintenance                                       55,348            54,652            51,759            42,989               25,545             23,051           52,688            30,282                                                                                               336,313
  Insurance                                                     20,000            20,000            87,638            98,932              101,485             98,929           98,929            98,929                                                                                               624,843
  Utilities                                                    144,411           137,352           148,618           100,858               77,698            144,045          148,392           106,709                                                                                             1,008,082
  Rents and Leases                                              24,257            10,338            13,512            11,349               10,039              9,655           28,821            12,625                                                                                               120,596
  Other                                                        137,605           205,556           174,594           174,729              167,710            121,529          167,880           172,846                                                                                             1,322,448
  Rents on Property                                                -                 -                 -                 -                    -                  -                -                 -                                                                                                     -
Total operating expenses                                     3,251,374         3,291,349         3,323,947         2,997,848            2,840,076          3,073,559        3,655,016         3,063,423                 -                 -                  -                  -                  25,496,591
EBIDAM                                                         328,914          (444,630)           29,596          332,333                30,470         16,238,417         (433,187)         633,219                  -                 -                  -                  -                  16,715,131
EBIDAM %                                                          9.2%            -15.6%              0.9%            10.0%                  1.1%              84.1%           -13.4%            17.1%                 0.0%              0.0%               0.0%               0.0%                     39.6%
Management Fees                                                      -                 -                 -                 -                    -                 -                 -                 -                 -                 -                  -                  -                           -
EBIDAR                                                         328,914          (444,630)           29,596          332,333                30,470         16,238,417         (433,187)         633,219                  -                 -                  -                  -                  16,715,131
EBIDAR %                                                          9.2%            -15.6%              0.9%            10.0%                  1.1%              84.1%           -13.4%            17.1%                 0.0%              0.0%               0.0%               0.0%                     39.6%
Other expense
  Depreciation and amortization                                 51,357           51,357             51,357           51,357                53,468            51,269            54,476           53,501                                                                                                 418,140
  Lendor Discount Fee Expense                                      -                -                  -                -                     -                 -                 -                -                                                                                                       -
  Interest Income -                                                (61)          (1,008)               (14)             (17)                  -                 (34)              -                -                                                                                                    (1,134)
  Interest expense -                                               -                -                  -                -                     -                 -                 -                -                                                                                                       -
  Interest Intercompany-exp/(inc)                                                                                                                                                                                                                                                                          -
  Non Operating - Other Expenses                               147,189            1,660                -              2,481                 6,069             6,069             6,069              -                                                                                                   169,537
  (Gain) / Loss on Assets                                          -                -                  -                -                     -                 -                 -                -                                                                                                       -
Total other expense                                            198,485           52,009             51,342           53,821                59,537            57,303            60,545           53,501                  -                 -                  -                  -                      586,543

Reorganization items                                                                                                                                                                                                                                                                                        -
  COD Income                                                                                                                                                                                                                                                                                                -
  Restructuring Expense / Discontinued Operations / Loss
  on Early Extinguish of Debt                                      -                 -                 -            (772,035)              (9,400)               -            120,422              -                    -                 -                                                          (661,014)
Total reorganization items                                         -                 -                 -            (772,035)              (9,400)               -            120,422              -                    -                 -                  -                  -                    (661,014)
EBT                                                            130,428          (496,639)          (21,746)        1,050,547              (19,666)        16,181,114         (614,154)         579,718                  -                 -                  -                  -                  16,789,602

Taxes
  Income Tax                                                                                                                                  -                  -                -                -                    -                                    -                  -                         -
Total Taxes                                                        -                 -                 -                 -                    -                  -                -                -                    -                 -                  -                  -                         -
Net Income                                                     130,428          (496,639)          (21,746)        1,050,547              (19,666)        16,181,114         (614,154)         579,718                  -                 -                  -                  -                  16,789,602

  Pt Day Multiplier                                                 2.12              2.18              1.95              1.72                 1.68              1.92              1.77              1.71               -                 -                  -                  -                          1.88
                                                                    2.12              2.15              2.08              2.00                 1.94              1.94              1.91              1.88              1.88              1.88               1.88               1.88                        1.88
                                                                    2.12               -                 -                 -                    -                 -                 -                 -                 -                 -                  -                  -




                                                                                                                                                                                                                                                                                         A1. FY 20 Income Stat
                                                         Case 19-61608-grs         Doc 882 Filed 09/16/20 Entered 09/16/20 15:17:41                     Desc Main
                                                                                          Document    Page 25 of 121
                                                                                                                                                                                   FORM OPR-6
                                                                       STATEMENT OF SOURCES AND USES OF CASH(1, 2)
                                                                                      August 2020
Case Name:   Americore Holdings, LLC, et al.
Case Number: 19-61608-grs (Jointly Administered)
                                                                         February 21-29,
                                                                              2020                March 2020           April 2020            May 2020             June 2020            July 2020          August 2020
SOURCES OF CASH
  Income (Loss) From Operations
     Add: Depreciation, Amortization & Other non-cash
     CASH GENERATED FROM OPERATIONS

      Add: Decrease in Assets:
            Accounts Receivable                                         $     421,887.03      $    4,085,724.17    $   3,286,672.26      $    3,110,474.06    $    5,199,468.45    $   3,530,408.12   $    3,293,006.23
            Inventory
            Prepaid Expenses & Deposits
            Property, Plant & Equipment
              Other(3)                                                          14,288.07               606.36         2,909,059.03           7,520,337.04        16,495,117.98          506,740.12          109,185.49

            Increase in Liabilities:
              Pre Petition Liabilities
              Post Petition Liabilities
      TOTAL SOURCES OF CASH (A)                                               436,175.10           4,086,330.53        6,195,731.29          10,630,811.10        21,694,586.43        4,037,148.24        3,402,191.72

USES OF CASH
    Increase in Assets:
              Accounts Receivable
                 Inventory                                                      75,902.69            53,422.91             31,809.51            40,125.43            28,006.28            36,747.29           32,463.25
                 Prepaid Expenses & Deposits
                 Property, Plant & Equipment
                 Other

      Decrease in Liabilities:
                Pre-Petition Liabilities
                Post-Petition Liabilities
                 Bank fees                                                           41.00           10,235.14              8,774.17             18,574.44            18,891.10           16,359.61            9,980.09
                 Contractors                                                                                                                      9,484.21             5,611.08            4,895.98
                 Emergency room                                                46,000.00            132,000.00           184,000.00             253,998.06           269,000.00          195,000.00          156,000.00
                 Employee benefits                                             17,864.57            114,969.12           581,178.48             371,882.73           604,790.74          196,171.14          381,189.01
                 Insurance                                                    197,783.51            538,030.96           159,324.99             479,765.40           391,309.47          344,760.00          299,977.37
                 IT and software expense                                                                                                        193,118.90           (75,172.01)          28,866.00           23,921.44
                 Leases, contracts and miscellaneous                                                                       46,313.35            116,471.72           100,101.04          104,326.89           45,105.78
                 Legal & Professional (non-Chapter 11)                                                                                            8,834.40             1,650.00            3,355.00
                 Medical professionals                                                                                   265,619.70             341,294.93           276,304.24          374,052.59          458,634.50
                 Payroll                                                      647,953.34           1,320,130.96        1,258,389.77           1,141,217.90         1,122,449.42        1,678,048.09        1,128,868.57
                 Pharmaceuticals                                                                                          70,209.06              30,505.69            13,626.17           71,268.88           62,912.05
                 Rent                                                                                                                                                 51,677.00          103,369.00
                 Repairs and maintenance                                                                                 183,196.87             229,423.48           377,787.48          416,417.44          386,591.53
                 School of Nursing expenses                                                                                                      34,448.03            19,500.66           13,508.41           13,589.29
                 Supplies                                                       60,127.74            144,009.88          200,256.72             423,498.09           445,619.57          601,985.70          637,439.71
                 Taxes                                                          24,913.03            438,373.77          671,455.27             373,198.26         1,632,028.75          532,073.78          694,328.89
                 Utilities                                                      17,000.00             38,871.87          227,374.58             521,265.92           282,277.30          187,108.35          285,326.78
                 US Trustee                                                                              650.00          106,395.64               1,300.00                               146,500.06
                 Other operating expenses                                     208,556.10             506,393.35           56,773.51              48,477.99            50,006.00          171,983.19          198,337.54
                     TOTAL USES OF CASH (B)                                 1,296,141.98           3,297,087.96        4,051,071.62           4,636,885.58         5,615,464.29        5,226,797.40        4,814,665.80

NET SOURCE (USE) OF CASH (A-B=NET)                                      $     (859,966.88)    $     789,242.57     $   2,144,659.67      $    5,993,925.52    $ 16,079,122.14      $ (1,189,649.16)   $ (1,412,474.08)

CASH - BEGINNING BALANCE (See OPR-1)                                    $   2,025,271.64      $    1,165,304.76    $   1,954,547.33      $    3,992,376.98    $  9,984,623.44      $ 26,018,855.58    $ 24,833,446.63
Scholarship fund disbursement                                                        -                      -           (121,635.00)                   -           (49,710.00)            6,950.00                -
Adjustment(4, 5, 6)                                                                  -                      -             14,804.98              (1,679.06)          4,820.00            (2,709.79)               -
CASH - ENDING BALANCE (See OPR-1)                                       $   1,165,304.76      $    1,954,547.33    $   3,992,376.98      $    9,984,623.44    $ 26,018,855.58      $ 24,833,446.63    $ 23,420,972.55




Notes:
(1) Prepared on cash basis of accounting.
(2) For the April 2020 Monthly Operating Report, and all subsequent reports, the level of detail for income and expense items reported may be updated on a
go-forward basis and consequently will be determined on a month-by-month basis.
(3) Includes $25,000 funding from secured creditor to Ellwood Medical Center Operations, LLC.
                                    Case 19-61608-grs     Doc 882 Filed 09/16/20 Entered 09/16/20 15:17:41          Desc Main
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CASE NAME:                               Americore Holdings, LLC, et al.                                                           Disbursements

CASE NUMBER:                             19-61608-grs (Jointly Administered)

                                                                       CASH DISBURSEMENTS DETAIL

                  Entity                      Bank ID                Date         Check Number                             Payee             Amount
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1183              Armstrong                               $      1,668.55
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1184              Armstrong                                        899.00
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1185              Boro of EC                                         7.50
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1186              Boro of EC                                       160.37
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1187              Boro of EC                                       188.34
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1188              Boro of EC                                     3,192.61
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1189              Boro of EC                                        55.71
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1190              Boro of EC                                    17,530.32
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1191              Boro of EC                                        65.20
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1192              Boro of EC                                        27.23
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1193              Columbia Gas                                      24.83
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1194              Columbia Gas                                      17.41
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1195              Columbia Gas                                      23.65
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1196              Columbia Gas                                      49.65
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1197              Columbia Gas                                      25.29
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1198              Columbia Gas                                   3,584.01
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1199              PA American Water                                 16.07
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1200              PA American Water                                 16.07
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1201              PA American Water                                 40.81
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1202              PA American Water                                 16.07
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1203              PA American Water                                390.93
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1204              PA American Water                                 17.26
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1205              PA American Water                                273.75
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1206              Unum                                              20.26
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1207              Unum                                              38.54
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1208              Unum                                              61.03
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1209              Verizon                                           90.62
Ellwood Medical Center Operations, LLC   USB-4983              08/05/20        1210              Verizon                                           44.62
Ellwood Medical Center Operations, LLC   USB-4983              08/07/20        Wire              Triton HR                                      1,399.32
Ellwood Medical Center Operations, LLC   USB-4983              08/10/20        Debit             PA UEC                                        16,541.72
Ellwood Medical Center Operations, LLC   USB-4983              08/10/20        Wire              Quadax, Inc.                                   1,617.00
Ellwood Medical Center Operations, LLC   USB-4983              08/12/20        Wire              Paylocity - Payroll taxes                      5,117.10
Ellwood Medical Center Operations, LLC   USB-4983              08/14/20        Debit             US Bank                                          424.15
Ellwood Medical Center Operations, LLC   USB-4983              08/14/20        1211              PA American Water                                 99.98
Ellwood Medical Center Operations, LLC   USB-4983              08/14/20        1212              PA American Water                                 40.51
Ellwood Medical Center Operations, LLC   USB-4983              08/14/20        1213              PA American Water                                 16.07
Ellwood Medical Center Operations, LLC   USB-4983              08/14/20        1214              PA American Water                                 16.07
Ellwood Medical Center Operations, LLC   USB-4983              08/14/20        1215              PA American Water                                 16.07
Ellwood Medical Center Operations, LLC   USB-4983              08/19/20        1216              Columbia Gas                                      23.98
Ellwood Medical Center Operations, LLC   USB-4983              08/19/20        1217              Columbia Gas                                      46.09
Ellwood Medical Center Operations, LLC   USB-4983              08/19/20        1218              Columbia Gas                                      24.07
Ellwood Medical Center Operations, LLC   USB-4983              08/19/20        1220              Columbia Gas                                      17.65
Ellwood Medical Center Operations, LLC   USB-4983              08/19/20        1219              Columbia Gas                                      23.98
Ellwood Medical Center Operations, LLC   USB-4983              08/19/20        1221              Unum                                              20.26
Ellwood Medical Center Operations, LLC   USB-4983              08/19/20        1222              Unum                                              38.54
Ellwood Medical Center Operations, LLC   USB-4983              08/19/20        1223              Unum                                              61.03
Ellwood Medical Center Operations, LLC   USB-4983              08/19/20        1224              Petty Cash                                       785.86
Ellwood Medical Center Operations, LLC   USB-4983              08/21/20        Debit             Triton HR                                        345.00
Ellwood Medical Center Operations, LLC   USB-4983              08/21/20        Debit             Beyond Rosk Consultants, LLC                     800.00
Ellwood Medical Center Operations, LLC   USB-4983              08/21/20        Debit             Arthur J. Gallagher, RMS                       1,459.50
Ellwood Medical Center Operations, LLC   USB-4983              08/27/20        Debit             Paylocity - Payroll taxes                      5,069.95
Ellwood Medical Center Operations, LLC   USB-4983              08/28/20        Debit             Paylocity                                        377.50
Total - USB-4983                                                                                                                               62,927.10

Ellwood Medical Center Operations, LLC   USB-4991              08/14/20        11559             Payroll Check                                      2,082.71
Ellwood Medical Center Operations, LLC   USB-4991              08/14/20        11560             Payroll Check                                      1,148.47
Ellwood Medical Center Operations, LLC   USB-4991              08/14/20        11561             Payroll Check                                        877.41
Ellwood Medical Center Operations, LLC   USB-4991              08/14/20        11562             Payroll Check                                      1,044.94
Ellwood Medical Center Operations, LLC   USB-4991              08/14/20        11563             Payroll Check                                      1,645.84
Ellwood Medical Center Operations, LLC   USB-4991              08/14/20        11564             Payroll Check                                      1,545.61
Ellwood Medical Center Operations, LLC   USB-4991              08/14/20        11565             Payroll Check                                      1,351.84
Ellwood Medical Center Operations, LLC   USB-4991              08/14/20        11566             Payroll Check                                        145.77
Ellwood Medical Center Operations, LLC   USB-4991              08/14/20        11567             Payroll Check                                      1,313.50
Ellwood Medical Center Operations, LLC   USB-4991              08/14/20        11568             Payroll Check                                      1,939.09
Ellwood Medical Center Operations, LLC   USB-4991              08/28/20        11569             Payroll Check                                      2,082.67
Ellwood Medical Center Operations, LLC   USB-4991              08/28/20        11570             Payroll Check                                      1,148.48
Ellwood Medical Center Operations, LLC   USB-4991              08/28/20        11571             Payroll Check                                        877.41
Ellwood Medical Center Operations, LLC   USB-4991              08/28/20        11572             Payroll Check                                        937.64
Ellwood Medical Center Operations, LLC   USB-4991              08/28/20        11573             Payroll Check                                      1,747.42
Ellwood Medical Center Operations, LLC   USB-4991              08/28/20        11574             Payroll Check                                      1,545.61
Ellwood Medical Center Operations, LLC   USB-4991              08/28/20        11575             Payroll Check                                      1,362.56
Ellwood Medical Center Operations, LLC   USB-4991              08/28/20        11576             Payroll Check                                        148.05
Ellwood Medical Center Operations, LLC   USB-4991              08/28/20        11577             Payroll Check                                      1,405.24
Ellwood Medical Center Operations, LLC   USB-4991              08/28/20        11578             Payroll Check                                      1,763.26
Total - USB-4991                                                                                                                                   26,113.52

Izard County Medical Center, LLC         FNB-5801              08/07/20        2002341           Payroll Check                                        762.07
Izard County Medical Center, LLC         FNB-5801              08/07/20        2002331           Payroll Check                                      1,830.37
Izard County Medical Center, LLC         FNB-5801              08/07/20        2002332           Payroll Check                                        405.15
Izard County Medical Center, LLC         FNB-5801              08/07/20        2002379           Payroll Check                                        536.14
Izard County Medical Center, LLC         FNB-5801              08/07/20        2002380           Payroll Check                                        702.32
Izard County Medical Center, LLC         FNB-5801              08/07/20        2002342           Payroll Check                                        147.34
Izard County Medical Center, LLC         FNB-5801              08/07/20        2002343           Payroll Check                                        927.87
                                   Case 19-61608-grs     Doc 882 Filed 09/16/20 Entered 09/16/20 15:17:41       Desc Main
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CASE NAME:                              Americore Holdings, LLC, et al.                                                     Disbursements

CASE NUMBER:                            19-61608-grs (Jointly Administered)

                                                                      CASH DISBURSEMENTS DETAIL

                   Entity                    Bank ID                Date         Check Number                      Payee              Amount
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002344           Payroll Check                             378.37
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002375           Payroll Check                           1,475.73
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002345           Payroll Check                             630.19
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002333           Payroll Check                             376.68
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002346           Payroll Check                           1,063.35
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002309           Payroll Check                              40.72
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002347           Payroll Check                             983.60
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002348           Payroll Check                             859.72
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002349           Payroll Check                           1,637.48
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002350           Payroll Check                           1,522.65
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002381           Payroll Check                             824.69
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002303           Payroll Check                             692.63
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002391           Payroll Check                           1,193.64
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002338           Payroll Check                             198.30
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002310           Payroll Check                             580.81
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002311           Payroll Check                             642.75
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002312           Payroll Check                             788.30
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002325           Payroll Check                             611.50
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002326           Payroll Check                             299.96
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002351           Payroll Check                           1,995.83
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002370           Payroll Check                             405.19
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002371           Payroll Check                             345.36
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002304           Payroll Check                             814.97
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002317           Payroll Check                             742.04
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002323           Payroll Check                           1,065.48
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002392           Payroll Check                           1,129.28
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002339           Payroll Check                             676.61
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002313           Payroll Check                             603.46
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002305           Payroll Check                             889.73
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002382           Payroll Check                             503.68
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002383           Payroll Check                             445.92
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002352           Payroll Check                             690.96
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002353           Payroll Check                           1,017.80
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002354           Payroll Check                           2,881.79
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002393           Payroll Check                             230.16
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002355           Payroll Check                             134.93
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002300           Payroll Check                             997.29
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002372           Payroll Check                           1,006.82
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002376           Payroll Check                             738.81
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002389           Payroll Check                             453.86
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002384           Payroll Check                             617.88
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002385           Payroll Check                           1,019.84
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002334           Payroll Check                           1,075.51
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002356           Payroll Check                             420.78
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002324           Payroll Check                           1,139.95
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002357           Payroll Check                           1,181.42
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002335           Payroll Check                             844.30
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002373           Payroll Check                           2,170.72
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002308           Payroll Check                             657.01
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002318           Payroll Check                             433.09
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002319           Payroll Check                             657.00
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002301           Payroll Check                           1,015.18
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002377           Payroll Check                           1,783.98
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002314           Payroll Check                             495.10
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002320           Payroll Check                             827.77
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002386           Payroll Check                           2,838.70
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002378           Payroll Check                           1,248.89
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002358           Payroll Check                             939.92
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002359           Payroll Check                           1,531.95
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002360           Payroll Check                           1,139.49
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002330           Payroll Check                           1,185.38
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002306           Payroll Check                           1,098.22
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002327           Payroll Check                             662.13
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002321           Payroll Check                             843.65
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002302           Payroll Check                           2,712.31
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002328           Payroll Check                             422.20
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002361           Payroll Check                           1,476.48
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002362           Payroll Check                              29.15
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002390           Payroll Check                             132.05
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002387           Payroll Check                             456.66
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002363           Payroll Check                             381.22
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002364           Payroll Check                             344.59
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002315           Payroll Check                             223.44
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002322           Payroll Check                             523.89
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002374           Payroll Check                           1,303.25
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002307           Payroll Check                             753.77
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002365           Payroll Check                             259.46
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002388           Payroll Check                             349.60
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002340           Payroll Check                           1,042.99
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002366           Payroll Check                              10.16
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002336           Payroll Check                           1,425.07
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002367           Payroll Check                           1,867.40
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002316           Payroll Check                             513.83
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CASE NAME:                              Americore Holdings, LLC, et al.                                                            Disbursements

CASE NUMBER:                            19-61608-grs (Jointly Administered)

                                                                      CASH DISBURSEMENTS DETAIL

                   Entity                    Bank ID                Date         Check Number                              Payee             Amount
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002337           Payroll Check                                    238.44
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002368           Payroll Check                                    181.28
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002369           Payroll Check                                    718.16
Izard County Medical Center, LLC        FNB-5801              08/07/20        2002329           Payroll Check                                    531.20
Izard County Medical Center, LLC        FNB-5801              08/21/20        Debit             Izard County Agency                              318.00
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002433           Payroll Check                                    669.29
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002423           Payroll Check                                  1,865.75
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002471           Payroll Check                                    620.41
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002472           Payroll Check                                    526.27
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002434           Payroll Check                                    330.44
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002435           Payroll Check                                    428.16
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002467           Payroll Check                                  1,241.08
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002436           Payroll Check                                    342.26
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002424           Payroll Check                                    212.23
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002437           Payroll Check                                  1,568.50
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002438           Payroll Check                                    672.30
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002439           Payroll Check                                    801.70
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002440           Payroll Check                                  1,542.10
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002486           Payroll Check                                    247.54
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002441           Payroll Check                                  1,824.38
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002473           Payroll Check                                    827.05
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002396           Payroll Check                                    700.02
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002483           Payroll Check                                  1,209.82
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002430           Payroll Check                                    644.12
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002402           Payroll Check                                    568.26
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002403           Payroll Check                                    585.96
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002404           Payroll Check                                    775.64
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002417           Payroll Check                                    608.19
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002442           Payroll Check                                    394.88
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002418           Payroll Check                                    387.68
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002443           Payroll Check                                  1,993.31
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002462           Payroll Check                                    144.84
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002444           Payroll Check                                    373.55
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002463           Payroll Check                                    297.49
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002397           Payroll Check                                    828.49
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002409           Payroll Check                                    746.85
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002415           Payroll Check                                  1,059.76
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002484           Payroll Check                                  1,009.03
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002431           Payroll Check                                    580.33
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002405           Payroll Check                                    551.68
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002398           Payroll Check                                    889.38
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002474           Payroll Check                                    656.19
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002475           Payroll Check                                    446.71
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002445           Payroll Check                                    378.19
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002446           Payroll Check                                    964.40
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002447           Payroll Check                                  2,997.82
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002485           Payroll Check                                    194.78
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002448           Payroll Check                                    349.87
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002394           Payroll Check                                    996.88
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002464           Payroll Check                                    864.42
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002468           Payroll Check                                    371.18
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002481           Payroll Check                                    625.11
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002476           Payroll Check                                    416.68
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002477           Payroll Check                                  1,084.21
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002425           Payroll Check                                  1,214.71
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002449           Payroll Check                                    346.45
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002416           Payroll Check                                  1,146.39
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002450           Payroll Check                                  1,560.53
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002451           Payroll Check                                  1,185.74
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002426           Payroll Check                                    994.31
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002427           Payroll Check                                    140.61
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002465           Payroll Check                                  2,185.92
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002401           Payroll Check                                    559.92
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002410           Payroll Check                                    431.88
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002411           Payroll Check                                    663.86
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002469           Payroll Check                                  2,017.05
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002406           Payroll Check                                    473.68
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002412           Payroll Check                                    827.60
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002478           Payroll Check                                  2,829.15
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002470           Payroll Check                                  1,102.03
Izard County Medical Center, LLC        FNB-5801              08/21/20        Debit             Izard County Billing (Paylocity)               2,100.75
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002452           Payroll Check                                  1,193.33
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002453           Payroll Check                                  1,871.57
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002487           Payroll Check                                     69.33
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002454           Payroll Check                                  1,267.14
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002422           Payroll Check                                  1,200.14
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002399           Payroll Check                                  1,105.68
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002419           Payroll Check                                    650.16
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002413           Payroll Check                                    810.75
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002395           Payroll Check                                  2,712.31
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002420           Payroll Check                                    514.55
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002455           Payroll Check                                  1,398.58
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002482           Payroll Check                                    108.75
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CASE NAME:                              Americore Holdings, LLC, et al.                                                             Disbursements

CASE NUMBER:                            19-61608-grs (Jointly Administered)

                                                                      CASH DISBURSEMENTS DETAIL

                   Entity                    Bank ID                Date         Check Number                      Payee                      Amount
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002479           Payroll Check                                      456.80
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002456           Payroll Check                                      158.73
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002407           Payroll Check                                      119.27
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002414           Payroll Check                                      309.36
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002466           Payroll Check                                    1,290.12
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002457           Payroll Check                                      336.76
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002400           Payroll Check                                      747.79
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002458           Payroll Check                                      457.44
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002480           Payroll Check                                      344.83
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002432           Payroll Check                                    1,084.33
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002459           Payroll Check                                      479.54
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002428           Payroll Check                                    1,494.85
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002460           Payroll Check                                    1,750.70
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002408           Payroll Check                                      384.49
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002429           Payroll Check                                      235.30
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002461           Payroll Check                                      850.57
Izard County Medical Center, LLC        FNB-5801              08/21/20        2002421           Payroll Check                                      527.23
Total - FNB-5801                                                                                                                               162,050.92

Izard County Medical Center, LLC        FNB-5802              08/03/20        Debit             BANKCARD                                                55.38
Izard County Medical Center, LLC        FNB-5802              08/03/20        Debit             First National Bank                                      5.00
Izard County Medical Center, LLC        FNB-5802              08/03/20        Debit             MERCHANT SERVICE                                       185.48
Izard County Medical Center, LLC        FNB-5802              08/03/20        Cashiers check    MIKE DEMASS, INC.                                    1,665.10
Izard County Medical Center, LLC        FNB-5802              08/04/20        Wire              Correct Care                                        20,000.00
Izard County Medical Center, LLC        FNB-5802              08/04/20        Debit             First National Bank                                     15.00
Izard County Medical Center, LLC        FNB-5802              08/04/20        Debit             MCKESSON MEDICAL SURGICAL                            2,288.18
Izard County Medical Center, LLC        FNB-5802              08/05/20        120292            3M HEALTH INFORMATIONS SYSTEM                        4,602.26
Izard County Medical Center, LLC        FNB-5802              08/05/20        120293            AMERICAN WELDING GAS                                   137.25
Izard County Medical Center, LLC        FNB-5802              08/05/20        Debit             AMERISOURCE BERG                                        70.45
Izard County Medical Center, LLC        FNB-5802              08/05/20        120294            BATESVILLE TYPEWRITER CO., INC                         945.03
Izard County Medical Center, LLC        FNB-5802              08/05/20        120296            BAXTER REGIONAL LAB CULTURES                         4,361.00
Izard County Medical Center, LLC        FNB-5802              08/05/20        120297            CITY OF CALICO ROCK                                    264.94
Izard County Medical Center, LLC        FNB-5802              08/05/20        120298            ENTERGY                                              9,367.40
Izard County Medical Center, LLC        FNB-5802              08/05/20        120299            GE HEALTHCARE                                          187.50
Izard County Medical Center, LLC        FNB-5802              08/05/20        120300            GREAT AMERICA FINANCIAL SERVICES                       837.99
Izard County Medical Center, LLC        FNB-5802              08/05/20        120301            MEDLINE INDUSTRIES, INC                                895.00
Izard County Medical Center, LLC        FNB-5802              08/05/20        Debit             PAY PLUS                                                 9.45
Izard County Medical Center, LLC        FNB-5802              08/05/20        120302            PERFORMANCE HEALTH SUPPLY                              148.49
Izard County Medical Center, LLC        FNB-5802              08/05/20        120304            STRATEQ HEALTH, INC                                 14,433.00
Izard County Medical Center, LLC        FNB-5802              08/05/20        120305            VERIZON WIRELESS                                        48.21
Izard County Medical Center, LLC        FNB-5802              08/05/20        120306            WOLTERS KLUWER CLINICAL DRUG INFO                    3,389.72
Izard County Medical Center, LLC        FNB-5802              08/06/20        Debit             AMERISOURCE BERG                                        26.02
Izard County Medical Center, LLC        FNB-5802              08/07/20        Debit             AR DFA REVENUE                                       3,166.77
Izard County Medical Center, LLC        FNB-5802              08/10/20        Debit             First National Bank                                     15.00
Izard County Medical Center, LLC        FNB-5802              08/10/20        Debit             Triton HR                                            2,018.23
Izard County Medical Center, LLC        FNB-5802              08/11/20        Debit             AMERISOURCE BERG                                     1,500.00
Izard County Medical Center, LLC        FNB-5802              08/11/20        Debit             Correct Care                                        20,000.00
Izard County Medical Center, LLC        FNB-5802              08/11/20        Debit             First National Bank                                     15.00
Izard County Medical Center, LLC        FNB-5802              08/11/20        Debit             First National Bank                                     15.00
Izard County Medical Center, LLC        FNB-5802              08/11/20        Debit             First National Bank                                     15.00
Izard County Medical Center, LLC        FNB-5802              08/11/20        Debit             Siemens                                                358.07
Izard County Medical Center, LLC        FNB-5802              08/11/20        Credit            MCKESSON MEDICAL SURGICAL                           (5,695.78)
Izard County Medical Center, LLC        FNB-5802              08/12/20        120307            AMERICAN PAPER & TWINE                                  50.15
Izard County Medical Center, LLC        FNB-5802              08/12/20        120308            ANTHONY ANSTON, DO, PLLC                               450.00
Izard County Medical Center, LLC        FNB-5802              08/12/20        120309            ATOMIC ENERGY INDUSTRIAL LAB                           205.35
Izard County Medical Center, LLC        FNB-5802              08/12/20        120310            BIOMEDICAL SERVICES LLC                              1,161.60
Izard County Medical Center, LLC        FNB-5802              08/12/20        120311            BLACK HILLS ENERGY                                     283.03
Izard County Medical Center, LLC        FNB-5802              08/12/20        120312            CINTAS LOC#572                                         165.58
Izard County Medical Center, LLC        FNB-5802              08/12/20        120313            CITY OF CALICO ROCK                                    438.59
Izard County Medical Center, LLC        FNB-5802              08/12/20        120314            EMERGENCE TELERADIOLOGY                              3,928.00
Izard County Medical Center, LLC        FNB-5802              08/12/20        120315            FRANKS, RUSTY                                           21.64
Izard County Medical Center, LLC        FNB-5802              08/12/20        Debit             IRS                                                 20,963.55
Izard County Medical Center, LLC        FNB-5802              08/12/20        120316            Jenkins, Diane                                          65.00
Izard County Medical Center, LLC        FNB-5802              08/12/20        120317            KNOWLES TRUE VALUE                                     289.80
Izard County Medical Center, LLC        FNB-5802              08/12/20        120318            LANE, ROBERT MD                                      3,967.50
Izard County Medical Center, LLC        FNB-5802              08/12/20        120319            MEDLINE INDUSTRIES, INC                                762.49
Izard County Medical Center, LLC        FNB-5802              08/12/20        120320            NFS LEASING                                          2,029.48
Izard County Medical Center, LLC        FNB-5802              08/12/20        Debit             PAY PLUS                                                 5.75
Izard County Medical Center, LLC        FNB-5802              08/12/20        120321            SIEMENS HEALTHCARE DIAGNOSTICS                       1,064.33
Izard County Medical Center, LLC        FNB-5802              08/12/20        120322            Staples                                              1,195.50
Izard County Medical Center, LLC        FNB-5802              08/12/20        120323            ZOLL MEDICAL CORPORATION                               411.51
Izard County Medical Center, LLC        FNB-5802              08/13/20        Debit             AR DFA REVENUE                                       9,618.82
Izard County Medical Center, LLC        FNB-5802              08/13/20        120334            MIKE DEMASS, INC.                                    1,665.10
Izard County Medical Center, LLC        FNB-5802              08/18/20        Cashiers check    AMERICAN WELDING GAS                                   668.01
Izard County Medical Center, LLC        FNB-5802              08/18/20        Wire              Correct Care                                        20,000.00
Izard County Medical Center, LLC        FNB-5802              08/18/20        Debit             First National Bank                                     15.00
Izard County Medical Center, LLC        FNB-5802              08/18/20        Debit             First National Bank                                      5.00
Izard County Medical Center, LLC        FNB-5802              08/18/20        Debit             First National Bank                                      5.00
Izard County Medical Center, LLC        FNB-5802              08/18/20        Cashiers check    Harps                                                  500.00
Izard County Medical Center, LLC        FNB-5802              08/18/20        Debit             MCKESSON MEDICAL SURGICAL                            4,511.79
Izard County Medical Center, LLC        FNB-5802              08/19/20        120325            AK Unemployment                                      4,266.23
Izard County Medical Center, LLC        FNB-5802              08/19/20        120324            ANTHONY ANSTON, DO, PLLC                               300.00
Izard County Medical Center, LLC        FNB-5802              08/19/20        120326            BAXTER REGIONAL LAB CULTURES                         4,296.00
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CASE NAME:                                  Americore Holdings, LLC, et al.                                                                         Disbursements

CASE NUMBER:                                19-61608-grs (Jointly Administered)

                                                                          CASH DISBURSEMENTS DETAIL

                   Entity                        Bank ID                Date         Check Number                             Payee                           Amount
Izard County Medical Center, LLC            FNB-5802              08/19/20        120327            CONMED CORP                                                    394.86
Izard County Medical Center, LLC            FNB-5802              08/19/20        120328            FORT SMITH MEDICAL & JANITORIAL SUPPLY INC                     467.98
Izard County Medical Center, LLC            FNB-5802              08/19/20        120329            FRANKS, CATHY                                                  123.59
Izard County Medical Center, LLC            FNB-5802              08/19/20        120330            Hicks, Mary BSW                                                200.00
Izard County Medical Center, LLC            FNB-5802              08/19/20        120331            KATHERINE FERGUSON MA, RD, LD                                  350.00
Izard County Medical Center, LLC            FNB-5802              08/19/20        120332            LANE, ROBERT MD                                              2,430.00
Izard County Medical Center, LLC            FNB-5802              08/19/20        120333            MEDLINE INDUSTRIES, INC                                        586.76
Izard County Medical Center, LLC            FNB-5802              08/19/20        Debit             PAY PLUS                                                         0.37
Izard County Medical Center, LLC            FNB-5802              08/19/20        120335            UNUM                                                         1,187.19
Izard County Medical Center, LLC            FNB-5802              08/19/20        120336            WAYSTAR                                                      1,496.46
Izard County Medical Center, LLC            FNB-5802              08/20/20        Debit             AMERISOURCE BERG                                               243.84
Izard County Medical Center, LLC            FNB-5802              08/20/20        Debit             First National Bank                                              5.00
Izard County Medical Center, LLC            FNB-5802              08/20/20        Debit             First National Bank                                              5.00
Izard County Medical Center, LLC            FNB-5802              08/20/20        Debit             Health Care Logistics                                          250.00
Izard County Medical Center, LLC            FNB-5802              08/20/20        Debit             Teleflex                                                       314.50
Izard County Medical Center, LLC            FNB-5802              08/21/20        Debit             AR DFA REVENUE                                               3,281.17
Izard County Medical Center, LLC            FNB-5802              08/21/20        Debit             Arthur J. Gallagher Risk Management Services, Inc.           8,973.00
Izard County Medical Center, LLC            FNB-5802              08/21/20        Debit             First National Bank                                             15.00
Izard County Medical Center, LLC            FNB-5802              08/21/20        Debit             First National Bank                                             15.00
Izard County Medical Center, LLC            FNB-5802              08/24/20        Debit             BAXTER HEALTHCARE CORP                                         828.84
Izard County Medical Center, LLC            FNB-5802              08/24/20        Debit             First National Bank                                             15.00
Izard County Medical Center, LLC            FNB-5802              08/24/20        Debit             First National Bank                                             15.00
Izard County Medical Center, LLC            FNB-5802              08/24/20        120145-VOID       Hicks, Mary BSW                                               (250.00)
Izard County Medical Center, LLC            FNB-5802              08/24/20        Debit             Siemens                                                      2,580.64
Izard County Medical Center, LLC            FNB-5802              08/25/20        120380            ABILITY NETWORK INC                                             44.30
Izard County Medical Center, LLC            FNB-5802              08/25/20        120381            AMERICAN RED CROSS                                           2,019.80
Izard County Medical Center, LLC            FNB-5802              08/25/20        120382            AMERICAN WELDING GAS                                           141.33
Izard County Medical Center, LLC            FNB-5802              08/25/20        120383            Anthem Blue Cross Blue Shield                                   72.32
Izard County Medical Center, LLC            FNB-5802              08/25/20        120384            CENTURYLINK                                                    658.55
Izard County Medical Center, LLC            FNB-5802              08/25/20        120385            CINTAS LOC#572                                                 165.58
Izard County Medical Center, LLC            FNB-5802              08/25/20        120386            CLEANER SOLUTIONS                                              150.00
Izard County Medical Center, LLC            FNB-5802              08/25/20        120387            CONMED CORP                                                    186.22
Izard County Medical Center, LLC            FNB-5802              08/25/20        Debit             Correct Care                                                20,000.00
Izard County Medical Center, LLC            FNB-5802              08/25/20        120388            EMERGENCE TELERADIOLOGY                                      3,848.00
Izard County Medical Center, LLC            FNB-5802              08/25/20        120389            FFF Enterprises                                              2,765.40
Izard County Medical Center, LLC            FNB-5802              08/25/20        Debit             First National Bank                                             15.00
Izard County Medical Center, LLC            FNB-5802              08/25/20        120390            FRANKS, CATHY                                                  367.09
Izard County Medical Center, LLC            FNB-5802              08/25/20        120391            FRANKS, RUSTY                                                   53.83
Izard County Medical Center, LLC            FNB-5802              08/25/20        120392            Hicks, Mary BSW                                                300.00
Izard County Medical Center, LLC            FNB-5802              08/25/20        120393            Hudspeth, Kim                                                  139.00
Izard County Medical Center, LLC            FNB-5802              08/25/20        120394            LANE, ROBERT MD                                              2,840.00
Izard County Medical Center, LLC            FNB-5802              08/25/20        Debit             MCKESSON MEDICAL SURGICAL                                      605.03
Izard County Medical Center, LLC            FNB-5802              08/25/20        120395            MEDICAL WASTE SERVICES                                       1,575.00
Izard County Medical Center, LLC            FNB-5802              08/25/20        120396            METHVIN SANITATION INC                                         435.30
Izard County Medical Center, LLC            FNB-5802              08/25/20        120397            MIKE DEMASS, INC.                                            1,241.74
Izard County Medical Center, LLC            FNB-5802              08/25/20        120398            SHARED MEDICAL SERVICES, INC                                 2,625.00
Izard County Medical Center, LLC            FNB-5802              08/25/20        120399            STERIS CORP                                                    609.65
Izard County Medical Center, LLC            FNB-5802              08/25/20        120400            UVC Enterprises                                                374.99
Izard County Medical Center, LLC            FNB-5802              08/25/20        120401            VERIZON WIRELESS                                               380.66
Izard County Medical Center, LLC            FNB-5802              08/25/20        120402            WASHINGTON AUTO PARTS                                           57.18
Izard County Medical Center, LLC            FNB-5802              08/26/20        Debit             PAY PLUS                                                        80.22
Izard County Medical Center, LLC            FNB-5802              08/27/20        Debit             IRS                                                         21,874.39
Total - FNB-5802                                                                                                                                               255,809.72

St. Alexius Hospital Corporation # 1        BOA-7479              08/03/20        Debit             Bankcard Discount Fee                                            2,041.94
St. Alexius Hospital Corporation # 1        BOA-7479              08/07/20        Debit             Bank of America, NA                                                898.71
Total - BOA-7479                                                                                                                                                     2,940.65

St. Alexius Hospital Corporation # 1        BOA-7592              08/03/20        Debit             Bank of America, NA                                                 19.95
Total - BOA-7592                                                                                                                                                        19.95

St. Alexius Hospital Corporation # 1        USB-0141              08/11/20        700212            City of St Louis Parking                                            75.00
St. Alexius Hospital Corporation # 1        USB-0141              08/11/20        700213            Missouri State Board of Nursing                                    100.00
St. Alexius Hospital Corporation # 1        USB-0141              08/11/20        700214            Secretary of State                                                  15.00
St. Alexius Hospital Corporation # 1        USB-0141              08/11/20        700215            Staples                                                            644.29
St. Alexius Hospital Corporation # 1        USB-0141              08/11/20        700216            Unit 4 Education Solutions Inc                                  12,300.00
St. Alexius Hospital Corporation # 1        USB-0141              08/03/20        700105            Name redacted                                                      455.00
Total - USB-0141                                                                                                                                                    13,589.29

St. Alexius Hospital Corporation # 1        USB-6886              08/01/20        201536            Iron Mountain - VOID                                              (774.65)
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201603            Tidi Products                                                    1,810.00
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201784            Styker Spine                                                     8,820.00
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201788            James Bergen                                                        85.00
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201793            Donna Huige                                                         32.21
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201794            Linda Kohne                                                        190.08
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201812            COOK MEDICAL                                                     2,262.88
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201817            Gao, Shawn MD                                                    1,000.00
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201818            GOEL, ANOJ                                                       1,250.00
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201888            Argon Medical Device                                             1,557.80
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201920            BIOTRONIK, INC                                                  19,100.00
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201922            AADCO MEDICAL, INC.                                             14,123.10
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201923            AGILITI HEALTH                                                     409.40
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201924            AMERICAN BOILER & MECH                                          10,748.54
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CASE NAME:                                  Americore Holdings, LLC, et al.                                                            Disbursements

CASE NUMBER:                                19-61608-grs (Jointly Administered)

                                                                          CASH DISBURSEMENTS DETAIL

                     Entity                      Bank ID                Date         Check Number                             Payee              Amount
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201925            BARD MEDICAL                                       26.16
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201926            BARD PERIPHERAL - 2020                          4,039.88
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201927            BIG-MEDICAL EQUIPMENT SERVICE                     772.00
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201928            BI-STATE COMPRESSOR                             3,498.50
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201929            BMi                                               948.10
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201930            Carefusion Solutions LLC                        1,246.85
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201931            WILLIAM CATLETT, LLC                            1,100.00
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201932            CHEMTRON CORPORATION                              998.54
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201933            CINTAS FIRE PROTECTION                          3,900.36
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201934            DATASITE                                        2,313.41
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201935            FAULTLESS RETAIL MEDICAL                          991.09
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201936            HEALTH CARE LOGISTICS                           1,348.53
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201937            INTEGRATED FACILITY SERVICES                    1,705.06
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201938            JOHNSON & JOHNSON HEALTH - 2020                   551.21
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201939            MEDTRONIC USA                                     781.62
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201940            MARY MERTZLUFFT                                    31.77
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201941            MIDWEST SURGICAL                                  675.00
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201942            MSD                                             1,631.97
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201943            NI SATELLITE                                      220.22
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201944            PDC                                                59.34
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201945            REIMBURSEMENT SPECIALISTS                       2,284.12
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201946            DONALD RYAN                                       816.81
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201947            SHARN, INC                                      2,921.95
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201948            MUJEEB SIDDIQUI MD                                677.00
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201949            SMITH & NEPHEW                                 19,978.08
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201950            SOURCEHOV HEALTHCARE, INC.                        113.95
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201951            STRYKER CORP - SURGICAL DIVISION                3,800.00
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201952            STRYKER ORTHEPAEDICS                            6,000.00
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201953            SURGICAL DIRECT                                 1,954.72
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201954            JUNAID SYED MD                                  1,250.00
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201955            DELILAH WILKES                                  2,430.00
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201960            BOSTON SCIENTIFIC/MICROVASIVE                   7,945.05
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201961            DEPUY SYNTHFS                                   1,722.60
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201967            NETSMART TECHNOLOGIES                          83,110.80
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201972            MCKESSON CORP                                  21,059.26
St. Alexius Hospital Corporation # 1        USB-6886              08/03/20        201973            WASTE MANAGEMENT                                  111.98
St. Alexius Hospital Corporation # 1        USB-6886              08/05/20        201974            Aetna Health                                    7,369.30
St. Alexius Hospital Corporation # 1        USB-6886              08/05/20        201975            Wage Works                                      1,344.34
St. Alexius Hospital Corporation # 1        USB-6886              08/05/20        202071            SYSCO FOOD SERVICES                             4,330.68
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202026            Airgas                                          7,522.45
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202027            Alban Scientific                                3,263.59
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202028            Allied Benefits                                54,417.47
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202040            ARFC Chicago                                    8,895.45
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202041            Aya Healthcare Inc                             19,755.75
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202042            Brossett Corp                                   4,400.00
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202044            Fisher Scientific                               7,875.25
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202045            Gibbs Technology                                6,051.20
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202046            INTEGRATED FACILITY SERVICES                    7,495.00
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202048            J2 Medical Supply                              23,320.00
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202050            Matheson Tri-Gas                                3,166.13
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202052            MFI Medical Equipment Inc                      10,440.40
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202053            Pitney Bowes                                    1,500.00
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202054            Royal Papers Inc                                2,635.64
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202055            Specialists in Anesthesia PC                   30,000.00
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202062            Staples                                           718.41
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202064            Talbot Group                                   18,345.00
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202065            The Kings Midwest Division LLC                 52,013.76
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202066            The Kings Midwest Division LLC                 52,013.76
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202069            Werfen USA                                      1,908.43
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202070            Western Healthcare                             39,000.00
St. Alexius Hospital Corporation # 1        USB-6886              08/07/20        202126            SYSCO FOOD SERVICES                             2,912.54
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        201981            ABILITY NETWORK                                 2,479.64
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        201982            ACC BUSINESS                                    2,582.87
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        201983            ALLOSOURCE                                      2,650.00
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        201984            ARAMARK                                           225.94
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        201985            AT&T                                           27,862.15
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        201986            AVANTE HEALTH SOLUTIONS -2020                   1,950.00
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        201987            BIOTRONIK, INC                                    942.97
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        201988            BOSTON SCIENTIFIC/MICROVASIVE                      52.71
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        201989            CLEVERBRIDGE                                    2,220.00
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        201990            COOK MEDICAL                                      488.80
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        201991            DAHLEM                                          1,540.00
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        201992            TOTAL RENTAL CARE                               8,493.56
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        201993            FAULTLESS                                       2,759.49
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        201994            FAULTLESS RETAIL MEDICAL                        1,025.07
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        201995            FEDERAL EXPRESS                                    15.74
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        201996            STEVE FOGT                                        250.00
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        201997            SHAWN GAO MD                                      250.00
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        201998            ANOJ GOEL                                         250.00
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        201999            HMS HEALTH                                         62.07
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202000            IBM                                             2,724.56
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202001            IMMUCOR                                           450.39
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202002            INTEGRA                                         1,040.00
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CASE NAME:                                  Americore Holdings, LLC, et al.                                                            Disbursements

CASE NUMBER:                                19-61608-grs (Jointly Administered)

                                                                          CASH DISBURSEMENTS DETAIL

                     Entity                      Bank ID                Date         Check Number                           Payee                Amount
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202003            SANJEEV KAMAT                                     250.00
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202004            KCI USA                                         1,383.77
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202005            JAMES KELLY, MD                                   250.00
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202006            RUSSELL KRAEGER MD                                250.00
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202007            MEDSERVICE REPAIR                                 500.91
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202008            MEDTRONIC USA                                      99.65
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202009            MIDWEST SCIENTIFIC                              2,296.55
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202010            MSD                                            10,872.00
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202011            PDC                                               327.51
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202012            PROSHRED SECURITY                                 180.00
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202013            OUATREX                                           625.53
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202014            RHYMES HEATING & COOLING                       13,107.00
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202015            DONALD RYAN                                       635.70
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202016            CRAIG SCHMID                                      250.00
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202017            STEIRCYCLE                                      3,941.89
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202019            SURGICAL DIRECT                                 4,000.00
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202020            JUNAID SYED MD                                    250.00
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202021            SYSCO FOOD SERVICES                               840.66
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202022            DARREN TIVOLI                                     218.16
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202023            TOUCHTONE COMMUNICATIONS                          632.86
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202024            VIRTUSA CORPORATION                            15,533.00
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202025            DELILAH WILKES                                  2,670.00
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202029            AMEREN - 2020                                      72.96
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202030            AMEREN - 2020                                      24.14
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202031            AMEREN - 2020                                     563.04
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202032            AMEREN - 2020                                     523.29
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202033            AMEREN - 2020                                     182.27
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202034            AMEREN - 2020                                     319.33
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202035            AMEREN - 2020                                     353.28
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202036            AMEREN - 2020                                  60,777.78
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202037            AMEREN - 2020                                     731.03
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202038            AMEREN - 2020                                      61.65
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202039            AMERICAN RED CROSS                                986.00
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202047            Iron Mountain                                     772.61
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202049            Labcorp                                        12,521.88
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202051            MCKESSON CORP                                   6,357.63
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202067            WASTE MANAGEMENT                                  111.05
St. Alexius Hospital Corporation # 1        USB-6886              08/10/20        202068            WASTE MANAGEMENT                                    8.30
St. Alexius Hospital Corporation # 1        USB-6886              08/11/20        202043            Cyracom                                            59.94
St. Alexius Hospital Corporation # 1        USB-6886              08/11/20        202056            Spire                                              43.13
St. Alexius Hospital Corporation # 1        USB-6886              08/11/20        202057            Spire                                             463.05
St. Alexius Hospital Corporation # 1        USB-6886              08/11/20        202058            Spire                                              69.62
St. Alexius Hospital Corporation # 1        USB-6886              08/11/20        202059            Spire                                              63.61
St. Alexius Hospital Corporation # 1        USB-6886              08/11/20        202060            Spire                                              65.74
St. Alexius Hospital Corporation # 1        USB-6886              08/11/20        202061            Spire                                              36.93
St. Alexius Hospital Corporation # 1        USB-6886              08/11/20        202063            SYSCO FOOD SERVICES                               942.05
St. Alexius Hospital Corporation # 1        USB-6886              08/12/20        202127            SYSCO FOOD SERVICES                             3,804.46
St. Alexius Hospital Corporation # 1        USB-6886              08/14/20        202073            ALBAN SCIENTIFIC                                  773.61
St. Alexius Hospital Corporation # 1        USB-6886              08/14/20        202074            ALLIED BENEFITS SYSTEMS                        61,261.98
St. Alexius Hospital Corporation # 1        USB-6886              08/14/20        202075            AMERICAN RED CROSS                                856.00
St. Alexius Hospital Corporation # 1        USB-6886              08/14/20        202076            AMERISOURCE BERGEN DRUG                        11,424.94
St. Alexius Hospital Corporation # 1        USB-6886              08/14/20        202077            AYA HEALTHCARE                                 21,580.25
St. Alexius Hospital Corporation # 1        USB-6886              08/14/20        202078            CDW GOVERNMENT, INC.                            7,153.00
St. Alexius Hospital Corporation # 1        USB-6886              08/14/20        202079            ELECTROMEK                                      4,583.00
St. Alexius Hospital Corporation # 1        USB-6886              08/14/20        202080            FISHER HEALTHCARE                               2,054.48
St. Alexius Hospital Corporation # 1        USB-6886              08/14/20        202081            J2 MEDICAL SUPPLY                               7,200.00
St. Alexius Hospital Corporation # 1        USB-6886              08/14/20        202082            JOHN BEAL INC.                                 17,099.08
St. Alexius Hospital Corporation # 1        USB-6886              08/14/20        202086            PREPAID CREDIT CARD 6716                        3,222.11
St. Alexius Hospital Corporation # 1        USB-6886              08/14/20        202087            ROYAL PAPERS                                      858.62
St. Alexius Hospital Corporation # 1        USB-6886              08/14/20        202088            SPECIALISTS IN ANESTHESIA                      25,000.00
St. Alexius Hospital Corporation # 1        USB-6886              08/14/20        202090            STAPLES                                         2,076.76
St. Alexius Hospital Corporation # 1        USB-6886              08/14/20        202092            THE KINGS MIDWEST DIVISION, INC.               34,675.84
St. Alexius Hospital Corporation # 1        USB-6886              08/14/20        202093            WESTERN HEALTHCARE                             39,000.00
St. Alexius Hospital Corporation # 1        USB-6886              08/14/20        202135            SYSCO FOOD SERVICES                             2,925.69
St. Alexius Hospital Corporation # 1        USB-6886              08/14/20                          Analysis Service Charge                         6,164.48
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202083            MCKESSON CORP                                  20,481.71
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202084            MISSOURI AMERICAN WATER                            13.93
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202085            PHILADELPHIA INSURANCE                          2,115.00
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202089            SPIRE                                           8,421.88
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202091            SYSCO FOOD SERVICES                               247.74
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202094            WASTE MANAGEMENT                                1,698.05
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202095            WASTE MANAGEMENT                                  106.50
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202096            ABBOTT LABORATORIES                             1,095.00
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202097            AMERICAN BOILER & MECH                            607.00
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202098            AMERICAN BOILER & MECH                         79,000.00
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202099            ARAMARK                                         1,912.96
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202100            AT&T                                              812.75
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202101            ATLANTIC PERSONNEL                                638.45
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202102            BARD PERIPHERAL - 2020                            917.89
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202103            BIOTRONIK, INC                                     42.37
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202104            CARSTENS                                          737.31
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202105            CENTRAL PAPER STOCK                                 5.00
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202106            CPI                                               150.00
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CASE NAME:                                  Americore Holdings, LLC, et al.                                                             Disbursements

CASE NUMBER:                                19-61608-grs (Jointly Administered)

                                                                          CASH DISBURSEMENTS DETAIL

                     Entity                      Bank ID                Date         Check Number                        Payee                    Amount
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202107            FAULTLESS                                        3,882.64
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202108            FAULTLESS RETAIL MEDICAL                         1,036.04
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202109            TERRY HAWKINS                                       85.00
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202110            HEALTHLINK                                          30.67
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202111            IMMUCOR                                            114.49
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202112            3M HEALTH INFORMATION SYSTEMS                    2,487.68
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202113            MEDLEARN MEDIA                                     239.20
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202114            MICRO AIRE SURGICAL                                272.53
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202115            RallS COMMISSION                                    20.00
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202116            RICH'S AUTOMOTIVE                                7,785.97
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202117            DONALD RYAN                                        720.70
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202118            SMITH & NEPHEW                                   6,181.04
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202119            STRYKER CORP - SURGICAL DIVISION                   410.54
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202120            STRYKER ORTHEPAEDICS                             6,000.00
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202121            STRYKER SPINE                                      118.97
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202122            TERUMO MEDICAL                                     940.06
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202123            WCP LABORATORIES                                 1,900.00
St. Alexius Hospital Corporation # 1        USB-6886              08/17/20        202124            DELILAH WILKES                                   3,585.00
St. Alexius Hospital Corporation # 1        USB-6886              08/18/20        202128            SYSCO FOOD SERVICES                                129.16
St. Alexius Hospital Corporation # 1        USB-6886              08/18/20        202129            Integra Lifesciences                             8,266.75
St. Alexius Hospital Corporation # 1        USB-6886              08/18/20        202130            STRYKER ORTHEPAEDICS                             2,452.67
St. Alexius Hospital Corporation # 1        USB-6886              08/18/20        202131            STRYKER ORTHEPAEDICS                             7,000.00
St. Alexius Hospital Corporation # 1        USB-6886              08/19/20        202132            TRAVELERS                                      141,531.00
St. Alexius Hospital Corporation # 1        USB-6886              08/19/20        202133            MEDTRONIC USA                                      287.79
St. Alexius Hospital Corporation # 1        USB-6886              08/19/20        202134            SURGICAL DIRECT                                  4,000.00
St. Alexius Hospital Corporation # 1        USB-6886              08/20/20        202213            SYSCO FOOD SERVICES                              4,378.86
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202136            AMEREN - 2020                                   25,733.26
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202137            AMEREN - 2020                                      225.82
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202138            AMERICAN RED CROSS                                 666.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202139            MCKESSON MEDICAL SURGICAL                       18,393.78
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202140            SYSCO FOOD SERVICES                                 54.43
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202141            3M HEALTHCARE INFORMATION SYSTEMS               22,413.58
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202142            ABBOTT LABORATORIES                                999.17
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202143            AGILITI HEALTH                                   4,471.13
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202144            ARAMARK                                            225.94
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202145            AT&T                                             1,070.40
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202146            BARD MEDICAL                                        23.36
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202147            CARDINAL - HEALTH 414                            2,710.74
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202148            RICK DESTEFANE                                     250.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202149            ERGO MEDICAL                                        43.75
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202150            FAULTLESS                                        2,315.11
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202151            FAULTLESS RETAIL MEDICAL                         1,102.07
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202152            STEVE FOGT                                         250.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202153            SHAWN GAO MD                                       250.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202155            ANOJ GOEL                                          250.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202156            HEALTH CARE LOGISTICS                              868.43
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202157            WILLIE JOHNSON                                      85.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202158            SANJEEV KAMAT                                      250.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202159            JAMES KELLY, MD                                    250.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202160            RUSSELL KRAEGER MD                                 250.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202161            MEDI DOSE                                        1,220.48
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202162            MEDIVATORS                                         375.40
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202163            MEDTRONIC USA                                       36.94
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202164            MERIT MEDICAL SYSTEMS, INC.                        825.75
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202165            MIDWEST SCIENTIFIC                               6,698.27
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202166            MSD                                              1,670.93
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202167            OLYMPUS AMERICA                                  1,262.28
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202168            PREMIER GLOBAL SERVICES                             26.62
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202169            ROTTLER                                            975.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202170            CRAIG SCHMID                                       250.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202171            SPRINT                                             367.55
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202172            STERICYCLE                                       3,883.52
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202173            STRYKER CORP - SURGICAL DIVISION                     9.38
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202174            STRYKER ENDOSCOPY                                1,017.44
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202175            STRYKER ORTHEPAEDICS                             3,491.47
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202176            JUNAID SYED MD                                     250.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202177            JUNAID SYED MD                                   1,250.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202178            SYSCO FOOD SERVICES                                270.64
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202179            NABIL HANNA TAUK, MD                               250.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202180            TIDI PRODUCTS, LLC                                 123.23
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202181            WCP LABORATORIES                                   211.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202182            DELILAH WILKES                                   3,450.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202183            VERIZON                                          1,081.32
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202184            CAROLYN PATTERSON                                    5.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202185            CHELSIE SWENSON                                      3.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202186            DELORES GRAY                                        75.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202187            ELLEN HARRIS                                        35.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202188            JOSHUA WATTERS                                     445.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202189            LYDIA PANDYA                                        25.73
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202190            ABBOTT DIAGNOSTICS                               2,117.19
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202191            ALBAN SCIENTIFIC                                 5,607.70
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202192            ALLIED BENEFITS SYSTEMS                         40,058.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202193            AMERISOURCE BERGEN DRUG                         18,306.79
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CASE NAME:                                  Americore Holdings, LLC, et al.                                                               Disbursements

CASE NUMBER:                                19-61608-grs (Jointly Administered)

                                                                          CASH DISBURSEMENTS DETAIL

                     Entity                      Bank ID                Date         Check Number                         Payee                     Amount
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202194            ARTHUR J. GALLAGHER RISK MANAGEMENT              116,116.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202195            AYA HEALTHCARE                                    18,987.50
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202196            BEYOND RISK CONSULTANTS                            7,200.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202197            BROSSETT CORPORATION                               5,200.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202198            FISHER HEALTHCARE                                  2,414.20
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202199            GFI DIGITAL - 2020                                 3,890.80
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202200            J2 MEDICAL SUPPLY                                 18,622.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202201            JOHN BEAL INC.                                    37,374.36
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202202            KARDELL PLUMBING                                   3,850.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202203            MFI MEDICAL                                       16,015.12
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202204            ROYAL PAPERS                                         701.18
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202205            SIEMENS HEALTHCARE                               119,854.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202206            SPECIALISTS IN ANESTHESIA                         46,426.75
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202207            SPECIALISTS IN ANESTHESIA                         46,426.75
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202208            STAPLES                                              593.26
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202209            WESTERN HEALTHCARE                                39,000.00
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202210            ZIMMER BIOMET                                      3,754.58
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202211            STRYKER ENDOSCOPY                                  1,240.70
St. Alexius Hospital Corporation # 1        USB-6886              08/21/20        202283            SYSCO FOOD SERVICES                                3,104.29
St. Alexius Hospital Corporation # 1        USB-6886              08/24/20        202235            IMMUCOR                                            1,654.50
St. Alexius Hospital Corporation # 1        USB-6886              08/24/20        202282            SYSCO FOOD SERVICES                                4,423.24
St. Alexius Hospital Corporation # 1        USB-6886              08/28/20        202215            ORTHO -CLINICAL                                   10,279.87
St. Alexius Hospital Corporation # 1        USB-6886              08/28/20        202216            ALBAN SCIENTIFIC                                     451.11
St. Alexius Hospital Corporation # 1        USB-6886              08/28/20        202217            ALLIED BENEFITS SYSTEMS                          116,875.14
St. Alexius Hospital Corporation # 1        USB-6886              08/28/20        202227            ARFC                                              18,080.63
St. Alexius Hospital Corporation # 1        USB-6886              08/28/20        202229            AYA HEALTHCARE                                    18,480.00
St. Alexius Hospital Corporation # 1        USB-6886              08/28/20        202232            FAULTLESS Linen                                    2,454.12
St. Alexius Hospital Corporation # 1        USB-6886              08/28/20        202234            FISHER Scientific                                  2,767.46
St. Alexius Hospital Corporation # 1        USB-6886              08/28/20        202236            J2 MEDICAL SUPPLY                                 18,854.00
St. Alexius Hospital Corporation # 1        USB-6886              08/28/20        202241            ROYAL PAPERS                                       1,787.28
St. Alexius Hospital Corporation # 1        USB-6886              08/28/20        202242            STAPLES                                              387.79
St. Alexius Hospital Corporation # 1        USB-6886              08/28/20        202245            WESTERN HEALTHCARE                                39,000.00
St. Alexius Hospital Corporation # 1        USB-6886              08/28/20        202285            SYSCO FOOD SERVICES                                2,937.64
St. Alexius Hospital Corporation # 1        USB-6886              08/28/20                          SPECIALISTS IN ANESTHESIA                         46,426.75
St. Alexius Hospital Corporation # 1        USB-6886              08/28/20                          SPECIALISTS IN ANESTHESIA                         46,426.75
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202218            AMEREN - 2020                                        409.78
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202219            AMEREN - 2020                                         61.65
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202220            AMEREN - 2020                                         24.14
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202221            AMEREN - 2020                                        197.17
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202222            AMEREN - 2020                                        272.17
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202223            AMEREN - 2020                                        557.39
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202224            AMEREN - 2020                                        223.31
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202225            AMEREN - 2020                                        409.06
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202226            AMEREN - 2020                                     51,954.61
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202228            ARTHUR J. GALLAGHER RISK MANAGEMENT                  368.00
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202231            ELECTROMEK                                           845.00
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202233            FIRE DOOR SOLUTIONS                                1,920.00
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202237            JOHN BEAL INC.                                     4,450.00
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202238            JOHNSON & JOHNSON HEALTH - 2020                    3,141.29
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202239            MCKESSON MEDICAL - 2020                           13,435.88
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202240            REPUBLIC SERVICES - 2020                             708.96
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202243            SYSCO FOOD SERVICES                                   94.22
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202244            WASTE MANAGEMENT - 2020                              111.98
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202246            AADCO MEDICAL - 2020                               6,400.00
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202247            ACC BUSINESS - 2020                                1,979.00
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202248            AMERICAN BOILER & MECH - 2020                      9,071.65
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202249            ARAMARK - 2020                                       600.99
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202250            AT&T 865-7000 - 2020                              33,662.17
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202251            BERRY, MICHAEL - 2020                                 51.62
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202252            BOSTON SCIENTIFIC/MICRO - 2020                       219.13
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202253            CHEMTRON CORPORATION - 2020                        2,047.00
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202254            COCHRAN, RODNEY - 2020                                85.00
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202255            COVIDIEN - 2020                                    5,962.02
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202256            DALE, TAURENCE - 2020                                 85.00
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202257            DATASITE - 2020                                    3,143.93
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202258            DORNOCH MEDICAL - 2020                             3,000.00
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202259            FAULTLESS RETAIL MEDICAL - 2020                    1,036.04
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202260            GFI DIGITAL - 2020                                   933.59
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202261            GIBBS TECHNOLOGY - 2020                            6,051.20
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202262            MERIT MEDICAL SYS - 2020                             250.29
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202263            MIDWEST IMAGING - 2020                               675.00
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202264            MIDWEST SCIENTIFIC - 2020                          2,392.24
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202265            MSD - 2020                                         2,197.99
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202266            PHILIPS - 2020                                       975.00
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202267            RHYMES HEATING - 2020                              9,999.00
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202268            RYAN, DONALD - 2020                                  635.70
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202269            SHIRLEY, LURLEAN - 2020                               85.00
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202270            SIDDIQUI, MUJEEB - 2020                              175.00
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202271            SOURCEHOV - 2020                                     113.95
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202272            STLCOM.COM - 2020                                    782.95
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202273            STRYKER CORP - SURGICAL - 2020                     1,122.40
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202274            STRYKER ENDOSCOPY - 2020                           2,242.61
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202275            STRYKER ORTHOPAEDICS - 2020                           23.07
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CASE NAME:                                  Americore Holdings, LLC, et al.                                                                  Disbursements

CASE NUMBER:                                19-61608-grs (Jointly Administered)

                                                                          CASH DISBURSEMENTS DETAIL

                     Entity                      Bank ID                Date         Check Number                         Payee                        Amount
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202276            TERUMO MEDICAL - 2020                                 5,304.13
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202277            TM SAFETY SUPPLIES - 2020                            27,580.95
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202278            WILKES, DELILAH - 2020                                2,850.00
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202279            STRYKER ENDOSCOPY - 2020                              5,552.03
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202280            CITY OF ST LOUIS WATER DIVISION - 2020                  268.10
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202281            SYSCO FOOD SERVICES                                     566.95
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202284            BARD PERIPHERAL - 2020                                   14.16
St. Alexius Hospital Corporation # 1        USB-6886              08/31/20        202230            JOHNSON & JOHNSON HEALTH - 2020                        1,838.93
                                                                                                                                                       2,614,484.67

St. Alexius Hospital Corporation # 1        USB-6878              08/03/20        24068             Payroll Check                                            138.46
St. Alexius Hospital Corporation # 1        USB-6878              08/04/20        Debit             MO Rev Tax                                            45,149.57
St. Alexius Hospital Corporation # 1        USB-6878              08/04/20        Debit             JHTC                                                  26,539.39
St. Alexius Hospital Corporation # 1        USB-6878              08/04/20        Debit             MO DIR EMP SERV                                        1,254.57
St. Alexius Hospital Corporation # 1        USB-6878              08/05/20        Debit             USA Tax Payment                                        1,262.73
St. Alexius Hospital Corporation # 1        USB-6878              08/06/20        Debit             USA Tax Payment                                      151,106.23
St. Alexius Hospital Corporation # 1        USB-6878              08/07/20        24064             Payroll Check                                            540.46
St. Alexius Hospital Corporation # 1        USB-6878              08/07/20        24065             Payroll Check                                             95.08
St. Alexius Hospital Corporation # 1        USB-6878              08/07/20        24066             Payroll Check                                            144.46
St. Alexius Hospital Corporation # 1        USB-6878              08/07/20        24067             Payroll Check                                            178.62
St. Alexius Hospital Corporation # 1        USB-6878              08/07/20        24070             Payroll Check                                            496.15
St. Alexius Hospital Corporation # 1        USB-6878              08/07/20        100539            Aetna Health                                          10,500.19
St. Alexius Hospital Corporation # 1        USB-6878              08/07/20        100540            Wage Works                                               988.15
St. Alexius Hospital Corporation # 1        USB-6878              08/10/20        100543            VSP                                                    2,603.47
St. Alexius Hospital Corporation # 1        USB-6878              08/10/20        24061             Payroll Check                                            127.42
St. Alexius Hospital Corporation # 1        USB-6878              08/10/20        24063             Payroll Check                                            110.00
St. Alexius Hospital Corporation # 1        USB-6878              08/10/20        24071             Payroll Check                                             85.09
St. Alexius Hospital Corporation # 1        USB-6878              08/10/20        Debit             MO Rev Tax                                            22,387.50
St. Alexius Hospital Corporation # 1        USB-6878              08/10/20        100541            CARING & SHARING                                         167.50
St. Alexius Hospital Corporation # 1        USB-6878              08/10/20        100542            UNITED WAY OF GREATER ST. LOUIS                           66.50
St. Alexius Hospital Corporation # 1        USB-6878              08/11/20        100544            Payroll Check                                            130.64
St. Alexius Hospital Corporation # 1        USB-6878              08/11/20        100547            Payroll Check                                            739.00
St. Alexius Hospital Corporation # 1        USB-6878              08/11/20        100548            Payroll Check                                            364.88
St. Alexius Hospital Corporation # 1        USB-6878              08/11/20        100545            Payroll Check                                          1,005.31
St. Alexius Hospital Corporation # 1        USB-6878              08/11/20        100546            Payroll Check                                            176.45
St. Alexius Hospital Corporation # 1        USB-6878              08/12/20        Debit             Paylocity - Direct Deposit                           391,568.85
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        100550            Payroll Check                                            387.11
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        100551            Payroll Check                                            173.56
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24077             Payroll Check                                            721.88
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24087             Payroll Check                                          3,378.19
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24088             Payroll Check                                            178.07
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24090             Payroll Check                                          1,528.73
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24092             Payroll Check                                          2,085.68
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24100             Payroll Check                                             37.81
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24101             Payroll Check                                            533.44
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24107             Payroll Check                                          1,864.25
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24112             Payroll Check                                          2,052.82
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24116             Payroll Check                                            326.15
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24120             Payroll Check                                          1,524.83
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24130             Payroll Check                                            644.75
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24131             Payroll Check                                            190.75
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24133             Payroll Check                                             68.41
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24134             Payroll Check                                            109.03
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24137             Payroll Check                                          1,149.07
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24142             Payroll Check                                            441.90
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24147             Payroll Check                                            935.19
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24151             Payroll Check                                          1,154.00
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        100549            Payroll Check                                            284.14
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24072             Payroll Check                                            546.91
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24073             Payroll Check                                          1,891.20
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24074             Payroll Check                                             95.21
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24075             Payroll Check                                            634.91
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24076             Payroll Check                                            130.06
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24078             Payroll Check                                            665.46
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24079             Payroll Check                                            829.48
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24080             Payroll Check                                            960.89
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24081             Payroll Check                                            134.73
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24082             Payroll Check                                          2,520.73
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24083             Payroll Check                                          1,958.06
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24084             Payroll Check                                            477.95
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24085             Payroll Check                                            264.72
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24086             Payroll Check                                            642.32
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24089             Payroll Check                                            725.69
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24091             Payroll Check                                            149.13
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24093             Payroll Check                                            843.89
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24094             Payroll Check                                            900.10
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24095             Payroll Check                                             51.48
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24096             Payroll Check                                          2,979.98
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24097             Payroll Check                                            887.10
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24098             Payroll Check                                          2,327.73
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24099             Payroll Check                                            945.34
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24102             Payroll Check                                            751.15
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CASE NAME:                                  Americore Holdings, LLC, et al.                                                              Disbursements

CASE NUMBER:                                19-61608-grs (Jointly Administered)

                                                                          CASH DISBURSEMENTS DETAIL

                     Entity                      Bank ID                Date         Check Number                                Payee             Amount
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24103             Payroll Check                                       777.67
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24104             Payroll Check                                       101.73
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24105             Payroll Check                                       163.04
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24106             Payroll Check                                     1,700.81
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24108             Payroll Check                                       583.55
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24109             Payroll Check                                     1,753.92
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24110             Payroll Check                                       102.52
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24111             Payroll Check                                       199.03
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24113             Payroll Check                                       133.78
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24114             Payroll Check                                       184.56
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24115             Payroll Check                                       536.64
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24117             Payroll Check                                       297.26
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24118             Payroll Check                                       351.70
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24119             Payroll Check                                       216.66
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24121             Payroll Check                                     1,341.80
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24122             Payroll Check                                     1,320.92
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24123             Payroll Check                                     1,389.64
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24124             Payroll Check                                        38.61
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24125             Payroll Check                                     1,868.46
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24126             Payroll Check                                       898.30
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24127             Payroll Check                                       219.25
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24128             Payroll Check                                       786.97
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24129             Payroll Check                                     1,010.54
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24132             Payroll Check                                       107.69
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24135             Payroll Check                                        31.34
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24136             Payroll Check                                     1,124.50
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24138             Payroll Check                                       616.92
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24139             Payroll Check                                       768.57
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24140             Payroll Check                                       421.58
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24141             Payroll Check                                       626.97
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24143             Payroll Check                                        67.82
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24144             Payroll Check                                     1,491.63
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24145             Payroll Check                                     1,242.43
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24146             Payroll Check                                       821.67
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24148             Payroll Check                                     2,050.92
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24149             Payroll Check                                        25.74
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24150             Payroll Check                                       637.54
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24152             Payroll Check                                     1,960.60
St. Alexius Hospital Corporation # 1        USB-6878              08/14/20        24069             Payroll Check                                        79.50
St. Alexius Hospital Corporation # 1        USB-6878              08/17/20        100553            Greg Daly, Treasurer                             19,152.47
St. Alexius Hospital Corporation # 1        USB-6878              08/17/20        100554            Greg Daly, Treasurer                             10,450.49
St. Alexius Hospital Corporation # 1        USB-6878              08/17/20        Debit             JHTC                                             26,918.74
St. Alexius Hospital Corporation # 1        USB-6878              08/17/20        100552            Wage Works                                        1,977.50
St. Alexius Hospital Corporation # 1        USB-6878              08/17/20        24157             Payroll Check                                       540.46
St. Alexius Hospital Corporation # 1        USB-6878              08/17/20        24163             Payroll Check                                       496.15
St. Alexius Hospital Corporation # 1        USB-6878              08/17/20        24160             Payroll Check                                       178.62
St. Alexius Hospital Corporation # 1        USB-6878              08/17/20        24159             Payroll Check                                       144.46
St. Alexius Hospital Corporation # 1        USB-6878              08/17/20        24161             Payroll Check                                       138.46
St. Alexius Hospital Corporation # 1        USB-6878              08/17/20        24158             Payroll Check                                        95.08
St. Alexius Hospital Corporation # 1        USB-6878              08/17/20        24062             Payroll Check                                        55.23
St. Alexius Hospital Corporation # 1        USB-6878              08/18/20        Debit             USA Tax Payment                                 150,367.41
St. Alexius Hospital Corporation # 1        USB-6878              08/18/20        24156             Payroll Check                                       110.00
St. Alexius Hospital Corporation # 1        USB-6878              08/19/20        24154             Payroll Check                                       131.62
St. Alexius Hospital Corporation # 1        USB-6878              08/19/20        Debit             MO Revenue Tax                                   21,131.50
St. Alexius Hospital Corporation # 1        USB-6878              08/20/20        24164             Payroll Check                                       108.30
St. Alexius Hospital Corporation # 1        USB-6878              08/20/20        24162             Payroll Check                                       101.91
St. Alexius Hospital Corporation # 1        USB-6878              08/20/20        24153             Payroll Check                                         7.54
St. Alexius Hospital Corporation # 1        USB-6878              08/21/20        100559            Unum / Provident                                 24,780.00
St. Alexius Hospital Corporation # 1        USB-6878              08/24/20        100522            Payroll Check                                       360.00
St. Alexius Hospital Corporation # 1        USB-6878              08/24/20        100560            United Way                                          105.00
St. Alexius Hospital Corporation # 1        USB-6878              08/25/20        24155             Payroll Check                                        87.37
St. Alexius Hospital Corporation # 1        USB-6878              08/25/20        100565            Payroll Check                                       382.04
St. Alexius Hospital Corporation # 1        USB-6878              08/25/20        100561            Payroll Check                                       319.08
St. Alexius Hospital Corporation # 1        USB-6878              08/27/20        Debit             Direct Deposit - Paylocity                      404,586.43
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24120             Payroll Check                                    (1,524.83)
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24165             Payroll Check                                       628.60
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24166             Payroll Check                                     1,917.42
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24167             Payroll Check                                     1,992.84
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24168             Payroll Check                                        51.48
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24169             Payroll Check                                        96.41
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24170             Payroll Check                                       994.44
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24171             Payroll Check                                        76.01
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24172             Payroll Check                                       805.04
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24173             Payroll Check                                        25.74
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24174             Payroll Check                                       846.84
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24175             Payroll Check                                       945.44
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24176             Payroll Check                                     1,961.60
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24177             Payroll Check                                     1,984.21
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24178             Payroll Check                                       760.00
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24179             Payroll Check                                       758.05
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24180             Payroll Check                                       738.49
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24181             Payroll Check                                     2,700.17
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24182             Payroll Check                                        75.69
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CASE NAME:                                  Americore Holdings, LLC, et al.                                                         Disbursements

CASE NUMBER:                                19-61608-grs (Jointly Administered)

                                                                          CASH DISBURSEMENTS DETAIL

                     Entity                      Bank ID                Date         Check Number                          Payee              Amount
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24183             Payroll Check                                   841.10
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24184             Payroll Check                                   597.00
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24185             Payroll Check                                   807.24
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24186             Payroll Check                                    25.74
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24187             Payroll Check                                 2,472.79
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24188             Payroll Check                                   919.57
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24189             Payroll Check                                 2,335.24
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24190             Payroll Check                                   773.50
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24191             Payroll Check                                   854.30
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24192             Payroll Check                                   553.56
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24193             Payroll Check                                 1,278.35
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24194             Payroll Check                                   114.01
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24195             Payroll Check                                 1,768.38
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24196             Payroll Check                                 1,845.68
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24197             Payroll Check                                   342.40
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24198             Payroll Check                                   121.74
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24199             Payroll Check                                 1,616.24
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24200             Payroll Check                                   214.38
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24201             Payroll Check                                    42.41
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24202             Payroll Check                                   314.61
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24203             Payroll Check                                   407.93
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24204             Payroll Check                                 1,524.77
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24205             Payroll Check                                 1,427.64
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24206             Payroll Check                                 1,316.18
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24207             Payroll Check                                   479.12
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24208             Payroll Check                                 1,284.37
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24209             Payroll Check                                    86.51
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24210             Payroll Check                                 2,702.55
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24211             Payroll Check                                   148.05
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24212             Payroll Check                                   900.53
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24213             Payroll Check                                   253.48
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24214             Payroll Check                                   677.67
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24215             Payroll Check                                   908.66
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24216             Payroll Check                                   822.45
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24217             Payroll Check                                   679.86
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24218             Payroll Check                                   399.71
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24219             Payroll Check                                    78.81
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24220             Payroll Check                                   237.77
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24221             Payroll Check                                 1,342.94
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24222             Payroll Check                                   226.22
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24223             Payroll Check                                 1,130.86
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24224             Payroll Check                                 1,028.36
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24225             Payroll Check                                   476.44
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24226             Payroll Check                                   725.60
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24227             Payroll Check                                   432.32
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24228             Payroll Check                                   580.43
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24229             Payroll Check                                   381.81
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24230             Payroll Check                                   144.96
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24231             Payroll Check                                   435.17
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24232             Payroll Check                                 1,242.42
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24233             Payroll Check                                   647.81
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24234             Payroll Check                                   164.93
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24235             Payroll Check                                 1,055.33
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24236             Payroll Check                                   936.87
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24237             Payroll Check                                    11.64
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24238             Payroll Check                                 2,040.94
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24239             Payroll Check                                 1,129.34
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        24240             Payroll Check                                 1,909.11
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        100556            Payroll Check                                 1,524.83
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        Debit             Paylocity                                     8,741.75
St. Alexius Hospital Corporation # 1        USB-6878              08/28/20        100558            United Way                                    1,122.50
St. Alexius Hospital Corporation # 1        USB-6878              08/31/20        100564            Payroll Check                                   748.00
St. Alexius Hospital Corporation # 1        USB-6878              08/31/20        24248             Payroll Check                                   138.46
St. Alexius Hospital Corporation # 1        USB-6878              08/31/20        Debit             JHTC                                         27,446.99
St. Alexius Hospital Corporation # 1        USB-6878              08/31/20        Debit             IRS                                         160,587.22
St. Alexius Hospital Corporation # 1        USB-6878              08/31/20        Debit             State of Missouri                            21,579.50
Total - USB-6878                                                                                                                              1,676,729.98

TOTAL DISBURSEMENTS:                                                                                                                      $   4,814,665.80
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CASE NAME:                               Americore Holdings, LLC, et al.                                                                Receipts

CASE NUMBER:                             19-61608-grs (Jointly Administered)

                                                               CASH RECEIPTS DETAIL

                 Entity                      Bank ID              Date                            Received From                   Amount
Ellwood Medical Center Operations, LLC   USB-4983           08/03/20           Day Knight                                     $     19,682.62
Ellwood Medical Center Operations, LLC   USB-4983           08/04/20           Pelorus Equity Group                                 25,000.00
Ellwood Medical Center Operations, LLC   USB-4983           08/05/20           Patient Payments                                        848.16
Ellwood Medical Center Operations, LLC   USB-4983           08/05/20           Credit Mgmt                                              32.18
Ellwood Medical Center Operations, LLC   USB-4983           08/05/20           MR Tran Fee                                              59.44
Ellwood Medical Center Operations, LLC   USB-4983           08/12/20           MR Tran Fee                                             111.45
Ellwood Medical Center Operations, LLC   USB-4983           08/12/20           Rebates or refunds                                      179.41
Ellwood Medical Center Operations, LLC   USB-4983           08/12/20           Patient Payments                                        497.14
Ellwood Medical Center Operations, LLC   USB-4983           08/17/20           MR Tran Fee                                              71.29
Ellwood Medical Center Operations, LLC   USB-4983           08/17/20           Patient Payments                                        478.81
Ellwood Medical Center Operations, LLC   USB-4983           08/17/20           Credit Mgmt                                              32.18
Ellwood Medical Center Operations, LLC   USB-4983           08/24/20           MR Tran Fee                                             116.96
Ellwood Medical Center Operations, LLC   USB-4983           08/24/20           Rent checks                                           1,961.00
Ellwood Medical Center Operations, LLC   USB-4983           08/24/20           Patient Payments                                        335.06
Ellwood Medical Center Operations, LLC   USB-4983           08/28/20           MR Tran Fee                                              97.45
Ellwood Medical Center Operations, LLC   USB-4983           08/28/20           Patient Payments                                        145.00
Ellwood Medical Center Operations, LLC   USB-4983           08/31/20           MR Tran Fee                                             205.56
Ellwood Medical Center Operations, LLC   USB-4983           08/31/20           Patient Payments                                        160.00
Total - USB-4983                                                                                                                    50,013.71

Ellwood Medical Center Operations, LLC   USB-5014           08/04/20           UPMC Health Plan                                         21.66
Ellwood Medical Center Operations, LLC   USB-5014           08/05/20           Highmark Inc.                                            53.31
Ellwood Medical Center Operations, LLC   USB-5014           08/12/20           Highmark Inc.                                         1,004.80
Total - USB-5014                                                                                                                     1,079.77

Izard County Medical Center, LLC         FNB-5801           08/03/20           NOVITAS SOLUTION                                        942.58
Izard County Medical Center, LLC         FNB-5801           08/04/20           B OF A-CBIC CLMS                                        441.84
Izard County Medical Center, LLC         FNB-5801           08/04/20           HUMANA AHP                                                8.02
Izard County Medical Center, LLC         FNB-5801           08/04/20           HUMANA AHP                                                7.19
Izard County Medical Center, LLC         FNB-5801           08/04/20           HUMANA INS CO                                            32.80
Izard County Medical Center, LLC         FNB-5801           08/04/20           NOVITAS SOLUTION                                     13,170.54
Izard County Medical Center, LLC         FNB-5801           08/04/20           NOVITAS SOLUTION                                        389.63
Izard County Medical Center, LLC         FNB-5801           08/05/20           NOVITAS SOLUTION                                     15,288.97
Izard County Medical Center, LLC         FNB-5801           08/05/20           NOVITAS SOLUTION                                      3,183.38
Izard County Medical Center, LLC         FNB-5801           08/06/20           NOVITAS                                                 295.14
Izard County Medical Center, LLC         FNB-5801           08/06/20           NOVITAS SOLUTION                                      1,522.54
Izard County Medical Center, LLC         FNB-5801           08/06/20           NOVITAS SOLUTION                                     19,312.88
Izard County Medical Center, LLC         FNB-5801           08/07/20           NOVITAS SOLUTION                                        846.04
Izard County Medical Center, LLC         FNB-5801           08/10/20           NOVITAS SOLUTION                                        966.82
Izard County Medical Center, LLC         FNB-5801           08/11/20           HUMANA AHP                                              130.17
Izard County Medical Center, LLC         FNB-5801           08/11/20           HUMANA INS CO                                             3.96
Izard County Medical Center, LLC         FNB-5801           08/11/20           NOVITAS SOLUTION                                      1,307.86
Izard County Medical Center, LLC         FNB-5801           08/12/20           NOVITAS SOLUTION                                      1,377.86
Izard County Medical Center, LLC         FNB-5801           08/13/20           Humana Ins Co                                             1.10
Izard County Medical Center, LLC         FNB-5801           08/14/20           HUMANA INS CO                                             8.99
Izard County Medical Center, LLC         FNB-5801           08/17/20           NOVITAS SOLUTION                                     59,842.78
Izard County Medical Center, LLC         FNB-5801           08/18/20           HUMANA AHP                                              272.15
Izard County Medical Center, LLC         FNB-5801           08/18/20           NOVITAS SOLUTION                                      7,676.87
Izard County Medical Center, LLC         FNB-5801           08/19/20           NOVITAS SOLUTION                                     66,420.00
Izard County Medical Center, LLC         FNB-5801           08/19/20           NOVITAS SOLUTION                                     18,390.20
Izard County Medical Center, LLC         FNB-5801           08/19/20           NOVITAS SOLUTION                                      1,604.38
Izard County Medical Center, LLC         FNB-5801           08/20/20           NOVITAS SOLUTION                                        307.88
Izard County Medical Center, LLC         FNB-5801           08/20/20           NOVITAS SOLUTION                                     41,935.80
Izard County Medical Center, LLC         FNB-5801           08/21/20           NOVITAS SOLUTION                                        307.88
Izard County Medical Center, LLC         FNB-5801           08/21/20           NOVITAS SOLUTION                                      5,810.20
Izard County Medical Center, LLC         FNB-5801           08/24/20           Humana Ins Co                                         1,911.55
Izard County Medical Center, LLC         FNB-5801           08/24/20           NOVITAS SOLUTION                                     16,576.11
Izard County Medical Center, LLC         FNB-5801           08/25/20           B OF A-CBIC CLMS                                         21.24
Izard County Medical Center, LLC         FNB-5801           08/25/20           B OF A-CBIC CLMS                                        317.95
Izard County Medical Center, LLC         FNB-5801           08/25/20           B OF A-CBIC CLMS                                        578.59
Izard County Medical Center, LLC         FNB-5801           08/25/20           HMP                                                      21.50
Izard County Medical Center, LLC         FNB-5801           08/25/20           HUMANA AHP                                               40.93
Izard County Medical Center, LLC         FNB-5801           08/25/20           HUMANA AHP                                              606.36
Izard County Medical Center, LLC         FNB-5801           08/25/20           HUMANA INS CO                                           225.70
Izard County Medical Center, LLC         FNB-5801           08/25/20           NOVITAS SOLUTION                                        182.88
Izard County Medical Center, LLC         FNB-5801           08/25/20           NOVITAS SOLUTION                                      3,691.33
Izard County Medical Center, LLC         FNB-5801           08/26/20           NOVITAS SOLUTION                                      3,857.91
Izard County Medical Center, LLC         FNB-5801           08/27/20           NOVITAS SOLUTION                                        260.36
Izard County Medical Center, LLC         FNB-5801           08/27/20           NOVITAS SOLUTION                                      1,350.35
Izard County Medical Center, LLC         FNB-5801           08/28/20           NOVITAS SOLUTION                                        107.90
Izard County Medical Center, LLC         FNB-5801           08/31/20           Humana Ins Co                                           116.62
Total - FNB-5801                                                                                                                   291,673.73

Izard County Medical Center, LLC         FNB-5802           08/03/20           BANKCARD DEP                                             11.00
Izard County Medical Center, LLC         FNB-5802           08/03/20           Deposit                                               4,252.08
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CASE NAME:                          Americore Holdings, LLC, et al.                                                          Receipts

CASE NUMBER:                        19-61608-grs (Jointly Administered)

                                                          CASH RECEIPTS DETAIL

                 Entity                 Bank ID              Date                          Received From               Amount
Izard County Medical Center, LLC    FNB-5802           08/03/20           DXC TECHNOLOGY                                    343.70
Izard County Medical Center, LLC    FNB-5802           08/03/20           Harmony Health P                                  876.19
Izard County Medical Center, LLC    FNB-5802           08/03/20           HLTH ADV AR                                       187.22
Izard County Medical Center, LLC    FNB-5802           08/03/20           HLTH ADV AR                                       963.14
Izard County Medical Center, LLC    FNB-5802           08/03/20           MERCHANT SERVICE                                  434.17
Izard County Medical Center, LLC    FNB-5802           08/04/20           ABCBS AMISYS                                      230.97
Izard County Medical Center, LLC    FNB-5802           08/04/20           ABCBS AMISYS                                    1,118.32
Izard County Medical Center, LLC    FNB-5802           08/04/20           ABCBS MEDADV                                    1,854.29
Izard County Medical Center, LLC    FNB-5802           08/04/20           ABCBS MEDIPAK MK                                  386.04
Izard County Medical Center, LLC    FNB-5802           08/04/20           ABCBS MEDIPAK MK                                2,948.74
Izard County Medical Center, LLC    FNB-5802           08/04/20           ABCBS REG                                         281.86
Izard County Medical Center, LLC    FNB-5802           08/04/20           ABCBS REG                                       2,318.12
Izard County Medical Center, LLC    FNB-5802           08/04/20           BANKCARD DEP                                       13.00
Izard County Medical Center, LLC    FNB-5802           08/04/20           BANKCARD DEP                                       14.50
Izard County Medical Center, LLC    FNB-5802           08/04/20           BANKCARD DEP                                       30.00
Izard County Medical Center, LLC    FNB-5802           08/04/20           BANKERS FIDELITY                                  168.36
Izard County Medical Center, LLC    FNB-5802           08/04/20           Deposit                                         3,149.74
Izard County Medical Center, LLC    FNB-5802           08/04/20           MERCHANT SERVICE                                  100.00
Izard County Medical Center, LLC    FNB-5802           08/04/20           UnitedHealthcare                                1,406.47
Izard County Medical Center, LLC    FNB-5802           08/05/20           ABCBS BLUE CARD                                   171.62
Izard County Medical Center, LLC    FNB-5802           08/05/20           ABCBS BLUE CARD                                   301.48
Izard County Medical Center, LLC    FNB-5802           08/05/20           ABCBS BLUE CARD                                    55.36
Izard County Medical Center, LLC    FNB-5802           08/05/20           BANKCARD DEP                                       27.75
Izard County Medical Center, LLC    FNB-5802           08/05/20           Marketplace                                        64.32
Izard County Medical Center, LLC    FNB-5802           08/05/20           Marketplace                                     1,301.77
Izard County Medical Center, LLC    FNB-5802           08/05/20           MERCHANT SERVICE                                  432.30
Izard County Medical Center, LLC    FNB-5802           08/05/20           PAY PLUS                                          497.27
Izard County Medical Center, LLC    FNB-5802           08/05/20           UnitedHealthcare                                  186.74
Izard County Medical Center, LLC    FNB-5802           08/06/20           BANKCARD DEP                                       19.00
Izard County Medical Center, LLC    FNB-5802           08/06/20           BLUE ADVANTAGE                                     20.08
Izard County Medical Center, LLC    FNB-5802           08/06/20           BLUE ADVANTAGE                                     44.06
Izard County Medical Center, LLC    FNB-5802           08/06/20           Harmony Health P                                  109.65
Izard County Medical Center, LLC    FNB-5802           08/06/20           MCRAR CLAIMS                                      164.32
Izard County Medical Center, LLC    FNB-5802           08/06/20           UnitedHealthcare                                  202.54
Izard County Medical Center, LLC    FNB-5802           08/06/20           UnitedHealthcare                                5,467.13
Izard County Medical Center, LLC    FNB-5802           08/07/20           36 TREAS 310                                      205.81
Izard County Medical Center, LLC    FNB-5802           08/07/20           36 TREAS 310                                    1,712.33
Izard County Medical Center, LLC    FNB-5802           08/07/20           ABCBS FEP                                         145.72
Izard County Medical Center, LLC    FNB-5802           08/07/20           ABCBS MEDIPAK MK                                  383.14
Izard County Medical Center, LLC    FNB-5802           08/07/20           ABCBS MEDIPAK MK                                2,050.24
Izard County Medical Center, LLC    FNB-5802           08/07/20           BANKCARD DEP                                       19.00
Izard County Medical Center, LLC    FNB-5802           08/07/20           DXC TECHNOLOGY                                  1,057.47
Izard County Medical Center, LLC    FNB-5802           08/07/20           DXC TECHNOLOGY                                 29,726.63
Izard County Medical Center, LLC    FNB-5802           08/07/20           MERCHANT SERVICE                                   10.00
Izard County Medical Center, LLC    FNB-5802           08/07/20           UnitedHealthcare                                   40.94
Izard County Medical Center, LLC    FNB-5802           08/10/20           36 TREAS 310                                       59.83
Izard County Medical Center, LLC    FNB-5802           08/10/20           ABCBS AMISYS                                      341.59
Izard County Medical Center, LLC    FNB-5802           08/10/20           ABCBS AMISYS                                      817.08
Izard County Medical Center, LLC    FNB-5802           08/10/20           BANKCARD DEP                                       24.00
Izard County Medical Center, LLC    FNB-5802           08/10/20           Deposit                                         8,996.36
Izard County Medical Center, LLC    FNB-5802           08/10/20           DXC TECHNOLOGY                                    190.90
Izard County Medical Center, LLC    FNB-5802           08/10/20           Harmony Health P                                   29.35
Izard County Medical Center, LLC    FNB-5802           08/10/20           Harmony Health P                                   86.31
Izard County Medical Center, LLC    FNB-5802           08/10/20           Harmony Health P                                  182.74
Izard County Medical Center, LLC    FNB-5802           08/10/20           HLTH ADV AR                                        83.98
Izard County Medical Center, LLC    FNB-5802           08/10/20           HLTH ADV AR                                     1,570.86
Izard County Medical Center, LLC    FNB-5802           08/10/20           Marketplace                                        46.59
Izard County Medical Center, LLC    FNB-5802           08/10/20           Marketplace                                     4,044.59
Izard County Medical Center, LLC    FNB-5802           08/10/20           MERCHANT SERVICE                                  124.60
Izard County Medical Center, LLC    FNB-5802           08/11/20           36 TREAS 310                                       29.39
Izard County Medical Center, LLC    FNB-5802           08/11/20           AARP Supplementa                                  252.08
Izard County Medical Center, LLC    FNB-5802           08/11/20           ABCBS MEDADV                                       61.49
Izard County Medical Center, LLC    FNB-5802           08/11/20           ABCBS REG                                          71.19
Izard County Medical Center, LLC    FNB-5802           08/11/20           ARKANSAS TOTAL C                                   27.50
Izard County Medical Center, LLC    FNB-5802           08/11/20           ARKANSAS TOTAL C                                   63.56
Izard County Medical Center, LLC    FNB-5802           08/11/20           BANKCARD DEP                                        2.00
Izard County Medical Center, LLC    FNB-5802           08/11/20           BANKCARD DEP                                        2.25
Izard County Medical Center, LLC    FNB-5802           08/11/20           BANKCARD DEP                                       23.00
Izard County Medical Center, LLC    FNB-5802           08/12/20           ABCBS BLUE CARD                                    70.31
Izard County Medical Center, LLC    FNB-5802           08/12/20           ABCBS Medipak                                     553.58
Izard County Medical Center, LLC    FNB-5802           08/12/20           BANKCARD DEP                                        9.25
Izard County Medical Center, LLC    FNB-5802           08/12/20           DXC TECHNOLOGY                                 50,000.00
Izard County Medical Center, LLC    FNB-5802           08/12/20           Harmony Health P                                2,402.97
Izard County Medical Center, LLC    FNB-5802           08/12/20           Marketplace                                       219.93
Izard County Medical Center, LLC    FNB-5802           08/12/20           MERCHANT SERVICE                                  971.55
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CASE NAME:                          Americore Holdings, LLC, et al.                                                          Receipts

CASE NUMBER:                        19-61608-grs (Jointly Administered)

                                                          CASH RECEIPTS DETAIL

                 Entity                 Bank ID              Date                          Received From               Amount
Izard County Medical Center, LLC    FNB-5802           08/12/20           PAY PLUS                                          302.62
Izard County Medical Center, LLC    FNB-5802           08/13/20           BANKCARD DEP                                       11.00
Izard County Medical Center, LLC    FNB-5802           08/13/20           Deposit                                           119.31
Izard County Medical Center, LLC    FNB-5802           08/13/20           Harmony Health P                                   58.70
Izard County Medical Center, LLC    FNB-5802           08/13/20           MCRAR CLAIMS                                      394.09
Izard County Medical Center, LLC    FNB-5802           08/13/20           MERCHANT SERVICE                                  364.66
Izard County Medical Center, LLC    FNB-5802           08/13/20           UnitedHealthcare                                   69.45
Izard County Medical Center, LLC    FNB-5802           08/14/20           ABCBS FEP                                          39.54
Izard County Medical Center, LLC    FNB-5802           08/14/20           ABCBS FEP                                         104.48
Izard County Medical Center, LLC    FNB-5802           08/14/20           ABCBS MEDIPAK MK                                  683.12
Izard County Medical Center, LLC    FNB-5802           08/14/20           ABCBS MEDIPAK MK                                1,813.76
Izard County Medical Center, LLC    FNB-5802           08/14/20           BANKCARD DEP                                       15.50
Izard County Medical Center, LLC    FNB-5802           08/14/20           Deposit                                            95.88
Izard County Medical Center, LLC    FNB-5802           08/14/20           DXC TECHNOLOGY                                    892.00
Izard County Medical Center, LLC    FNB-5802           08/14/20           DXC TECHNOLOGY                                  7,053.29
Izard County Medical Center, LLC    FNB-5802           08/14/20           Harmony Health P                                  167.38
Izard County Medical Center, LLC    FNB-5802           08/14/20           Marketplace                                       465.10
Izard County Medical Center, LLC    FNB-5802           08/14/20           MERCHANT SERVICE                                   25.00
Izard County Medical Center, LLC    FNB-5802           08/14/20           UnitedHealthcare                                  173.34
Izard County Medical Center, LLC    FNB-5802           08/17/20           ABCBS AMISYS                                      137.46
Izard County Medical Center, LLC    FNB-5802           08/17/20           ABCBS AMISYS                                      135.84
Izard County Medical Center, LLC    FNB-5802           08/17/20           BANKCARD DEP                                       42.00
Izard County Medical Center, LLC    FNB-5802           08/17/20           Deposit                                           756.24
Izard County Medical Center, LLC    FNB-5802           08/17/20           Deposit                                         1,044.71
Izard County Medical Center, LLC    FNB-5802           08/17/20           DXC TECHNOLOGY                                    344.10
Izard County Medical Center, LLC    FNB-5802           08/17/20           Harmony Health P                                1,501.49
Izard County Medical Center, LLC    FNB-5802           08/17/20           HLTH ADV AR                                        98.90
Izard County Medical Center, LLC    FNB-5802           08/17/20           HLTH ADV AR                                     2,788.33
Izard County Medical Center, LLC    FNB-5802           08/17/20           Marketplace                                     1,673.56
Izard County Medical Center, LLC    FNB-5802           08/17/20           MERCHANT SERVICE                                  383.17
Izard County Medical Center, LLC    FNB-5802           08/17/20           MERIDIAN HEALTH                                    69.05
Izard County Medical Center, LLC    FNB-5802           08/18/20           ABCBS MEDADV                                    4,997.50
Izard County Medical Center, LLC    FNB-5802           08/18/20           ABCBS REG                                          42.81
Izard County Medical Center, LLC    FNB-5802           08/18/20           ABCBS REG                                          58.94
Izard County Medical Center, LLC    FNB-5802           08/18/20           BANKCARD DEP                                        3.50
Izard County Medical Center, LLC    FNB-5802           08/18/20           BANKCARD DEP                                        6.00
Izard County Medical Center, LLC    FNB-5802           08/18/20           BANKCARD DEP                                       12.50
Izard County Medical Center, LLC    FNB-5802           08/18/20           Deposit                                         4,604.93
Izard County Medical Center, LLC    FNB-5802           08/18/20           Harmony Health P                                1,842.72
Izard County Medical Center, LLC    FNB-5802           08/19/20           ABCBS BLUE CARD                                    26.31
Izard County Medical Center, LLC    FNB-5802           08/19/20           ABCBS BLUE CARD                                    82.78
Izard County Medical Center, LLC    FNB-5802           08/19/20           BANKCARD DEP                                       16.00
Izard County Medical Center, LLC    FNB-5802           08/19/20           Marketplace                                       115.52
Izard County Medical Center, LLC    FNB-5802           08/19/20           MERCHANT SERVICE                                  395.87
Izard County Medical Center, LLC    FNB-5802           08/19/20           PAY PLUS                                           19.40
Izard County Medical Center, LLC    FNB-5802           08/19/20           UnitedHealthcare                                4,783.21
Izard County Medical Center, LLC    FNB-5802           08/20/20           BANKCARD DEP                                       36.50
Izard County Medical Center, LLC    FNB-5802           08/20/20           Deposit                                           534.33
Izard County Medical Center, LLC    FNB-5802           08/20/20           MERCHANT SERVICE                                  340.00
Izard County Medical Center, LLC    FNB-5802           08/21/20           ABCBS MEDIPAK MK                                2,322.06
Izard County Medical Center, LLC    FNB-5802           08/21/20           BANKCARD DEP                                       11.00
Izard County Medical Center, LLC    FNB-5802           08/21/20           DXC TECHNOLOGY                                    208.95
Izard County Medical Center, LLC    FNB-5802           08/21/20           DXC TECHNOLOGY                                    470.31
Izard County Medical Center, LLC    FNB-5802           08/24/20           ABCBS AMISYS                                      366.80
Izard County Medical Center, LLC    FNB-5802           08/24/20           ABCBS AMISYS                                    1,501.42
Izard County Medical Center, LLC    FNB-5802           08/24/20           BANKCARD DEP                                       14.50
Izard County Medical Center, LLC    FNB-5802           08/24/20           Deposit                                         7,692.58
Izard County Medical Center, LLC    FNB-5802           08/24/20           MERCHANT SERVICE                                  297.20
Izard County Medical Center, LLC    FNB-5802           08/25/20           BANKCARD DEP                                       20.25
Izard County Medical Center, LLC    FNB-5802           08/25/20           BANKCARD DEP                                       29.00
Izard County Medical Center, LLC    FNB-5802           08/25/20           Harmony Health P                                1,121.66
Izard County Medical Center, LLC    FNB-5802           08/25/20           HLTH ADV AR                                       149.45
Izard County Medical Center, LLC    FNB-5802           08/26/20           AARP Supplementa                                4,752.00
Izard County Medical Center, LLC    FNB-5802           08/26/20           ABCBS BLUE CARD                                    84.62
Izard County Medical Center, LLC    FNB-5802           08/26/20           ABCBS BLUE CARD                                 3,084.50
Izard County Medical Center, LLC    FNB-5802           08/26/20           ABCBS BLUE CARD                                   274.96
Izard County Medical Center, LLC    FNB-5802           08/26/20           ABCBS FEP                                         757.16
Izard County Medical Center, LLC    FNB-5802           08/26/20           ABCBS FEP                                       1,217.35
Izard County Medical Center, LLC    FNB-5802           08/26/20           BANKCARD DEP                                        9.00
Izard County Medical Center, LLC    FNB-5802           08/26/20           Deposit                                         7,613.43
Izard County Medical Center, LLC    FNB-5802           08/26/20           Marketplace                                       197.71
Izard County Medical Center, LLC    FNB-5802           08/26/20           MERCHANT SERVICE                                  794.79
Izard County Medical Center, LLC    FNB-5802           08/26/20           PAY PLUS                                        4,221.98
Izard County Medical Center, LLC    FNB-5802           08/26/20           UnitedHealthcare                                   13.16
Izard County Medical Center, LLC    FNB-5802           08/27/20           36 TREAS 310                                       31.13
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CASE NUMBER:                           19-61608-grs (Jointly Administered)

                                                             CASH RECEIPTS DETAIL

                 Entity                    Bank ID              Date                          Received From               Amount
Izard County Medical Center, LLC       FNB-5802           08/27/20           36 TREAS 310                                       75.20
Izard County Medical Center, LLC       FNB-5802           08/27/20           BANKCARD DEP                                       44.50
Izard County Medical Center, LLC       FNB-5802           08/27/20           MCRAR CLAIMS                                   16,686.53
Izard County Medical Center, LLC       FNB-5802           08/27/20           MERCHANT SERVICE                                  548.10
Izard County Medical Center, LLC       FNB-5802           08/27/20           MERIDIAN HEALTH                                    69.09
Izard County Medical Center, LLC       FNB-5802           08/28/20           ABCBS MEDIPAK MK                                  156.60
Izard County Medical Center, LLC       FNB-5802           08/28/20           ABCBS MEDIPAK MK                                2,558.24
Izard County Medical Center, LLC       FNB-5802           08/28/20           BANKCARD DEP                                       37.75
Izard County Medical Center, LLC       FNB-5802           08/28/20           Deposit                                           111.02
Izard County Medical Center, LLC       FNB-5802           08/28/20           Deposit                                           771.37
Izard County Medical Center, LLC       FNB-5802           08/28/20           DXC TECHNOLOGY                                    646.12
Izard County Medical Center, LLC       FNB-5802           08/28/20           DXC TECHNOLOGY                                  3,531.08
Izard County Medical Center, LLC       FNB-5802           08/28/20           Marketplace                                        77.26
Izard County Medical Center, LLC       FNB-5802           08/28/20           Marketplace                                     7,205.59
Izard County Medical Center, LLC       FNB-5802           08/28/20           MERCHANT SERVICE                                  310.00
Izard County Medical Center, LLC       FNB-5802           08/31/20           BANKCARD DEP                                       14.50
Izard County Medical Center, LLC       FNB-5802           08/31/20           DXC TECHNOLOGY                                    799.57
Izard County Medical Center, LLC       FNB-5802           08/31/20           Harmony Health P                                  153.25
Izard County Medical Center, LLC       FNB-5802           08/31/20           HLTH ADV AR                                       176.11
Izard County Medical Center, LLC       FNB-5802           08/31/20           HLTH ADV AR                                     3,786.44
Izard County Medical Center, LLC       FNB-5802           08/31/20           HNB - ECHO                                        231.93
Izard County Medical Center, LLC       FNB-5802           08/31/20           Marketplace                                       291.22
Izard County Medical Center, LLC       FNB-5802           08/31/20           Marketplace                                       401.72
Izard County Medical Center, LLC       FNB-5802           08/31/20           MERCHANT SERVICE                                   25.00
Izard County Medical Center, LLC       FNB-5802           08/31/20           MERCHANT SERVICE                                  927.19
Total - FNB-5802                                                                                                           253,497.65

St. Alexius Hospital Corporation # 1   BOA-5549           08/06/20           VAED Treas 310                                  1,314.00
St. Alexius Hospital Corporation # 1   BOA-5549           08/27/20           36 Treas 310                                    3,763.75
Total - BOA - 5549                                                                                                           5,077.75

St. Alexius Hospital Corporation # 1   BOA-7479           08/03/20           Bankcard MTOT Deposit                             917.50
St. Alexius Hospital Corporation # 1   BOA-7479           08/04/20           Bankcard MTOT Deposit                           1,007.73
St. Alexius Hospital Corporation # 1   BOA-7479           08/05/20           Bankcard MTOT Deposit                           3,000.00
St. Alexius Hospital Corporation # 1   BOA-7479           08/06/20           Bankcard MTOT Deposit                           7,784.46
St. Alexius Hospital Corporation # 1   BOA-7479           08/07/20           Bankcard MTOT Deposit                              65.93
St. Alexius Hospital Corporation # 1   BOA-7479           08/10/20           Bankcard MTOT Deposit                           4,527.56
St. Alexius Hospital Corporation # 1   BOA-7479           08/13/20           Bankcard MTOT Deposit                             195.70
St. Alexius Hospital Corporation # 1   BOA-7479           08/17/20           Bankcard MTOT Deposit                               6.00
St. Alexius Hospital Corporation # 1   BOA-7479           08/18/20           Bankcard MTOT Deposit                           1,067.79
St. Alexius Hospital Corporation # 1   BOA-7479           08/19/20           Bankcard MTOT Deposit                          10,238.08
St. Alexius Hospital Corporation # 1   BOA-7479           08/20/20           Bankcard MTOT Deposit                              85.37
St. Alexius Hospital Corporation # 1   BOA-7479           08/21/20           Bankcard MTOT Deposit                              22.16
St. Alexius Hospital Corporation # 1   BOA-7479           08/24/20           Bankcard MTOT Deposit                           1,361.55
St. Alexius Hospital Corporation # 1   BOA-7479           08/25/20           Bankcard MTOT Deposit                               3.92
St. Alexius Hospital Corporation # 1   BOA-7479           08/26/20           Bankcard MTOT Deposit                           2,044.30
St. Alexius Hospital Corporation # 1   BOA-7479           08/27/20           Bankcard MTOT Deposit                             800.00
St. Alexius Hospital Corporation # 1   BOA-7479           08/31/20           Bankcard MTOT Deposit                              48.52
Total - BOA-7479                                                                                                            33,176.57

St. Alexius Hospital Corporation # 1   BOA-7592           08/05/20           State of Missouri                                  83.34
St. Alexius Hospital Corporation # 1   BOA-7592           08/06/20           State of Missouri                                  83.16
St. Alexius Hospital Corporation # 1   BOA-7592           08/06/20           State of Missouri                                  63.04
St. Alexius Hospital Corporation # 1   BOA-7592           08/10/20           State of Missouri                                  83.34
St. Alexius Hospital Corporation # 1   BOA-7592           08/10/20           State of Missouri                                  83.34
St. Alexius Hospital Corporation # 1   BOA-7592           08/10/20           State of Missouri                                  35.20
St. Alexius Hospital Corporation # 1   BOA-7592           08/11/20           State of Missouri                                  93.60
St. Alexius Hospital Corporation # 1   BOA-7592           08/18/20           State of Missouri                                  26.50
St. Alexius Hospital Corporation # 1   BOA-7592           08/19/20           State of Missouri                                 115.06
St. Alexius Hospital Corporation # 1   BOA-7592           08/19/20           State of Missouri                                  47.96
St. Alexius Hospital Corporation # 1   BOA-7592           08/20/20           State of Missouri                                  53.76
St. Alexius Hospital Corporation # 1   BOA-7592           08/24/20           State of Missouri                                  64.78
St. Alexius Hospital Corporation # 1   BOA-7592           08/24/20           State of Missouri                                  41.58
St. Alexius Hospital Corporation # 1   BOA-7592           08/25/20           State of Missouri                                  82.00
St. Alexius Hospital Corporation # 1   BOA-7592           08/31/20           State of Missouri                                  83.34
Total - BOA-7592                                                                                                             1,040.00

St. Alexius Hospital Corporation # 1   CNB-6621           08/07/20           MO Social Services                              9,214.01
St. Alexius Hospital Corporation # 1   CNB-6621           08/19/20           MO Social Services                              6,860.76
Total - CNB-6621                                                                                                            16,074.77

St. Alexius Hospital Corporation # 1   CNB-6650           08/03/20           Cigna Edge                                        947.45
St. Alexius Hospital Corporation # 1   CNB-6650           08/05/20           Cigna Edge                                      1,746.10
St. Alexius Hospital Corporation # 1   CNB-6650           08/07/20           Cigna Edge                                        818.87
St. Alexius Hospital Corporation # 1   CNB-6650           08/10/20           Deposit                                           100.00
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CASE NAME:                             Americore Holdings, LLC, et al.                                                               Receipts

CASE NUMBER:                           19-61608-grs (Jointly Administered)

                                                             CASH RECEIPTS DETAIL

                   Entity                 Bank ID               Date                              Received From               Amount
St. Alexius Hospital Corporation # 1   CNB-6650           08/10/20           Cigna Edge                                          1,113.19
St. Alexius Hospital Corporation # 1   CNB-6650           08/11/20           Deposit                                               940.55
St. Alexius Hospital Corporation # 1   CNB-6650           08/14/20           United Healthcare                                   2,455.92
St. Alexius Hospital Corporation # 1   CNB-6650           08/17/20           Deposit                                               496.25
St. Alexius Hospital Corporation # 1   CNB-6650           08/19/20           Deposit                                            11,144.32
St. Alexius Hospital Corporation # 1   CNB-6650           08/24/20           Cigna Edge                                             87.23
St. Alexius Hospital Corporation # 1   CNB-6650           08/26/20           Deposit                                               702.44
St. Alexius Hospital Corporation # 1   CNB-6650           08/26/20           Cigna Edge                                          4,894.34
Total - CNB-6650                                                                                                                25,446.66

St. Alexius Hospital Corporation # 1   USB-0141           08/14/20           LSON Deposit                                           27.00
St. Alexius Hospital Corporation # 1   USB-0141           08/20/20           LSON Deposit                                          869.00
St. Alexius Hospital Corporation # 1   USB-0141           08/25/20           LSON Deposit                                          100.00
Total - USB-0141                                                                                                                   996.00

St. Alexius Hospital Corporation # 1   USB-0157           08/28/20           US Bank                                                 6.68
Total - USB-0157                                                                                                                     6.68

St. Alexius Hospital Corporation # 1   USB-0910           08/31/20           US Bank                                                 2.29
Total - USB-0910                                                                                                                     2.29

St. Alexius Hospital Corporation # 1   USB-6845           08/03/20           Wisconsin Physic                                    13,887.25
St. Alexius Hospital Corporation # 1   USB-6845           08/04/20           Wisconsin Physic                                    54,728.73
St. Alexius Hospital Corporation # 1   USB-6845           08/04/20           WPS                                                    140.77
St. Alexius Hospital Corporation # 1   USB-6845           08/05/20           Wisconsin Physic                                    38,332.86
St. Alexius Hospital Corporation # 1   USB-6845           08/06/20           Wisconsin Physic                                   140,198.43
St. Alexius Hospital Corporation # 1   USB-6845           08/06/20           Wisconsin Physic                                    40,108.10
St. Alexius Hospital Corporation # 1   USB-6845           08/07/20           MO Social Services                               1,018,036.70
St. Alexius Hospital Corporation # 1   USB-6845           08/07/20           Wisconsin Physic                                       775.90
St. Alexius Hospital Corporation # 1   USB-6845           08/07/20           WPS                                                    364.64
St. Alexius Hospital Corporation # 1   USB-6845           08/10/20           Wisconsin Physic                                     5,274.68
St. Alexius Hospital Corporation # 1   USB-6845           08/11/20           Wisconsin Physic                                    25,348.25
St. Alexius Hospital Corporation # 1   USB-6845           08/12/20           Wisconsin Physic                                    20,343.36
St. Alexius Hospital Corporation # 1   USB-6845           08/13/20           Wisconsin Physic                                     2,874.01
St. Alexius Hospital Corporation # 1   USB-6845           08/14/20           Wisconsin Physic                                        31.25
St. Alexius Hospital Corporation # 1   USB-6845           08/17/20           Wisconsin Physic                                    18,476.35
St. Alexius Hospital Corporation # 1   USB-6845           08/17/20           WPS                                                  4,282.71
St. Alexius Hospital Corporation # 1   USB-6845           08/17/20           Wisconsin Physic                                     2,773.99
St. Alexius Hospital Corporation # 1   USB-6845           08/18/20           Wisconsin Physic                                    27,122.13
St. Alexius Hospital Corporation # 1   USB-6845           08/18/20           Wisconsin Physic                                    16,709.03
St. Alexius Hospital Corporation # 1   USB-6845           08/18/20           WPS                                                     53.63
St. Alexius Hospital Corporation # 1   USB-6845           08/19/20           MO Social Services                                 751,955.28
St. Alexius Hospital Corporation # 1   USB-6845           08/19/20           Wisconsin Physic                                    48,914.78
St. Alexius Hospital Corporation # 1   USB-6845           08/20/20           Wisconsin Physic                                   119,027.90
St. Alexius Hospital Corporation # 1   USB-6845           08/20/20           Wisconsin Physic                                    28,880.00
St. Alexius Hospital Corporation # 1   USB-6845           08/21/20           Wisconsin Physic                                    13,685.02
St. Alexius Hospital Corporation # 1   USB-6845           08/21/20           WPS                                                     53.63
St. Alexius Hospital Corporation # 1   USB-6845           08/25/20           Wisconsin Physic                                    20,564.00
St. Alexius Hospital Corporation # 1   USB-6845           08/25/20           Wisconsin Physic                                    15,949.30
St. Alexius Hospital Corporation # 1   USB-6845           08/26/20           Wisconsin Physic                                    62,728.44
St. Alexius Hospital Corporation # 1   USB-6845           08/27/20           Wisconsin Physic                                        88.62
St. Alexius Hospital Corporation # 1   USB-6845           08/28/20           Wisconsin Physic                                    25,923.44
St. Alexius Hospital Corporation # 1   USB-6845           08/28/20           Wisconsin Physic                                    10,619.39
St. Alexius Hospital Corporation # 1   USB-6845           08/31/20           Wisconsin Physic                                    28,777.47
Total - USB-6845                                                                                                              2,557,030.04

St. Alexius Hospital Corporation # 1   USB-6852           08/03/20           UHC of the Midwest                                  3,166.28
St. Alexius Hospital Corporation # 1   USB-6852           08/03/20           United Healthcare                                     978.00
St. Alexius Hospital Corporation # 1   USB-6852           08/03/20           Wellcare Health                                       798.86
St. Alexius Hospital Corporation # 1   USB-6852           08/04/20           United Healthcare                                  11,250.00
St. Alexius Hospital Corporation # 1   USB-6852           08/04/20           UHC of the Midwest                                  3,663.20
St. Alexius Hospital Corporation # 1   USB-6852           08/04/20           Wellcare Health                                       945.14
St. Alexius Hospital Corporation # 1   USB-6852           08/04/20           Anthem Blue                                           574.00
St. Alexius Hospital Corporation # 1   USB-6852           08/04/20           Humana Govt Busi                                      336.17
St. Alexius Hospital Corporation # 1   USB-6852           08/04/20           Anthem Blue                                            64.84
St. Alexius Hospital Corporation # 1   USB-6852           08/05/20           Anthem Blue                                         1,408.00
St. Alexius Hospital Corporation # 1   USB-6852           08/05/20           Belleville C3533                                    1,043.93
St. Alexius Hospital Corporation # 1   USB-6852           08/05/20           UHC of the Midwest                                    641.43
St. Alexius Hospital Corporation # 1   USB-6852           08/05/20           UHC of the Midwest                                    628.56
St. Alexius Hospital Corporation # 1   USB-6852           08/05/20           United Healthcare                                     300.17
St. Alexius Hospital Corporation # 1   USB-6852           08/05/20           Cigna                                                 116.27
St. Alexius Hospital Corporation # 1   USB-6852           08/05/20           United Healthcare                                      29.91
St. Alexius Hospital Corporation # 1   USB-6852           08/05/20           Wisconsin Physic                                       24.22
St. Alexius Hospital Corporation # 1   USB-6852           08/06/20           United Healthcare                                   4,701.50
St. Alexius Hospital Corporation # 1   USB-6852           08/06/20           Wellcare Health                                       424.36
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CASE NUMBER:                           19-61608-grs (Jointly Administered)

                                                             CASH RECEIPTS DETAIL

                   Entity                  Bank ID              Date                              Received From               Amount
St. Alexius Hospital Corporation # 1   USB-6852           08/06/20           Anthem Blue                                           392.11
St. Alexius Hospital Corporation # 1   USB-6852           08/06/20           Wellcare Health                                       299.57
St. Alexius Hospital Corporation # 1   USB-6852           08/06/20           Anthem Blue                                           236.25
St. Alexius Hospital Corporation # 1   USB-6852           08/06/20           Aetna AR                                              124.00
St. Alexius Hospital Corporation # 1   USB-6852           08/06/20           Anthem Blue                                            48.37
St. Alexius Hospital Corporation # 1   USB-6852           08/06/20           Anthem Blue                                            35.19
St. Alexius Hospital Corporation # 1   USB-6852           08/06/20           Anthem Blue                                            18.90
St. Alexius Hospital Corporation # 1   USB-6852           08/07/20           MO Claims                                           1,166.86
St. Alexius Hospital Corporation # 1   USB-6852           08/07/20           UHC of the Midwest                                    991.10
St. Alexius Hospital Corporation # 1   USB-6852           08/07/20           UHC of the Midwest                                    487.97
St. Alexius Hospital Corporation # 1   USB-6852           08/07/20           Anthem Blue                                           374.08
St. Alexius Hospital Corporation # 1   USB-6852           08/07/20           PMAB Trust                                            157.25
St. Alexius Hospital Corporation # 1   USB-6852           08/07/20           UHC of the Midwest                                    150.29
St. Alexius Hospital Corporation # 1   USB-6852           08/07/20           Cigna                                                  88.00
St. Alexius Hospital Corporation # 1   USB-6852           08/07/20           Aetna AR                                               44.82
St. Alexius Hospital Corporation # 1   USB-6852           08/07/20           Wisconsin Physic                                       36.68
St. Alexius Hospital Corporation # 1   USB-6852           08/07/20           Check Deposit                                          20.00
St. Alexius Hospital Corporation # 1   USB-6852           08/07/20           PMAB Trust                                             11.90
St. Alexius Hospital Corporation # 1   USB-6852           08/10/20           Aetna AR                                            6,818.13
St. Alexius Hospital Corporation # 1   USB-6852           08/10/20           Wellcare Health                                       611.41
St. Alexius Hospital Corporation # 1   USB-6852           08/10/20           UMR                                                   430.00
St. Alexius Hospital Corporation # 1   USB-6852           08/10/20           Wellcare Health                                       357.05
St. Alexius Hospital Corporation # 1   USB-6852           08/10/20           UHC of the Midwest                                    301.96
St. Alexius Hospital Corporation # 1   USB-6852           08/10/20           CIGNA                                                 298.00
St. Alexius Hospital Corporation # 1   USB-6852           08/10/20           UHC of the Midwest                                    281.41
St. Alexius Hospital Corporation # 1   USB-6852           08/10/20           UHC of the Midwest                                    121.11
St. Alexius Hospital Corporation # 1   USB-6852           08/10/20           Anthem Blue                                            88.62
St. Alexius Hospital Corporation # 1   USB-6852           08/10/20           Anthem Blue                                            46.26
St. Alexius Hospital Corporation # 1   USB-6852           08/11/20           United Healthcare                                     559.80
St. Alexius Hospital Corporation # 1   USB-6852           08/11/20           UMR                                                   190.39
St. Alexius Hospital Corporation # 1   USB-6852           08/11/20           Anthem Blue                                           121.11
St. Alexius Hospital Corporation # 1   USB-6852           08/11/20           Aetna AR                                                5.53
St. Alexius Hospital Corporation # 1   USB-6852           08/12/20           UHC of the Midwest                                  1,775.33
St. Alexius Hospital Corporation # 1   USB-6852           08/12/20           United Healthcare                                   1,312.05
St. Alexius Hospital Corporation # 1   USB-6852           08/12/20           UHC of the Midwest                                    344.36
St. Alexius Hospital Corporation # 1   USB-6852           08/12/20           United Healthcare                                     275.75
St. Alexius Hospital Corporation # 1   USB-6852           08/12/20           UHC of the Midwest                                    185.88
St. Alexius Hospital Corporation # 1   USB-6852           08/12/20           UHC of the Midwest                                     44.05
St. Alexius Hospital Corporation # 1   USB-6852           08/13/20           Anthem Blue                                         3,395.66
St. Alexius Hospital Corporation # 1   USB-6852           08/13/20           United Healthcare                                   1,069.50
St. Alexius Hospital Corporation # 1   USB-6852           08/13/20           Aetna AR                                              673.00
St. Alexius Hospital Corporation # 1   USB-6852           08/13/20           Wellcare Health                                       242.84
St. Alexius Hospital Corporation # 1   USB-6852           08/13/20           United Healthcare                                     231.09
St. Alexius Hospital Corporation # 1   USB-6852           08/13/20           Check Deposit                                          95.53
St. Alexius Hospital Corporation # 1   USB-6852           08/13/20           Humana Govt Busi                                       83.09
St. Alexius Hospital Corporation # 1   USB-6852           08/13/20           Anthem Blue                                            65.93
St. Alexius Hospital Corporation # 1   USB-6852           08/13/20           Humana Govt Busi                                       56.04
St. Alexius Hospital Corporation # 1   USB-6852           08/13/20           Anthem Blue                                            55.83
St. Alexius Hospital Corporation # 1   USB-6852           08/13/20           Wisconsin Physic                                       34.83
St. Alexius Hospital Corporation # 1   USB-6852           08/14/20           MO Claims                                           1,067.38
St. Alexius Hospital Corporation # 1   USB-6852           08/14/20           UHC of the Midwest                                    758.00
St. Alexius Hospital Corporation # 1   USB-6852           08/14/20           Anthem Blue                                            88.62
St. Alexius Hospital Corporation # 1   USB-6852           08/17/20           MOMOD                                               3,590.04
St. Alexius Hospital Corporation # 1   USB-6852           08/17/20           UHC of the Midwest                                  1,377.12
St. Alexius Hospital Corporation # 1   USB-6852           08/17/20           UHC of the Midwest                                    553.72
St. Alexius Hospital Corporation # 1   USB-6852           08/17/20           CIGNA                                                 380.80
St. Alexius Hospital Corporation # 1   USB-6852           08/17/20           United Healthcare                                     175.96
St. Alexius Hospital Corporation # 1   USB-6852           08/17/20           UHC of the Midwest                                    121.11
St. Alexius Hospital Corporation # 1   USB-6852           08/17/20           United Healthcare                                      90.00
St. Alexius Hospital Corporation # 1   USB-6852           08/17/20           Anthem Blue                                            32.28
St. Alexius Hospital Corporation # 1   USB-6852           08/18/20           UHC of the Midwest                                  1,297.78
St. Alexius Hospital Corporation # 1   USB-6852           08/18/20           Wellcare Health                                       653.40
St. Alexius Hospital Corporation # 1   USB-6852           08/18/20           UHC of the Midwest                                    541.06
St. Alexius Hospital Corporation # 1   USB-6852           08/18/20           UMR                                                   456.45
St. Alexius Hospital Corporation # 1   USB-6852           08/18/20           United Healthcare                                     187.04
St. Alexius Hospital Corporation # 1   USB-6852           08/19/20           United Healthcare                                   2,596.31
St. Alexius Hospital Corporation # 1   USB-6852           08/19/20           United Healthcare                                     405.29
St. Alexius Hospital Corporation # 1   USB-6852           08/19/20           Check Deposit                                         379.20
St. Alexius Hospital Corporation # 1   USB-6852           08/19/20           Aetna AR                                              310.71
St. Alexius Hospital Corporation # 1   USB-6852           08/19/20           UHC of the Midwest                                    242.84
St. Alexius Hospital Corporation # 1   USB-6852           08/19/20           United Healthcare                                      65.93
St. Alexius Hospital Corporation # 1   USB-6852           08/19/20           Aetna AR                                                5.53
St. Alexius Hospital Corporation # 1   USB-6852           08/20/20           United Healthcare                                   5,896.22
St. Alexius Hospital Corporation # 1   USB-6852           08/20/20           UHC of the Midwest                                    855.65
St. Alexius Hospital Corporation # 1   USB-6852           08/20/20           Aetna AR                                              400.00
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CASE NAME:                             Americore Holdings, LLC, et al.                                                                  Receipts

CASE NUMBER:                           19-61608-grs (Jointly Administered)

                                                             CASH RECEIPTS DETAIL

                   Entity                  Bank ID              Date                             Received From                   Amount
St. Alexius Hospital Corporation # 1   USB-6852           08/20/20           UHC of the Midwest                                       353.06
St. Alexius Hospital Corporation # 1   USB-6852           08/20/20           Anthem Blue                                              216.17
St. Alexius Hospital Corporation # 1   USB-6852           08/20/20           United Healthcare                                        175.96
St. Alexius Hospital Corporation # 1   USB-6852           08/20/20           Molina Healthcare of Illinois                             81.79
St. Alexius Hospital Corporation # 1   USB-6852           08/21/20           MO Claims                                              1,164.42
St. Alexius Hospital Corporation # 1   USB-6852           08/21/20           Anthem Blue                                              334.79
St. Alexius Hospital Corporation # 1   USB-6852           08/21/20           Wellcare Health                                          331.19
St. Alexius Hospital Corporation # 1   USB-6852           08/21/20           Aetna AR                                                  44.83
St. Alexius Hospital Corporation # 1   USB-6852           08/24/20           Check Deposit                                          2,902.62
St. Alexius Hospital Corporation # 1   USB-6852           08/24/20           UHC of the Midwest                                     1,452.79
St. Alexius Hospital Corporation # 1   USB-6852           08/24/20           Molina Healthcare of Illinois                            588.79
St. Alexius Hospital Corporation # 1   USB-6852           08/24/20           Wellcare Health                                          478.03
St. Alexius Hospital Corporation # 1   USB-6852           08/24/20           UHC of the Midwest                                       331.47
St. Alexius Hospital Corporation # 1   USB-6852           08/25/20           Aetna AR                                               8,172.00
St. Alexius Hospital Corporation # 1   USB-6852           08/25/20           United Healthcare                                      4,983.31
St. Alexius Hospital Corporation # 1   USB-6852           08/25/20           Wellcare Health                                        1,187.27
St. Alexius Hospital Corporation # 1   USB-6852           08/25/20           UHC of the Midwest                                       698.23
St. Alexius Hospital Corporation # 1   USB-6852           08/25/20           Aetna AR                                                 580.00
St. Alexius Hospital Corporation # 1   USB-6852           08/25/20           Anthem Blue                                              308.34
St. Alexius Hospital Corporation # 1   USB-6852           08/25/20           Aetna AR                                                  66.35
St. Alexius Hospital Corporation # 1   USB-6852           08/25/20           Anthem Blue                                               13.19
St. Alexius Hospital Corporation # 1   USB-6852           08/26/20           United Healthcare                                      3,455.10
St. Alexius Hospital Corporation # 1   USB-6852           08/26/20           UHC of the Midwest                                       521.87
St. Alexius Hospital Corporation # 1   USB-6852           08/26/20           United Healthcare                                        390.33
St. Alexius Hospital Corporation # 1   USB-6852           08/26/20           UHC of the Midwest                                       312.00
St. Alexius Hospital Corporation # 1   USB-6852           08/26/20           United Healthcare                                        230.00
St. Alexius Hospital Corporation # 1   USB-6852           08/26/20           Humana Govt Busi                                          92.88
St. Alexius Hospital Corporation # 1   USB-6852           08/26/20           Aetna AR                                                  86.91
St. Alexius Hospital Corporation # 1   USB-6852           08/26/20           Anthem Blue                                               42.68
St. Alexius Hospital Corporation # 1   USB-6852           08/27/20           UHC of the Midwest                                       312.00
St. Alexius Hospital Corporation # 1   USB-6852           08/27/20           Aetna AR                                                 274.00
St. Alexius Hospital Corporation # 1   USB-6852           08/27/20           United Healthcare                                        226.91
St. Alexius Hospital Corporation # 1   USB-6852           08/27/20           Check Deposit                                            220.56
St. Alexius Hospital Corporation # 1   USB-6852           08/27/20           UHC of the Midwest                                        44.05
St. Alexius Hospital Corporation # 1   USB-6852           08/27/20           Anthem Blue                                               18.90
St. Alexius Hospital Corporation # 1   USB-6852           08/28/20           Check Deposit                                         11,226.47
St. Alexius Hospital Corporation # 1   USB-6852           08/28/20           MO Claims                                              2,208.27
St. Alexius Hospital Corporation # 1   USB-6852           08/28/20           Wellcare Health                                          294.87
St. Alexius Hospital Corporation # 1   USB-6852           08/28/20           UHC of the Midwest                                       290.16
St. Alexius Hospital Corporation # 1   USB-6852           08/28/20           UHC of the Midwest                                       216.00
St. Alexius Hospital Corporation # 1   USB-6852           08/28/20           United Healthcare                                        152.00
St. Alexius Hospital Corporation # 1   USB-6852           08/28/20           Molina Healthcare of Illinois                             77.36
St. Alexius Hospital Corporation # 1   USB-6852           08/31/20           United Healthcare                                     11,250.00
St. Alexius Hospital Corporation # 1   USB-6852           08/31/20           UHC of the Midwest                                       409.81
St. Alexius Hospital Corporation # 1   USB-6852           08/31/20           CIGNA                                                    198.00
St. Alexius Hospital Corporation # 1   USB-6852           08/31/20           Aetna AR                                                   5.53
Total - USB-6845                                                                                                                  135,499.42

St. Alexius Hospital Corporation # 1   USB-6886           08/14/20           Check Deposit                                         10,678.68
St. Alexius Hospital Corporation # 1   USB-6886           08/20/20           Check Deposit                                         17,452.53
St. Alexius Hospital Corporation # 1   USB-6886           08/20/20           Day Knight Associates                                  3,445.47
Total - USB-6886                                                                                                                   31,576.68

TOTAL RECEIPTS :                                                                                                             $   3,402,191.72
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CASE NAME: Americore Holdings, LLC, et al.                                                                                      Transfers

CASE NUMBER: 19-61608-grs (Jointly Administered)

                                                    CASH TRANSFERS DETAIL

                      Entity                          Bank ID          Date              Description           Amount
Ellwood Medical Center Operations, LLC           USB-4983        08/12/20      Trf from 4983 to 4991       $    (13,095.00)
Ellwood Medical Center Operations, LLC           USB-4991        08/12/20      Trf from 4983 to 4991             13,095.00
Ellwood Medical Center Operations, LLC           USB-4983        08/21/20      Trf from 5014 to 4983                800.00
Ellwood Medical Center Operations, LLC           USB-4983        08/21/20      Trf from 5014 to 4983              1,459.50
Ellwood Medical Center Operations, LLC           USB-5014        08/21/20      Trf from 5014 to 4983               (800.00)
Ellwood Medical Center Operations, LLC           USB-5014        08/21/20      Trf from 5014 to 4983             (1,459.50)
Ellwood Medical Center Operations, LLC           USB-4983        08/26/20      Trf from 5014 to 4983             11,000.00
Ellwood Medical Center Operations, LLC           USB-4991        08/26/20      Trf from 5014 to 4991             14,000.00
Ellwood Medical Center Operations, LLC           USB-5014        08/26/20      Trf from 5014 to 4983            (11,000.00)
Ellwood Medical Center Operations, LLC           USB-5014        08/26/20      Trf from 5014 to 4991            (14,000.00)
Total - Ellwood Medical Center Operations, LLC                                                                         -

Izard County Medical Center, LLC                 FNB-5802        08/21/20      Trf from 5802 to 6506           (1,292,181.47)
Izard County Medical Center, LLC                 EWB-6506        08/21/20      Trf from 5802 to 6506            1,292,181.47
Total - Izard County Medical Center, LLC                                                                                 -

St. Alexius Hospital Corporation # 1             CNB-6650        08/03/20      Trf from 6650 to 6860                (957.28)
St. Alexius Hospital Corporation # 1             USB-6860        08/03/20      Trf from 6650 to 6860                 957.28
St. Alexius Hospital Corporation # 1             USB-6845        08/04/20      Trf from 6845 to 6878            (259,002.00)
St. Alexius Hospital Corporation # 1             USB-6860        08/04/20      Trf from 6860 to 6886            (160,000.00)
St. Alexius Hospital Corporation # 1             USB-6878        08/04/20      Trf from 6845 to 6878             259,002.00
St. Alexius Hospital Corporation # 1             USB-6886        08/04/20      Trf from 6860 to 6886             160,000.00
St. Alexius Hospital Corporation # 1             CNB-6650        08/05/20      Trf from 6650 to 6860              (1,746.10)
St. Alexius Hospital Corporation # 1             USB-6860        08/05/20      Trf from 6650 to 6860               1,746.10
St. Alexius Hospital Corporation # 1             USB-6878        08/05/20      Trf from 6878 to 6886              (8,713.64)
St. Alexius Hospital Corporation # 1             USB-6886        08/05/20      Trf from 6878 to 6886               8,713.64
St. Alexius Hospital Corporation # 1             CNB-6621        08/07/20      Trf from 6621 to 6886              (9,214.01)
St. Alexius Hospital Corporation # 1             USB-6886        08/07/20      Trf from 6621 to 6886               9,214.01
St. Alexius Hospital Corporation # 1             CNB-6650        08/07/20      Trf from 6650 to 6860                (818.87)
St. Alexius Hospital Corporation # 1             USB-6845        08/07/20      Trf from 6845 to 6886            (575,000.00)
St. Alexius Hospital Corporation # 1             USB-6860        08/07/20      Trf from 7479 to 6860              50,000.00
St. Alexius Hospital Corporation # 1             BOA-7479        08/07/20      Trf from 7479 to 6860             (50,000.00)
St. Alexius Hospital Corporation # 1             USB-6860        08/07/20      Trf from 6650 to 6860                 818.87
St. Alexius Hospital Corporation # 1             USB-6886        08/07/20      Trf from 6845 to 6886             575,000.00
St. Alexius Hospital Corporation # 1             CNB-6650        08/10/20      Trf from 6650 to 6860              (1,113.19)
St. Alexius Hospital Corporation # 1             USB-6860        08/10/20      Trf from 6650 to 6860               1,113.19
St. Alexius Hospital Corporation # 1             CNB-6650        08/11/20      Trf from 6650 to 6860                (100.00)
St. Alexius Hospital Corporation # 1             USB-6860        08/11/20      Trf from 6650 to 6860                 100.00
St. Alexius Hospital Corporation # 1             CNB-6650        08/12/20      Trf from 6650 to 6860                (225.00)
St. Alexius Hospital Corporation # 1             USB-6845        08/12/20      Trf from 6845 to 6878            (700,000.00)
St. Alexius Hospital Corporation # 1             USB-6852        08/12/20      Trf from 6852 to 6878             (27,237.00)
St. Alexius Hospital Corporation # 1             USB-6860        08/12/20      Trf from 6650 to 6860                 225.00
St. Alexius Hospital Corporation # 1             USB-6878        08/12/20      Trf from 6845 to 6878             700,000.00
St. Alexius Hospital Corporation # 1             USB-6878        08/12/20      Trf from 6852 to 6878              27,237.00
St. Alexius Hospital Corporation # 1             CNB-6650        08/13/20      Trf from 6650 to 6860                (715.55)
St. Alexius Hospital Corporation # 1             USB-6860        08/13/20      Trf from 6650 to 6860                 715.55
St. Alexius Hospital Corporation # 1             CNB-6650        08/14/20      Trf from 6650 to 6860              (2,455.92)
St. Alexius Hospital Corporation # 1             USB-6845        08/14/20      Trf from 6845 to 6886             (45,000.00)
St. Alexius Hospital Corporation # 1             USB-6852        08/14/20      Trf from 6852 to 6886             (55,000.00)
St. Alexius Hospital Corporation # 1             USB-6860        08/14/20      Trf from 6650 to 6860               2,455.92
St. Alexius Hospital Corporation # 1             USB-6860        08/14/20      Trf from 6860 to 6886             (55,000.00)
St. Alexius Hospital Corporation # 1             USB-6886        08/14/20      Trf from 6845 to 6886              45,000.00
St. Alexius Hospital Corporation # 1             USB-6886        08/14/20      Trf from 6852 to 6886              55,000.00
St. Alexius Hospital Corporation # 1             USB-6886        08/14/20      Trf from 6860 to 6886              55,000.00
St. Alexius Hospital Corporation # 1             CNB-6650        08/18/20      Trf from 6650 to 6860                (225.00)
St. Alexius Hospital Corporation # 1             USB-6845        08/18/20      Trf from 6845 to 6886             (70,000.00)
St. Alexius Hospital Corporation # 1             USB-6860        08/18/20      Trf from 6650 to 6860                 225.00
St. Alexius Hospital Corporation # 1             USB-6886        08/18/20      Trf from 6845 to 6886              70,000.00
St. Alexius Hospital Corporation # 1             CNB-6621        08/19/20      Trf from 6621 to 6886              (6,860.76)
St. Alexius Hospital Corporation # 1             USB-6886        08/19/20      Trf from 6621 to 6886               6,860.76
St. Alexius Hospital Corporation # 1             CNB-6650        08/19/20      Trf from 6650 to 6860                (271.25)
St. Alexius Hospital Corporation # 1             USB-6845        08/19/20      Trf from 6845 to 6886            (100,000.00)
St. Alexius Hospital Corporation # 1             USB-6860        08/19/20      Trf from 6650 to 6860                 271.25
St. Alexius Hospital Corporation # 1             USB-6886        08/19/20      Trf from 6845 to 6886             100,000.00
St. Alexius Hospital Corporation # 1             CNB-6650        08/20/20      Trf from 6650 to 6860                (225.00)
St. Alexius Hospital Corporation # 1             USB-6860        08/20/20      Trf from 6650 to 6860                 225.00
St. Alexius Hospital Corporation # 1             CNB-6650        08/21/20      Trf from 6650 to 6860             (10,919.32)
St. Alexius Hospital Corporation # 1             USB-6845        08/21/20      Trf from 6845 to 6886            (650,000.00)
St. Alexius Hospital Corporation # 1             USB-6845        08/21/20      Trf from 6845 to 6886             650,000.00
St. Alexius Hospital Corporation # 1             USB-6860        08/21/20      Trf from 6650 to 6860              10,919.32
St. Alexius Hospital Corporation # 1             CNB-6650        08/24/20      Trf from 6650 to 6860                 (87.23)
St. Alexius Hospital Corporation # 1             USB-6860        08/24/20      Trf from 6650 to 6860                  87.23
St. Alexius Hospital Corporation # 1             CNB-6650        08/26/20      Trf from 6650 to 6860              (4,894.34)
St. Alexius Hospital Corporation # 1             EWB-6226        08/26/20      Trf from 6650 to 6860            (900,000.00)
St. Alexius Hospital Corporation # 1             USB-6860        08/26/20      Trf from 6650 to 6860               4,894.34
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CASE NAME: Americore Holdings, LLC, et al.                                                                                   Transfers

CASE NUMBER: 19-61608-grs (Jointly Administered)

                                                   CASH TRANSFERS DETAIL

                        Entity                      Bank ID          Date              Description           Amount
St. Alexius Hospital Corporation # 1           USB-6878        08/26/20      Trf from 6886 to 6878             750,000.00
St. Alexius Hospital Corporation # 1           USB-6886        08/26/20      Trf from 6650 to 6860             900,000.00
St. Alexius Hospital Corporation # 1           USB-6886        08/26/20      Trf from 6886 to 6878            (750,000.00)
St. Alexius Hospital Corporation # 1           CNB-6650        08/27/20      Trf from 6650 to 6860                (225.00)
St. Alexius Hospital Corporation # 1           USB-6860        08/27/20      Trf from 6650 to 6860                 225.00
St. Alexius Hospital Corporation # 1           CNB-6650        08/28/20      Trf from 6650 to 6860                (477.44)
St. Alexius Hospital Corporation # 1           USB-6845        08/28/20      Trf from 6845 to 6886            (300,000.00)
St. Alexius Hospital Corporation # 1           USB-6860        08/28/20      Trf from 6650 to 6860                 477.44
St. Alexius Hospital Corporation # 1           USB-6886        08/28/20      Trf from 6845 to 6886             300,000.00
St. Alexius Hospital Corporation # 1           EWB-6226        08/31/20      Trf from 6650 to 6860            (365,000.00)
St. Alexius Hospital Corporation # 1           USB-6845        08/31/20      Trf from 6845 to 6886             (75,000.00)
St. Alexius Hospital Corporation # 1           USB-6852        08/31/20      Trf from 6852 to 6886             (75,000.00)
St. Alexius Hospital Corporation # 1           USB-6860        08/31/20      Trf from 6860 to 6886             (15,000.00)
St. Alexius Hospital Corporation # 1           USB-6886        08/31/20      Trf from 6650 to 6860             365,000.00
St. Alexius Hospital Corporation # 1           USB-6886        08/31/20      Trf from 6845 to 6886              75,000.00
St. Alexius Hospital Corporation # 1           USB-6886        08/31/20      Trf from 6852 to 6886              75,000.00
St. Alexius Hospital Corporation # 1           USB-6886        08/31/20      Trf from 6860 to 6886              15,000.00
St. Alexius Hospital Corporation # 1           USB-6886        08/28/20      Trf from 0157 to 6886            (100,236.44)
St. Alexius Hospital Corporation # 1           USB-6886        08/28/20      Trf from 6886 to 0157             100,236.44
St. Alexius Hospital Corporation # 1           USB-0157        08/28/20      Trf from 0157 to 6886             100,236.44
St. Alexius Hospital Corporation # 1           USB-0157        08/28/20      Trf from 6886 to 0157            (100,236.44)
Total - St. Alexius Hospital Corporation # 1                                                                          -

TOTAL TRANSFERS :                                                                                        $            -
                                        Case 19-61608-grs                            Doc 882 Filed 09/16/20 Entered 09/16/20 15:17:41                                                                     Desc Main                                     Exhibit A
                                                                                            Document    Page 47 of 121
                                                                                                               UNITED STATES BANKRUPTCY COURT
                                                                                                                EASTERN DISTRICT OF KENTUCKY
                                                                                                                     LEXINGTON DIVISION

                                                                             Exhibit A - CONSOLIDATING DISBURSEMENTS OF JOINTLY ADMINISTERED CASES IN CHAPTER 11

CASE NAME:                                             Americore Holdings, LLC, et al.
JOINT ADMINISTRATION CASE NUMBER:                      19-61608-grs

                                                                                                                                                                DISBURSEMENTS


   No.                        Entity                        Case No.       February 21-29, 2020          March 2020              April 2020              May 2020               June 2020                July 2020          Aug-20           Filing to Date(1)
    1      Americore Holdings, LLC                     19-61608-grs (Lead) $                -   $                     -   .                        $                -   $                  -   $                    -   $            -   $                   -
    2      Pineville Medical Center, LLC               19-61605-grs                         -                         -                      -                      -                      -                        -                -                       -
    3      Americore Health Enterprises, LLC           19-61606-grs                         -                         -                      -                      -                      -                        -                -                       -
    4      Americore Health, LLC                       19-61607-grs                         -                         -                      -                      -                      -                        -                -                       -
    5      Success Healthcare 2, LLC                   19-61609-grs                         -                         -                      -                      -                      -                        -                -                       -
    6      St. Alexius Hospital Corporation #1         19-61610-grs               1,099,862.03               2,922,331.36           3,395,488.30           3,433,029.66           5,148,642.77             4,395,931.82     4,307,764.54          24,703,050.48
    7      St. Alexius Properties, LLC                 19-61611-grs                         -                         -                      -                      -                      -                        -                -                       -
    8      Izard County Medical Center, LLC            19-61612-grs                 178,415.38                 328,957.90             469,681.59           1,071,880.25             383,783.41               704,770.65       417,860.64           3,555,349.82
    9      Ellwood Medical Center, LLC                 19-61613-grs                                                   -                      -                      -                      -                        -                -                       -
   10      Ellwood Medical Center Real Estate, LLC     19-61614-grs                         -                         -                      -                      -                      -                        -                -                       -
   11      Ellwood Medical Center Operations, LLC      19-61615-grs                  17,864.57                  45,798.70             185,901.73             131,975.67              83,038.11               121,164.93        89,040.62             674,784.33

Total Disbursements                                                           $       1,296,141.98 $         3,297,087.96 $         4,051,071.62 $         4,636,885.58 $         5,615,464.29 $           5,221,867.40 $   4,814,665.80 $       28,933,184.63

Notes:

(1) Disbursements are reported from the date of the initial report and does not reflect disbursements made by the Debtor prior to February 21, 2020, the date of the Chapter 11 Trustee's appointment.
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                                                                                                     U.S. Bank accepts Relay Calls
                                                                                                     Internet:                                           usbank.com




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           7KH5HDO7LPH3D\PHQWV 573¯ QHWZRUNDOORZVIXQGWUDQVIHUVGLUHFWO\EHWZHHQILQDQFLDOLQVWLWXWLRQVZLWKSD\PHQW
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                                                                                                              U.S. Bank accepts Relay Calls
                                                                                                              Internet:                                                usbank.com




1(:6)25<28
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               $XJ                                      $XJ                                           
               $XJ                                       $XJ                                           
               $XJ                                    $XJ                                          
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               $XJ                                    $XJ                                           
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                                                67$/(;,86+263,7$/&25325$7,21            %XVLQHVV 6WDWHPHQW
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                                                                          Page 87  of 121              
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86%DQN1DWLRQDO$VVRFLDWLRQ                                                             $FFRXQW1XPEHU
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               $XJ                               $XJ                     
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               $XJ                               $XJ                     
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86%DQN1DWLRQDO$VVRFLDWLRQ                                                                                       $FFRXQW1XPEHU
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Check               Date          Ref Number              Amount      Check          Date                         Ref Number                  Amount
               $XJ                                       $XJ                                           
               $XJ                                      $XJ                                             
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                       6&+2/$56+,3$&&7                                                                      Service:                                           1-866-329-7770
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                   Case 19-61608-grs                    Doc 882 Filed 09/16/20 Entered 09/16/20 15:17:41 Desc$FFRXQW1XPEHU
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                       6$,17/28,6 02                                                   Service:                                      1-866-329-7770


                                                                                                  U.S. Bank accepts Relay Calls
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                          Case 19-61608-grs    Doc 882 Filed 09/16/20 Entered 09/16/20 15:17:41                          Desc Main
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Acct Name: ST ALEXIUS HOSPITAL                                SUMMARY - USD                                                                    Page       1
Acct Number: XXXXXXX157                                                                                                  For period 08/01/2020 - 08/31/2020

ACTIVITY - Settled/Cleared Cash Activity

          Transaction Type                                    Amount                   Your Sales Representative is: LAWRENCE C. BALA
          Purchases                                           (100,236.44)                                          (800) 944-9914
          Purchase Reversals                                         0.00
          Sales                                                      0.00              Statement Contents
          Sale Reversals                                             0.00                    *Summary
          Withdrawals                                                0.00                    *Activity - Settled/Cleared Cash Activity
          Receipts                                                   0.00                    *Activity - Projected Activity for Next Statement Period
          Deliveries                                                 0.00                    *Holdings
          Principal Reversals                                        0.00                    *Pledging Detail
          Interest                                                   6.68
          Interest Reversals                                         0.00
          Interest Adjustments                                       0.00
          Maturities                                           100,229.76
          Calls                                                      0.00
          Puts                                                       0.00
          Paydowns                                                   0.00
          Paydown Adjustments                                        0.00
          Payups                                                     0.00
          Payup Adjustments                                          0.00
          Cash Dividends                                             0.00
          Balance Changes                                            0.00
          Stock Dividends                                            0.00
          Closeouts                                                  0.00
          Closeout Dividends                                         0.00
          Net Activity                                               0.00

HOLDINGS - Custody

          Category                            Par/Shares                      Original Face                    Principal Cost               Market Value
          Domestic Time Deposits              100,236.44000                      100,236.44000                        100,236.44                        0.00
          Total Custody Holdings              100,236.44000                      100,236.44000                        100,236.44                        0.00




PLEDGING

          Total Pledged            1                          Total Original Face                                     100,000.00
                                                              Total Par/Current Face                                  100,000.00
                                                              Total Market Value                                      100,000.00
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Acct Name: ST ALEXIUS HOSPITAL                               ACTIVITY - USD                                                    Page       2
Acct Number: XXXXXXX157                               Settled/Cleared Cash Activity                       For period 08/01/2020 - 08/31/2020


Date         Activity             Description                              Rate             Par/Shares       Security ID              Amount
Ticket                                                                     Maturity          Price/NAV

08/28/2020   Interest             U.S. BANK N.A.                           .040                              CDIB                        6.68
807011036                         CERTIFICATE OF DEPOSIT                   08/28/2020

08/28/2020   Maturity             U.S. BANK N.A.                           .040                              CDIB                  100,229.76
807011036                         CERTIFICATE OF DEPOSIT                   08/28/2020

08/28/2020   Purchase             U.S. BANK N.A.                           .010           100,236.44000      CDIB                 (100,236.44)
807011451                         CERTIFICATE OF DEPOSIT                   09/28/2020        100.000000
                                                                           Net Activity                                                  0.00
                        Case 19-61608-grs       Doc 882 Filed 09/16/20 Entered 09/16/20 15:17:41             Desc Main
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Acct Name: ST ALEXIUS HOSPITAL                                ACTIVITY - USD                                                 Page      3
Acct Number: XXXXXXX157                         Projected Activity for Next Statement Period


Date         Activity             Description                                Rate               Par/Shares     Security ID          Amount
Ticket                                                                       Maturity            Price/NAV

09/28/2020   Interest             U.S. BANK N.A.                             .010                              CDIB                   0.86
807011451                         CERTIFICATE OF DEPOSIT                     09/28/2020

09/28/2020   Maturity             U.S. BANK N.A.                             .010                              CDIB            100,236.44
807011451                         CERTIFICATE OF DEPOSIT                     09/28/2020
                                                                             Net Projected Activity                            100,237.30
                          Case 19-61608-grs     Doc 882 Filed 09/16/20 Entered 09/16/20 15:17:41        Desc Main
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Acct Name: ST ALEXIUS HOSPITAL                         HOLDINGS AS OF 08/31/2020 - USD                                 Page      4
Acct Number: XXXXXXX157

CUSTODY
Maturity        Security ID         Rate            Description                        Par/Shares     Principal Cost    Market Value
                Ticket              Acq Date                                         Original Face                              NAV

Domestic Time Deposits

09/28/2020      CDIB                .010            U.S. BANK N.A.                       100,236.44      100,236.44
                807011451           08/20           CERTIFICATE OF DEPOSIT               100,236.44
   PLEDGED
                                      Domestic Time Deposits Total                   100,236.44000       100,236.44             0.00
                                                                                     100,236.44000
                                      Total Custody Holdings                         100,236.44000       100,236.44             0.00
                                                                                     100,236.44000
                                   Case 19-61608-grs                     Doc 882 Filed 09/16/20 Entered 09/16/20 15:17:41                                                Desc Main
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Acct Name: ST ALEXIUS HOSPITAL                                                           PLEDGING DETAIL - USD                                                                                Page       5
Acct Number: XXXXXXX157                                                                     AS OF 08/31/2020


Pledge ID:         05                           Pledge Description: US BANK COMMERCIAL BANKING
                                                                    MICHELE HINTZ OR GORDON MEYERS 314-418-8562/314-418-8484

Security ID             Description                                           Maturity                        Pricing Date                                     Current Market Price      Pledged Face Value
Ticket                  Rate                                                  Moody S&P                       Pricing Source                                   Current Market Value   Current Par/Face Value
CDIB                    U.S. BANK N.A.                                        09/28/2020                      06/23/2003                                                100.000000                100,000.00
807011451                .010                                                 P1 A1+                          Manual-llg                                                 100,000.00               100,000.00

Pledge ID Total              1                                                Total Original Face                                                              100,000.00
                                                                              Total Par/Current Face                                                           100,000.00
                                                                              Total Market Value                                                               100,000.00

U.S. Bank Safekeeping does not monitor Current Market Value against Current Par/Face Value of pledged securities. Please add or substitute pledges when the Current Market Value of pledged
securities is not adequate for your requirements.

We attest that the pledge information presented within this report is accurate to the best of our knowledge. Please call us at 800-236-4221 if you have any questions.

U.S. Bank N.A. - Corporate Treasury Safekeeping
PAGE 1       Case 19-61608-grs                  Doc 882 Filed 09/16/20 Entered 09/16/20Page:
                                                                                        15:17:41                                           Desc Main           1 of 1
                                                      Document     Page 105 of 121     Account:                                                           XXXXXX6605
                                                                                                                     Client Service
1954516605                                                                                                             Online                         CityTel
ST ALEXIUS HOSPITAL CORPORATION 1                                                                                     onal.com                1-800-762-CITY (2489)
8/31/2020
Regular Commercial Checking
                                                                                                                       Your Banking Center            Telephone
                                                                                                                       Corporate Banking North        000-000-0000
                                                                                                                       5900 North Andrews Ave Ste 850 800-435-8839
               36029 1 MB 0.436                                 P:36029 / T:113 / S:                                   Ft Lauderdale, FL 33309
               FTADFFTDFADDAFTAFFDDTATDDAAFFADFTADTTDTATAAFFATTTAFTTDFTDFAAFDDAD
                                                                                                                       Your Banking Center Hours
                                                                                                                       Lobby:     Monday - Thursday : 9:00am - 4:00pm
               ST ALEXIUS HOSPITAL CORPORATION 1                                                                                  Friday:             9:00am - 5:00pm
               OPERATING ACCOUNT
               3933 S BROADWAY
               SAINT LOUIS MO 63118-4601
                                                                                                                For additional locations
                                                                                                                and hours, please visit
                                                                                                                citynational.com

     Regular Commercial Checking
     Account Summary
     Account:                               XXXXXX6605        Beginning Balance:                  $100.00
     Last Statement:                       July 31, 2020      Ending Balance:                     $100.00
     This Statement:                     August 31, 2020      Average Ledger Balance:             $100.00
                                                              Low Balance:                        $100.00
     Daily Activity
     Date   Description                                          Deposits/         Withdrawals/   Balance
                                                                 Additions         Subtractions
     07-31 Beginning balance                                                                       100.00
     08-31 Ending totals                                              0.00                0.00     100.00
PAGE 1       Case 19-61608-grs                  Doc 882 Filed 09/16/20 Entered 09/16/20Page:
                                                                                        15:17:41                                            Desc Main           1 of 1
                                                      Document     Page 106 of 121     Account:                                                            XXXXXX6621
                                                                                                                      Client Service
1954516621                                                                                                              Online                         CityTel
ST ALEXIUS HOSPITAL CORPORATION 1                                                                                      onal.com                1-800-762-CITY (2489)
8/31/2020
Regular Commercial Checking
                                                                                                                        Your Banking Center            Telephone
                                                                                                                        Corporate Banking North        000-000-0000
                                                                                                                        5900 North Andrews Ave Ste 850 800-435-8839
               36030 1 MB 0.436                                 P:36030 / T:113 / S:                                    Ft Lauderdale, FL 33309
               FFFADTAFAFADDDDAATFFFTFDTDATFFFDFAFDATFADDTDFAFFDTATDAFDTFTTFAFDT
                                                                                                                        Your Banking Center Hours
                                                                                                                        Lobby:     Monday - Thursday : 9:00am - 4:00pm
               ST ALEXIUS HOSPITAL CORPORATION 1                                                                                   Friday:             9:00am - 5:00pm
               LOCK BOX - GOVERNMENT
               3933 S BROADWAY
               SAINT LOUIS MO 63118-4601
                                                                                                                 For additional locations
                                                                                                                 and hours, please visit
                                                                                                                 citynational.com

     Regular Commercial Checking
     Account Summary
     Account:                               XXXXXX6621        Beginning Balance:                  $100.00
     Last Statement:                       July 31, 2020      Ending Balance:                     $100.00
     This Statement:                     August 31, 2020      Average Ledger Balance:             $100.00
                                                              Low Balance:                        $100.00
     Daily Activity
     Date   Description                                          Deposits/         Withdrawals/    Balance
                                                                 Additions         Subtractions
     07-31 Beginning balance                                                                        100.00
     08-07 Hcclaimpmt Mo Social Servcs                9,214.01                                    9,314.01
           Trn*1*1780990754z06996270ra#11064224*1446000987\
     08-07 Wire Transfer St Alexius Hospital C                                         9,214.01    100.00
           081000210000167
     08-19 Hcclaimpmt Mo Social Servcs                6,860.76                                    6,960.76
           Trn*1*1780990754z07018172ra#11074911*1446000987\
     08-19 Wire Transfer St Alexius Hospital C                                         6,860.76    100.00
           081000210000146
     08-31 Ending totals                             16,074.77                      16,074.77      100.00
PAGE 1       Case 19-61608-grs                  Doc 882 Filed 09/16/20 Entered 09/16/20Page:
                                                                                        15:17:41                                            Desc Main           1 of 2
                                                      Document     Page 107 of 121     Account:                                                            XXXXXX6650
                                                                                                                      Client Service
1954516650                                                                                                              Online                         CityTel
ST ALEXIUS HOSPITAL CORPORATION 1                                                                                      onal.com                1-800-762-CITY (2489)
8/31/2020
Regular Commercial Checking
                                                                                                                        Your Banking Center            Telephone
                                                                                                                        Corporate Banking North        000-000-0000
                                                                                                                        5900 North Andrews Ave Ste 850 800-435-8839
               36028 1 MB 0.436                                 P:36028 / T:113 / S:                                    Ft Lauderdale, FL 33309
               DTDTADDADATAFFADDDFTTFDTAATTTTAFADTFDTTDAADTADDDAATFADAFFDFAADTTF
                                                                                                                        Your Banking Center Hours
                                                                                                                        Lobby:     Monday - Thursday : 9:00am - 4:00pm
               ST ALEXIUS HOSPITAL CORPORATION 1                                                                                   Friday:             9:00am - 5:00pm
               LOCK BOX- NON GOVERNMENT
               3933 S BROADWAY
               SAINT LOUIS MO 63118-4601
                                                                                                                 For additional locations
                                                                                                                 and hours, please visit
                                                                                                                 citynational.com

     Regular Commercial Checking
     Account Summary
     Account:                               XXXXXX6650        Beginning Balance:                  $109.83
     Last Statement:                       July 31, 2020      Ending Balance:                     $100.00
     This Statement:                     August 31, 2020      Average Ledger Balance:             $931.83
                                                              Low Balance:                        $100.00
     Daily Activity
     Date   Description                                          Deposits/         Withdrawals/    Balance
                                                                 Additions         Subtractions
     07-31 Beginning balance                                                                        109.83
     08-03 Hcclaimpmt Cigna Edge Trans                              947.45                        1,057.28
           Trn*1*600300208018*1591031071~
     08-03 Wire Transfer St Alexius Hospitalit                                          957.28     100.00
           081000210000276
     08-05 Hcclaimpmt Cigna Edge Trans                            1,746.10                        1,846.10
           Trn*1*602500401395*1591031071~
     08-05 Wire Transfer St Alexius Hospitalit                                         1,746.10    100.00
           081000210000175
     08-07 Hcclaimpmt Cigna Edge Trans                              818.87                         918.87
           Trn*1*601100230263*1591031071~
     08-07 Wire Transfer St Alexius Hospitalit                                          818.87     100.00
           081000210000165
     08-10 Lockbox Deposit                                          100.00                          200.00
     08-10 Hcclaimpmt Cigna Edge Trans                            1,113.19                        1,313.19
           Trn*1*602100215843*1591031071~
     08-10 Wire Transfer St Alexius Hospitalit                                         1,113.19    200.00
           081000210000111
     08-11 Lockbox Deposit                                          940.55                        1,140.55

     Continued on the next page
   Case 19-61608-grs          Doc 882 Filed 09/16/20 Entered 09/16/20 Page:
                                                                      15:17:41         Desc Main         2 of 2
                                    Document     Page 108 of 121      Account:                      XXXXXX6650


Date    Description                                      Deposits/      Withdrawals/               Balance
                                                         Additions      Subtractions
08-11   Wire Transfer St Alexius Hospitalit                                  100.00             1,040.55
        081000210000127
08-12   Wire Transfer St Alexius Hospitalit                                  225.00                815.55
        081000210000144
08-13   Wire Transfer St Alexius Hospitalit                                  715.55                100.00
        081000210000115
08-14   Unitedhealthcare Payment 0000619509              2,455.92                               2,555.92
08-14   Wire Transfer St Alexius Hospitalit                                2,455.92               100.00
        081000210000343
08-17   Lockbox Deposit                                    496.25                                  596.25
08-18   Wire Transfer St Alexius Hospitalit                                  225.00                371.25
        081000210000152
08-19   Lockbox Deposit                                 11,144.32                              11,515.57
08-19   Wire Transfer St Alexius Hospitalit                                  271.25            11,244.32
        081000210000145
08-20   Wire Transfer St Alexius Hospitalit                                  225.00            11,019.32
        081000210000094
08-21   Wire Transfer St Alexius Hospitalit                               10,919.32                100.00
        081000210000145
08-24   Hcclaimpmt Cigna Edge Trans                         87.23                                  187.23
        Trn*1*601200227580*1591031071~
08-24   Wire Transfer St Alexius Hospitalit                                   87.23                100.00
        081000210000135
08-26   Lockbox Deposit                                    702.44                                 802.44
08-26   Hcclaimpmt Cigna Edge Trans                      4,894.34                               5,696.78
        Trn*1*603600360963*1591031071~
08-26   Wire Transfer St Alexius Hospitalit                                4,894.34                802.44
        081000210000165
08-27   Wire Transfer St Alexius Hospitalit                                  225.00                577.44
        081000210000125
08-28   Wire Transfer St Alexius Hospitalit                                  477.44                100.00
        081000210000266
08-31   Ending totals                                   25,446.66         25,456.49                100.00
         Case 19-61608-grs                    Doc 882 Filed 09/16/20 Entered 09/16/20 15:17:41                        Desc Main
                                                    Document     Page 109 of 121



P.O. Box 15284
Wilmington, DE 19850
                                                                                               Customer service information


                                                                                               Customer service: 1.888.400.9009

                                                                                               bankofamerica.com
  ST ALEXIUS HOSPITAL CORPORATION #1
                                                                                               Bank of America, N.A.
  DEBTOR IN POSSESSION CASE 19-61610
                                                                                               P.O. Box 25118
  FED FDS ACCT SPEC USES ACCT DEACONESS                                                        Tampa, FL 33622-5118
  3933 S BROADWAY
  SAINT LOUIS, MO 63118-4601




Your Full Analysis Business Checking
for August 1, 2020 to August 31, 2020                                                    Account number: 0046 8168 5549
ST ALEXIUS HOSPITAL CORPORATION #1                              DEBTOR IN POSSESSION CASE 19-61610               FED FDS ACCT SPEC
USES ACCT DEACONESS

Account summary
Beginning balance on August 1, 2020                                      $10,090.38   # of deposits/credits: 2
Deposits and other credits                                                 5,077.75   # of withdrawals/debits: 0
Withdrawals and other debits                                                  -0.00   # of days in cycle: 31
Checks                                                                        -0.00   Average ledger balance: $11,799.50
Service fees                                                                  -0.00

Ending balance on August 31, 2020                                       $15,168.13




PULL: E CYCLE: 44 SPEC: E DELIVERY: E TYPE:   IMAGE: A BC: AZ                                                              Page 1 of 4
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ST ALEXIUS HOSPITAL CORPORATION #1 | Account # 0046 8168 5549 | August 1, 2020 to August 31, 2020




Deposits and other credits
Date         Transaction description                        Customer reference         Bank reference                 Amount

08/06/20     VAED TREAS 310 DES:XXVA CH33                                              902517012523940              1,314.00
             ID:575550955003600 INDN:LUTHERAN SCHOOL
             OF NUR CO ID:9101036151 CCD PMT
             INFO:REF*48*CH33 TF VA FILE NO XXXXXXXXX
             *TE RM 081720-091220 AUSTIN T CLARE      \

08/27/20     36 TREAS 310 DES: MISC PAY                                                902539014348638              3,763.75
             ID:201872766360012 INDN:LUTHERAN SCHOOL
             OF NSG CO ID:9101036151 CCD PMT
             INFO:RMT*IV*81720002\REF*VV*WV33104166301
             *(87 7)353-9791 AUSTIN 104\

Total deposits and other credits                                                                                 $5,077.75


Daily ledger balances
Date                               Balance ($)   Date                            Balance($)    Date                Balance ($)

08/01                             10,090.38      08/06                      11,404.38          08/27               15,168.13




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P.O. Box 15284
Wilmington, DE 19850
                                                                                               Customer service information


                                                                                               Customer service: 1.888.400.9009

                                                                                               bankofamerica.com
  ST ALEXIUS HOSPITAL CORPORATION #1
                                                                                               Bank of America, N.A.
  DEBTOR IN POSSESSION CASE 19-61610
                                                                                               P.O. Box 25118
  ACCOUNT                                                                                      Tampa, FL 33622-5118
  3933 S BROADWAY
  SAINT LOUIS, MO 63118-4601




Your Full Analysis Business Checking
for August 1, 2020 to August 31, 2020                                                    Account number: 0046 8168 7479
ST ALEXIUS HOSPITAL CORPORATION #1                              DEBTOR IN POSSESSION CASE 19-61610             ACCOUNT

Account summary
Beginning balance on August 1, 2020                                      $51,225.68   # of deposits/credits: 17
Deposits and other credits                                                33,176.57   # of withdrawals/debits: 3
Withdrawals and other debits                                             -52,041.94   # of days in cycle: 31
Checks                                                                        -0.00   Average ledger balance: $28,552.52
Service fees                                                                -898.71

Ending balance on August 31, 2020                                       $31,461.60




PULL: E CYCLE: 44 SPEC: E DELIVERY: E TYPE:   IMAGE: A BC: AZ                                                              Page 1 of 6
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ST ALEXIUS HOSPITAL CORPORATION #1 | Account # 0046 8168 7479 | August 1, 2020 to August 31, 2020




Deposits and other credits
Date         Transaction description                        Customer reference    Bank reference                      Amount

08/03/20     BANKCARD-1203 DES:BTOT DEP                                           902516016342607                     917.50
             ID:530960440103190 INDN:ST. ALEXIUS
             HOSPITAL CO ID:9592126793 CCD

08/04/20     BANKCARD-1203 DES:MTOT DEP                                           902516040179025                  1,007.73
             ID:530960440103190 INDN:ST. ALEXIUS
             HOSPITAL CO ID:9592126793 CCD

08/05/20     BANKCARD-1203 DES:BTOT DEP                                           902517020649738                  3,000.00
             ID:530960440103190 INDN:ST. ALEXIUS
             HOSPITAL CO ID:9592126793 CCD

08/06/20     BANKCARD-1203 DES:MTOT DEP                                           902518018305790                  7,784.46
             ID:530960440103190 INDN:ST. ALEXIUS
             HOSPITAL CO ID:9592126793 CCD

08/07/20     BANKCARD-1203 DES:BTOT DEP                                           902519024420751                      65.93
             ID:530960440103190 INDN:ST. ALEXIUS
             HOSPITAL CO ID:9592126793 CCD

08/10/20     BANKCARD-1203 DES:BTOT DEP                                           902523013383807                  4,527.56
             ID:530960440103190 INDN:ST. ALEXIUS
             HOSPITAL CO ID:9592126793 CCD

08/13/20     BANKCARD-1203 DES:MTOT DEP                                           902525025320891                     195.70
             ID:530960440103190 INDN:ST. ALEXIUS
             HOSPITAL CO ID:9592126793 CCD

08/17/20     BANKCARD-1203 DES:MTOT DEP                                           902530008010365                        6.00
             ID:530960440103190 INDN:ST. ALEXIUS
             HOSPITAL CO ID:9592126793 CCD

08/18/20     BANKCARD-1203 DES:MTOT DEP                                           902530032874829                  1,067.79
             ID:530960440103190 INDN:ST. ALEXIUS
             HOSPITAL CO ID:9592126793 CCD

08/19/20     BANKCARD-1203 DES:MTOT DEP                                           902531019062602                10,238.08
             ID:530960440103190 INDN:ST. ALEXIUS
             HOSPITAL CO ID:9592126793 CCD

08/20/20     BANKCARD-1203 DES:MTOT DEP                                           902532016002197                      85.37
             ID:530960440103190 INDN:ST. ALEXIUS
             HOSPITAL CO ID:9592126793 CCD
                                                                                                      continued on the next page




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Deposits and other credits - continued
Date           Transaction description                              Customer reference   Bank reference                Amount

08/21/20       BANKCARD-1203 DES:MTOT DEP                                                902533021734045                   22.16
               ID:530960440103190 INDN:ST. ALEXIUS
               HOSPITAL CO ID:9592126793 CCD

08/24/20       BANKCARD-1203 DES:MTOT DEP                                                902537010851082             1,361.55
               ID:530960440103190 INDN:ST. ALEXIUS
               HOSPITAL CO ID:9592126793 CCD

08/25/20       BANKCARD-1203 DES:MTOT DEP                                                902537029935679                    3.92
               ID:530960440103190 INDN:ST. ALEXIUS
               HOSPITAL CO ID:9592126793 CCD

08/26/20       BANKCARD-1203 DES:MTOT DEP                                                902538015106092             2,044.30
               ID:530960440103190 INDN:ST. ALEXIUS
               HOSPITAL CO ID:9592126793 CCD

08/27/20       BANKCARD-1203 DES:MTOT DEP                                                902539022928314               800.00
               ID:530960440103190 INDN:ST. ALEXIUS
               HOSPITAL CO ID:9592126793 CCD

08/31/20       BANKCARD-1203 DES:MTOT DEP                                                902544012542039                   48.52
               ID:530960440103190 INDN:ST. ALEXIUS
               HOSPITAL CO ID:9592126793 CCD

Total deposits and other credits                                                                                 $33,176.57


Withdrawals and other debits
Date           Transaction description                              Customer reference   Bank reference                Amount

08/03/20       BANKCARD-1203 DES:MTOT DISC                                               902516016795478             -2,041.94
               ID:530960440103190 INDN:ST. ALEXIUS
               HOSPITAL CO ID:9592126793 CCD

08/07/20       WIRE TYPE:WIRE OUT DATE:200807 TIME:1253 ET                               903708070491479           -50,000.00
               TRN:2020080700491479 SERVICE REF:009446
               BNF:ST. ALEXIUS HOSPITAL OPERA
               ID:152321236860 BNF BK:U.S. BANK N.A. (ST. LOU
               ID:081000210 PMT DET:2087B5137R901I40

Total withdrawals and other debits                                                                              -$52,041.94



Service fees
Date           Transaction description                                                                                 Amount

08/17/20       07/20 ACCT ANALYSIS FEE                                                                                 -898.71

Total service fees                                                                                                 -$898.71
Note your Ending Balance already reflects the subtraction of Service Fees.




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ST ALEXIUS HOSPITAL CORPORATION #1 | Account # 0046 8168 7479 | August 1, 2020 to August 31, 2020




Daily ledger balances
Date                           Balance ($)   Date                           Balance($)    Date                Balance ($)

08/01                          51,225.68     08/10                         16,486.92      08/21               27,203.31
08/03                          50,101.24     08/13                         16,682.62      08/24               28,564.86
08/04                          51,108.97     08/17                         15,789.91      08/25               28,568.78
08/05                          54,108.97     08/18                         16,857.70      08/26               30,613.08
08/06                          61,893.43     08/19                         27,095.78      08/27               31,413.08
08/07                          11,959.36     08/20                         27,181.15      08/31               31,461.60




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P.O. Box 15284
Wilmington, DE 19850
                                                                                               Customer service information


                                                                                               Customer service: 1.888.400.9009

                                                                                               bankofamerica.com
  ST ALEXIUS HOSPITAL CORPORATION #1
                                                                                               Bank of America, N.A.
  DEBTOR IN POSSESION CASE 19-61610
                                                                                               P.O. Box 25118
  CREDIT CARD PROCESSING                                                                       Tampa, FL 33622-5118
  3933 S BROADWAY
  SAINT LOUIS, MO 63118-4601




Your Full Analysis Business Checking
for August 1, 2020 to August 31, 2020                                                    Account number: 0046 8168 7592
ST ALEXIUS HOSPITAL CORPORATION #1                              DEBTOR IN POSSESION CASE 19-61610              CREDIT CARD
PROCESSING

Account summary
Beginning balance on August 1, 2020                                       $5,720.81   # of deposits/credits: 15
Deposits and other credits                                                 1,040.00   # of withdrawals/debits: 1
Withdrawals and other debits                                                 -19.95   # of days in cycle: 31
Checks                                                                        -0.00   Average ledger balance: $6,253.82
Service fees                                                                  -0.00

Ending balance on August 31, 2020                                        $6,740.86




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ST ALEXIUS HOSPITAL CORPORATION #1 | Account # 0046 8168 7592 | August 1, 2020 to August 31, 2020




Deposits and other credits
Date         Transaction description                        Customer reference    Bank reference                      Amount

08/05/20     ST. OF MISSOURI DES:VENDOR PAY                                       902517020533570                      83.34
             ID:E00008032000242 INDN:ST ALEXIUS HOSPI
             CO ID:XXXXXXXXXV CTX ADDITIONAL
             INFORMATION IS AVAILABLE FOR THIS PMT.
             CONTACT A TREASURY SALES OFFICER FOR
             ASSISTANCE.

08/06/20     ST. OF MISSOURI DES:VENDOR PAY                                       902518018223728                      83.16
             ID:E00008042000166 INDN:ST ALEXIUS HOSPI
             CO ID:XXXXXXXXXV CTX ADDITIONAL
             INFORMATION IS AVAILABLE FOR THIS PMT.
             CONTACT A TREASURY SALES OFFICER FOR
             ASSISTANCE.

08/06/20     ST. OF MISSOURI DES:VENDOR PAY                                       902518018223738                      63.04
             ID:E00008042000167 INDN:ST ALEXIUS HOSPI
             CO ID:XXXXXXXXXV CTX ADDITIONAL
             INFORMATION IS AVAILABLE FOR THIS PMT.
             CONTACT A TREASURY SALES OFFICER FOR
             ASSISTANCE.

08/10/20     ST. OF MISSOURI DES:VENDOR PAY                                       902523013258102                      83.34
             ID:E00008062000096 INDN:ST ALEXIUS HOSPI
             CO ID:XXXXXXXXXV CTX ADDITIONAL
             INFORMATION IS AVAILABLE FOR THIS PMT.
             CONTACT A TREASURY SALES OFFICER FOR
             ASSISTANCE.

08/10/20     ST. OF MISSOURI DES:VENDOR PAY                                       902523013258110                      83.34
             ID:E00008062000097 INDN:ST ALEXIUS HOSPI
             CO ID:XXXXXXXXXV CTX ADDITIONAL
             INFORMATION IS AVAILABLE FOR THIS PMT.
             CONTACT A TREASURY SALES OFFICER FOR
             ASSISTANCE.

08/10/20     ST. OF MISSOURI DES:VENDOR PAY                                       902523013258118                      35.20
             ID:E00008062000098 INDN:ST ALEXIUS HOSPI
             CO ID:XXXXXXXXXV CTX ADDITIONAL
             INFORMATION IS AVAILABLE FOR THIS PMT.
             CONTACT A TREASURY SALES OFFICER FOR
             ASSISTANCE.
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Deposits and other credits - continued
Date        Transaction description                     Customer reference   Bank reference                            Amount

08/11/20    ST. OF MISSOURI DES:VENDOR PAY                                   902523032343297                            93.60
            ID:E00008072000093 INDN:ST ALEXIUS HOSPI
            CO ID:XXXXXXXXXV CTX ADDITIONAL
            INFORMATION IS AVAILABLE FOR THIS PMT.
            CONTACT A TREASURY SALES OFFICER FOR
            ASSISTANCE.

08/18/20    ST. OF MISSOURI DES:VENDOR PAY                                   902530032721018                            26.50
            ID:E00008142000093 INDN:ST ALEXIUS HOSPI
            CO ID:XXXXXXXXXV CTX ADDITIONAL
            INFORMATION IS AVAILABLE FOR THIS PMT.
            CONTACT A TREASURY SALES OFFICER FOR
            ASSISTANCE.

08/19/20    ST. OF MISSOURI DES:VENDOR PAY                                   902531018962694                           115.06
            ID:E00008172000118 INDN:ST ALEXIUS HOSPI
            CO ID:XXXXXXXXXV CTX ADDITIONAL
            INFORMATION IS AVAILABLE FOR THIS PMT.
            CONTACT A TREASURY SALES OFFICER FOR
            ASSISTANCE.

08/19/20    ST. OF MISSOURI DES:VENDOR PAY                                   902531018962704                            47.96
            ID:E00008172000119 INDN:ST ALEXIUS HOSPI
            CO ID:XXXXXXXXXV CTX ADDITIONAL
            INFORMATION IS AVAILABLE FOR THIS PMT.
            CONTACT A TREASURY SALES OFFICER FOR
            ASSISTANCE.

08/20/20    ST. OF MISSOURI DES:VENDOR PAY                                   902532015927528                            53.76
            ID:E00008182000087 INDN:ST ALEXIUS HOSPI
            CO ID:XXXXXXXXXV CTX ADDITIONAL
            INFORMATION IS AVAILABLE FOR THIS PMT.
            CONTACT A TREASURY SALES OFFICER FOR
            ASSISTANCE.

08/24/20    ST. OF MISSOURI DES:VENDOR PAY                                   902537010710549                            64.78
            ID:E00008202000094 INDN:ST ALEXIUS HOSPI
            CO ID:XXXXXXXXXV CTX ADDITIONAL
            INFORMATION IS AVAILABLE FOR THIS PMT.
            CONTACT A TREASURY SALES OFFICER FOR
            ASSISTANCE.

08/24/20    ST. OF MISSOURI DES:VENDOR PAY                                   902537010710557                            41.58
            ID:E00008202000095 INDN:ST ALEXIUS HOSPI
            CO ID:XXXXXXXXXV CTX ADDITIONAL
            INFORMATION IS AVAILABLE FOR THIS PMT.
            CONTACT A TREASURY SALES OFFICER FOR
            ASSISTANCE.
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ST ALEXIUS HOSPITAL CORPORATION #1 | Account # 0046 8168 7592 | August 1, 2020 to August 31, 2020




Deposits and other credits - continued
Date         Transaction description                        Customer reference         Bank reference                 Amount

08/25/20     ST. OF MISSOURI DES:VENDOR PAY                                            902537029845049                    82.00
             ID:E00008212000079 INDN:ST ALEXIUS HOSPI
             CO ID:XXXXXXXXXV CTX ADDITIONAL
             INFORMATION IS AVAILABLE FOR THIS PMT.
             CONTACT A TREASURY SALES OFFICER FOR
             ASSISTANCE.

08/31/20     ST. OF MISSOURI DES:VENDOR PAY                                            902544012420143                    83.34
             ID:E00008272000104 INDN:ST ALEXIUS HOSPI
             CO ID:XXXXXXXXXV CTX ADDITIONAL
             INFORMATION IS AVAILABLE FOR THIS PMT.
             CONTACT A TREASURY SALES OFFICER FOR
             ASSISTANCE.

Total deposits and other credits                                                                                 $1,040.00


Withdrawals and other debits
Date         Transaction description                        Customer reference         Bank reference                 Amount

08/03/20     BOFA MERCH SVCS DES:FEE                                                   902516021198225                -19.95
             ID:430135235359726 INDN:ST ALEXIUS
             HOSPITAL CO ID:XXXXXXXXXB CCD

Total withdrawals and other debits                                                                                  -$19.95




Daily ledger balances
Date                               Balance ($)    Date                           Balance($)    Date                Balance ($)

08/01                                  5,720.81   08/10                          6,132.28      08/20                6,469.16
08/03                                  5,700.86   08/11                          6,225.88      08/24                6,575.52
08/05                                  5,784.20   08/18                          6,252.38      08/25                6,657.52
08/06                                  5,930.40   08/19                          6,415.40      08/31                6,740.86




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